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      1                       UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
      2                             MIAMI DIVISION
                               CASE NO. 18-cv-60788-JEM
      3

      4     SPRINT COMMUNICATIONS, INC.,
                                   INC.,

      5           Plaintiff/Counterclaim Defendant,

      6           vs.

      7                                                     Miami, Florida
                                                            April 12, 2022
      8     STEPHEN CALABRESE, as an individual,            Pages 1-203
            NEXTEL, INC.,
                    INC., d/b/a NEXTEL WORLDWIDE,           9:49 a.m. - 12:00 p.m.
      9     RETROBRANDS USA LLC,                            1:15 p.m. - 4:45 p.m.
            JEFFREY KAPLAN, as an individual, and
    10      NEXTEL WORLDWIDE MOBILE, INC.,
                                     INC.,

    11           Defendants/Counterclaimants.
            _______________________________________________________________
    12
                                  TRANSCRIPT OF JURY TRIAL
    13                                     VOLUME 2
                            BEFORE THE HONORABLE JOSE E. MARTINEZ
    14                          UNITED STATES DISTRICT JUDGE

    15      APPEARANCES:

    16      FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
                                   McGuireWoods, LLP
    17                             BY: BRIAN C. RIOPELLE, ESQ.
                                   BY: LUCY J. WHEATLEY, ESQ.
    18                             BY: AMANDA L. DeFORD, ESQ.
                                   800 East Canal Street
    19                             Richmond, Virginia 23219

    20      FOR THE DEFENDANTS/COUNTERCLAIMANTS:
                                   Erickson Kernell IP
    21                             BY: JAMES
                                        JAMES J. KERNELL,
                                                  ERNELL, ESQ.
                                   8900 State Line Road
    22                             Suite 500
                                   Leawood, Kansas 66206
    23
                                   Lee & Amtzis, PL
    24                             BY: WAYNE SCHWARTZ, ESQ.
                                   5550 Glades Road
    25                             Boca Raton, Florida 33431


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          1    REPORTED BY:        DAWN M. SAVINO, R.P.R., C.R.R.
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               ______________________________________________________________
          4

9:49:14   5               THE COURT:   I apologize.    I just got here and got

9:49:15   6    changed.   All parties are present?        Okay.   Let's talk then.

9:49:19   7    Have you been able to resolve the evidentiary issues?          If not,

9:49:20   8    tell me what the issues are.

9:49:24   9               MR. RIOPELLE:   We made actually progress last night,

9:49:25 10     but we have two exhibit issues.

9:49:27 11                THE COURT:   Okay.   Tell me.

9:49:29 12                MR. RIOPELLE:   The first one is the one we were

9:49:32 13     discussing yesterday, when we left yesterday, Exhibit 34 which

9:49:36 14     has the authentication, and we have not been able to reach

9:49:37 15     agreement on that one.

9:49:38 16                THE COURT:   Now, tell me what the difference is between

9:49:42 17     the 34 that you gave them and the exhibit that you're offering

9:49:42 18     into evidence right now.

9:49:44 19                MR. RIOPELLE:   I don't believe there's any difference,

9:49:45 20     Your Honor.

9:49:46 21                THE COURT:   When you showed me there was something that

9:49:52 22     showed Nextel, looked like either a stamp or something in the

9:49:55 23     upper left-hand corner of one of the pages.

9:50:00 24                MR. RIOPELLE:   I'll say if it makes it easier for the

9:50:03 25     Court, we're happy to use what's attached to the declaration.


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9:50:06   1               THE COURT:    Okay.

9:50:08   2               MR. SCHWARTZ:    I'll make it simpler, Your Honor.

9:50:11   3    There's two pages that do not match and there's a page, the last

9:50:14   4    page is not in the declaration exhibit at all, it should

9:50:18   5    probably just come out.      That's the last page.     The issue is not

9:50:22   6    over the document.      We're happy to let the Wayback document in,

9:50:25   7    but the Defendants have a Wayback document.        We simply ask

9:50:30   8    counsel because it's going to probably be used today, just if

9:50:34   9    you have any objection to our Wayback document.         He says he has

9:50:38 10     an objection to our Wayback document.

9:50:41 11                THE COURT:    There's no quid pro quo kind of thing, you

9:50:45 12     can object to one of them and not the other.         You know, there's

9:50:49 13     no holding another exhibit hostage.       We have to deal with each

9:50:56 14     of them as they go.      Let's just deal with this one as it is.

9:51:02 15     Whatever it is, it is.      Tell me what the pages are that you're

9:51:03 16     questioning and why.

9:51:05 17                MR. SCHWARTZ:    Your Honor, we'll withdraw the objection

9:51:06 18     on 34.

9:51:09 19                THE COURT:    Okay.   So the 34 that they are offering

9:51:14 20     which is the one with the declaration of Nathaniel E. Frank

9:51:14 21     White.

9:51:16 22                MR. SCHWARTZ:    It's the actually 34 that's been

9:51:23 23     submitted in their book can be shifted over to a nonobjectional

9:51:24 24     exhibit.

9:51:28 25                THE COURT:    Okay.   Let me see which document you're


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9:51:32   1    talking about.    Show it to him and then show it to me.

9:51:37   2              MR. RIOPELLE:     Can you call up Exhibit 34, Carl?      We

9:51:39   3    have it on the screen.

9:51:41   4              THE COURT:     Yeah, I can see it.

9:51:42   5              MR. SCHWARTZ:     That's the one, Your Honor.

9:51:45   6              MR. RIOPELLE:     I'll be honest, Your Honor, I'm only

9:51:50   7    going ask him, I believe it's on Page 7.

9:51:52   8              THE COURT:     All right.   This is the one you're

9:51:53   9    withdrawing the objection to?

9:51:53 10               MR. SCHWARTZ:     Yes, Your Honor.

9:51:55 11               THE COURT:     Okay.   Then it's going to be admitted.

9:51:55 12               (Plaintiff's Exhibit 34 in evidence)

9:51:57 13               THE COURT:     What else do we have that's going to be

9:52:00 14     coming up today, exhibits, so that we can deal with them without

9:52:04 15     the jury sitting around twiddling their thumbs?

9:52:06 16               MR. RIOPELLE:     Exhibit 95, Your Honor.

9:52:08 17               THE COURT:     All right.   I'm going to be writing them

9:52:11 18     down.   So 34, 95.

9:52:16 19               What is the objection to 95, if there is any?

9:52:20 20               Wait.   I'm waiting for -- is there an objection to 95.

9:52:22 21               MR. SCHWARTZ:     There is, Your Honor.     The way they want

9:52:23 22     to present it.

9:52:27 23               THE COURT:     Okay.   What do you mean by that?

9:52:28 24               MR. KERNELL:     Your Honor, Exhibit 95, it's an e-mail

9:52:34 25     from Mr. Mancuso to someone at Sprint and it refers -- there are


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9:52:40   1    three attachments, image attachments to Exhibit 95 and that's

9:52:51   2    the way it was produced.        And counsel for Sprint wants to remove

9:52:57   3    two of the images that were part of Exhibit 95.           We believe that

9:53:02   4    it is improper to remove those.           If you're going the use this

9:53:06   5    e-mail as an exhibit, it needs to be in its entirety, including

9:53:07   6    the attachments.

9:53:12   7              Now, the issue there is that the two images that they

9:53:18   8    want to remove refer to a letter, the letter from Mr. Rubin to

9:53:24   9    Mr. Calabrese regarding whether or not he is authorized or

9:53:29 10     should be authorized to use the Nextel trademark.

9:53:48 11               THE COURT:    The 95 that I have only has two pages.           The

9:53:54 12     one page has about ten lines of print on it, it's from

9:54:01 13     Green-Kerr Kimberly to Mike Allen, and then it has redacted

9:54:05 14     something, and then it has original message from Brian Mancuso

9:54:13 15     to Amy Rintamaki, and then the next page is an upside down

9:54:15 16     illustration of something.

9:54:17 17               MR. RIOPELLE:    Your Honor, I have a copy for you of the

9:54:22 18     original that has the attachments that we have removed and their

9:54:23 19     objection to us removing them.

9:54:54 20               THE COURT:    Okay.     Okay.     I presume they'll be shown

9:55:20 21     right-side up.     And this is the stuff that was allegedly shown

9:55:24 22     to the representative of Sprint when they went over to question

9:55:26 23     the booth; is that correct?

9:55:28 24               MR. RIOPELLE:    Yes, he took a picture of it, Your

9:55:29 25     Honor.


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9:55:31   1              THE COURT:     That's his thumb in it?

9:55:32   2              MR. RIOPELLE:     What's that?

9:55:34   3              THE COURT:     That is his thumb in the picture?

9:55:34   4              MR. RIOPELLE:     Probably.

9:55:35   5              THE COURT:     Yes.   Okay.

9:55:37   6              MR. RIOPELLE:     The reason we removed it, Your Honor,

9:55:40   7    just so you know is because this was the subject of a motion in

9:55:44   8    limine, and you ruled that was inadmissible.         And so we took

9:55:47   9    those out pursuant to your motion in limine and are only doing

9:55:52 10     the cover e-mail.      And the other --

9:55:54 11               THE COURT:     Yeah, I mean you want those in now?      Is

9:55:56 12     that what you're saying?

9:55:57 13               MR. RIOPELLE:     Do I want them?

9:56:00 14               THE COURT:     No, do they want them in now?

9:56:02 15               MR. KERNELL:     Your Honor, that was our defense.

9:56:07 16     They're using this as a sword, this is their exhibit.          If they

9:56:11 17     want their exhibit in, that is part of their exhibit, that is

9:56:14 18     part of the e-mails.      They can't pick and choose.

9:56:17 19               THE COURT:     To the contrary, you can't pick and choose.

9:56:19 20     You can't say that's advice of counsel therefore it's

9:56:22 21     inadmissible, and now you're saying that you want it to be

9:56:27 22     included because it obviously has language that's good for you

9:56:30 23     saying it's okay to use this Nextel thing.         No.   I think they

9:56:32 24     can delete that.

9:56:33 25               MR. KERNELL:     Your Honor, if I may, this is their


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9:56:38   1    exhibit, not our exhibit.        This is Plaintiff's Exhibit.

9:56:39   2              THE COURT:     I understand that.

9:56:41   3              MR. KERNELL:     We're not trying to offer this exhibit.

9:56:45   4    This is their exhibit, it's incomplete.         If they get to choose

9:56:46   5    what attachments --

9:56:49   6              THE COURT:     No.     You guys objected under advice of

9:56:52   7    counsel that this was something that should not be included.

9:56:55   8              MR. SCHWARTZ:        No, that's the Plaintiff, Your Honor.

9:56:57   9              MR. KERNELL:     Plaintiff did.     Not defense.

9:56:59 10               THE COURT:     Okay.     You objected to advice of counsel?

9:57:01 11               MR. KERNELL:     They objected to advice of counsel.

9:57:05 12     Plaintiff objected to advice of counsel in the actual letter

9:57:09 13     that we submitted which is -- we have a very clean copy of that

9:57:14 14     same letter and they said no, you cannot use that as an exhibit.

9:57:14 15               THE COURT:     Okay.

9:57:18 16               MR. KERNELL:     They have designated this exhibit for

9:57:22 17     their own case, yet they want to remove certain pages out of it

9:57:27 18     that Mr. Mancuso's thumb is on and that he submitted to

9:57:32 19     Plaintiff.    So this is Plaintiff's Exhibit, but they want to not

9:57:37 20     use all the story of that exhibit.

9:57:40 21               THE COURT:     Well, I can understand why they would not

9:57:48 22     want to use a letter from your lawyer addressing one of the main

9:57:50 23     issues in this case.      And I don't know that they need to do

9:57:54 24     that.   I don't think that that makes it inadmissible.          I think

9:58:00 25     that -- what is it you want to introduce, the first page?


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9:58:02   1              MR. RIOPELLE:    The first page, and we were going to

9:58:07   2    introduce that the other image but we can take that image off.

9:58:10   3              THE COURT:    The other image which is the upside down

9:58:19   4    picture of this image.     Notify in the upper right-hand corner.

9:58:22   5              MR. RIOPELLE:    Yes, we can take that.

9:58:26   6              THE COURT:    M370 mobile radio, features and

9:58:28   7    specifications?

9:58:31   8              MR. RIOPELLE:    Yes, we can take that off.      The reason

9:58:35   9    we're putting it in is for the e-mail in the first page.          Like I

9:58:37 10     said, we removed the other two pages pursuant to this Court's

9:58:41 11     ruling on the motion in limine.

9:58:44 12               THE COURT:    Okay.   I'll overrule the objection as to

9:58:50 13     95.   It is admissible, it will be admitted as 95.

9:58:50 14               (Plaintiff's Exhibit 95 in evidence)

9:58:51 15               THE COURT:    What else we got?

9:58:53 16               MR. RIOPELLE:    The next issue, Your Honor, has to do

9:58:59 17     with playing the excerpts from the deposition of Mr. Calabrese

9:59:03 18     which we would expect to do late this morning.

9:59:04 19               THE COURT:    Okay.

9:59:08 20               MR. RIOPELLE:    We are ready to go.     They are objecting

9:59:12 21     -- I understand they're objecting to it because we will not play

9:59:20 22     their part, their affirmative designations in it.         They're not

9:59:23 23     counters, they didn't submit them to us as counters, they

9:59:26 24     submitted them to us as affirmative designations.         I take the

9:59:30 25     Court's admonishment on Friday to try to get this down.          We have


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 9:59:37   1    cut that -- our tape to it's about 15 minutes.         What they've

 9:59:41   2    given us as affirmative designations would make it a little over

 9:59:46   3    an hour, we believe, we have not cut that.         I am -- I understand

 9:59:49   4    they're dealing with a problem because Mr. Calabrese is not

 9:59:53   5    here.   I believe the rules provide that they cannot play

 9:59:58   6    Mr. Calabrese's deposition because a party has made himself

10:00:04   7    unavailable.      I am willing to compromise.     If they want to play

10:00:09   8    Mr. Calabrese's deposition in their case, they can do that, but

10:00:13   9    they can't do it in my case when they haven't given me counters.

10:00:16 10               THE COURT:     If it is a counter-designation, I will rule

10:00:21 11     on whether it is in fact a proper counter-designation.          If it is

10:00:24 12     a designation of your own, then you have to present it during

10:00:27 13     your case, not at this point.

10:00:29 14               MR. RIOPELLE:     And if you would like to see --

10:00:30 15               THE COURT:     I guess I'll have to see.

10:00:32 16               MR. RIOPELLE:     I just want to show you how they

10:00:38 17     submitted it to us.      As Your Honor probably knows, on your

10:00:41 18     pretrial order you have a form attached that shows how you're

10:00:44 19     supposed to do them.      This is what they sent us.     They listed

10:00:45 20     them as designations.

10:00:50 21               THE COURT:     Show it to -- give to the court security

10:00:56 22     officer so he can show me.      Yeah, don't give him stuff

10:01:01 23     commenting on the quality of the judge.         That's not good.

10:01:32 24               Okay.     Here you go, Jose.   Those appear to be

10:01:35 25     designations which means you play them in your case.          They are


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10:01:41   1     not counter-designations or designations that are added to these

10:01:45   2     -- okay?     You play them in your case.

10:01:47   3                MR. KERNELL:     Your Honor, in fact every designation we

10:01:51   4     made was a counter-designation to -- we didn't plan on

10:01:57   5     Mr. Calabrese not being here.      We didn't do designations at all

10:02:02   6     to begin with.     It was because Sprint did designations, then we

10:02:06   7     did our counter-designations.      Whether or not they're in the

10:02:09   8     right column or not, we did them as counter-designations.

10:02:13   9     Mr. Calabrese didn't choose not to be here, he's not here

10:02:20 10      because he is checked into a mental health facility.         So it

10:02:22 11      wasn't that he --

10:02:25 12                 THE COURT:     I have no idea what his mental health is, I

10:02:30 13      have no idea why he is in whatever he facility he's in, and

10:02:35 14      frankly it's of little moment to me.       But what concerns me is

10:02:42 15      he's not here and, you know, I'm kind of used to it in criminal

10:02:46 16      cases people showing up for sentencing in wheelchairs because

10:02:51 17      all of a sudden they've gotten really, really sick.         I've been

10:02:56 18      familiar in civil cases where people get sick when it's time for

10:03:02 19      the trial.     I don't know why he's there, I don't know anything

10:03:05 20      about it and I don't really feel like I got time to look into

10:03:11 21      all of that.     All I'm saying is he's not here, his deposition is

10:03:17 22      legally to be entered into.      The Plaintiff has designated, you

10:03:21 23      have designated, you can designate and introduce it.         I'm not

10:03:25 24      sure under what rule, but I believe -- you know, they've

10:03:28 25      offered, they said they don't care if you designate it in your


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10:03:32   1     case.   So that's when it will come in.      All right?    Move on.

10:03:34   2               What else we got?

10:03:35   3               MR. RIOPELLE:    One follow-up issue on Mr. Calabrese.

10:03:42   4     This Court had ruled that we could inform the jury after he has

10:03:46   5     testified that he is a felon.      I don't know how the Court wants

10:03:46   6     us to do that.

10:03:49   7               THE COURT:    Well if you're designating, you want -- you

10:03:54   8     know, you want to offer some of his testimony, the intent of my

10:03:59   9     ruling was that if there is some reason for the jury to

10:04:02 10      disregard some of his testimony or to consider it cautiously

10:04:06 11      because he is a convicted felon, you can do that.         But I don't

10:04:11 12      think you can prop him up and then say by the way, he's a

10:04:14 13      convicted felon, because that then gets into the area where

10:04:19 14      we're talking about, you know, he did -- he did some bad things

10:04:24 15      once, therefore he probably did bad things other times.          That's

10:04:27 16      not admissible.    The purpose of showing that he's a convicted

10:04:31 17      felon is to cast doubt on his testimony.        If you're offering his

10:04:35 18      testimony, I don't really see that as a possibility.

10:04:38 19                Now, on the other hand if they offer his testimony,

10:04:41 20      then you can introduce the fact that he's is a convicted felon

10:04:46 21      and say you don't have to believe what he says because he is a

10:04:49 22      convicted felon.    That's the purpose of the convicted felon.          So

10:04:52 23      I don't think you can introduce it after you offer the

10:04:53 24      testimony.

10:04:56 25                MR. RIOPELLE:    That's fine.    So why -- we'll revisit it


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10:04:57   1     if and when --

10:04:59   2                 THE COURT:     If they offer his testimony, then I think

10:05:03   3     you can -- you can offer it.

10:05:05   4                 MR. RIOPELLE:     So the last issue that we have this

10:05:11   5     morning, and I will tell you Your Honor because I know we've got

10:05:12   6     a jury waiting.

10:05:14   7                 THE COURT:     Maybe.    I haven't looked.

10:05:16   8                 MR. RIOPELLE:     This may not be an issue that has to be

10:05:20   9     decided this morning, but it's the issue whether -- they've now

10:05:24 10      told us that Mr. Rivera is going to be a witness.           We have

10:05:28 11      submitted a bench memo this morning to Your Honor.           I can go

10:05:31 12      through the argument why he should not be allowed to be a

10:05:33 13      witness, but I don't know if you want to decide that now or not.

10:05:36 14                  THE COURT:     No, because I haven't even seen your bench

10:05:40 15      memo yet.    I was undergoing torture on the table at the time

10:05:42 16      that you submitted your bench memo.

10:05:45 17                  MR. RIOPELLE:     But you said it made you feel better

10:05:45 18      though.

10:05:48 19                  THE COURT:     In a couple of days it will.      Not right

10:05:48 20      now.

10:05:58 21                  Okay.     All right.    Can we see if the jurors are all

10:06:01 22      here, Diane?        Can you come tell me please?    They have

10:06:19 23      microphones in there.        Allie or Cristina, can you please go

10:06:37 24      check on the jury and see what the status is?            They're going to

10:06:47 25      check.    It would not be unusual at 10:04 for somebody to not be


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10:06:49   1     here yet.

10:06:50   2                 COURT SECURITY OFFICER:       Your Honor, everybody is here.

10:06:53   3                 THE COURT:     All right.    Please bring in the jury.

10:06:54   4                 COURT SECURITY OFFICER:       All rise for the jury.

10:07:00   5                 THE COURT:     And the gentleman that was on the stand,

10:07:05   6     please come back to take the stand.         Just hold him up while

10:07:07   7     they're coming in though.

10:07:09   8                 COURT SECURITY OFFICER:       Yes, sir.

10:07:16   9                 (Jury in at 10:07 a.m.)

10:07:41 10                  THE COURT:     You all can be seated please.

10:07:58 11                  You're reminded, sir, that you're still under oath.

10:07:59 12                  THE WITNESS:     Yes, sir.

10:07:59 13                                   CONTINUED DIRECT EXAMINATION

10:07:59 14           BY MR. RIOPELLE:

10:08:05 15      Q.   Carl, can you call up Exhibit 34 please?         And could you go

10:08:15 16      to Page 7?    And just so to get everybody back on the same page,

10:08:19 17      Mr. Kaplan, this was the document we were looking at yesterday

10:08:20 18      before we recessed?

10:08:22 19      A.   Correct.

10:08:27 20      Q.   And you had agreed that the date of this was approximately

10:08:32 21      the time that you were investigating the Nextel brand?

10:08:37 22      A.   No, that's incorrect.       I was investigating in January 2018.

10:08:41 23      This is dated April 262,018.

10:08:47 24      Q.   We'll let it the record -- have what the jury remembers and

10:08:51 25      what the record shows, but yesterday I believe you did agree to


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10:08:52   1     it actually.     Do you see here on the top of this page -- you

10:08:55   2     agree, right, that this is a Sprint website.

10:09:00   3     A.   It may be.     It says Sprint, but it hasn't been

10:09:03   4     authenticated.

10:09:05   5     Q.   Mr. Kaplan --

10:09:06   6     A.   Yes.

10:09:08   7     Q.   -- you know it's been authenticated, you were sitting in

10:09:11   8     this courtroom just a couple minutes ago.

10:09:16   9     A.   Again, this is dated April 26, 2018.       My investigation was

10:09:19 10      in January 2018.

10:09:22 11      Q.   Like I said, we'll let the jury remember what you said

10:09:22 12      yesterday.

10:09:27 13                   Do you see that it says at the top of this Nextel

10:09:27 14      Direct Connect?

10:09:29 15      A.   Yes.

10:09:36 16      Q.   And Carl, if you could page down a bit?       No, sorry, same

10:09:37 17      page, Carl, just further down.

10:09:41 18                   Do you see in the descriptions that, for example, it

10:09:45 19      says "direct send", at the very bottom there Carl, if you could

10:09:48 20      highlight that for Mr. Kaplan?

10:09:49 21      A.   Okay.     I see that.

10:09:52 22      Q.   You see it says "use Nextel phones".

10:09:53 23      A.   Yes, I see that.

10:09:56 24      Q.   All right.     So you see that Nextel is being used on a Sprint

10:09:58 25      website in April of 2018, right?


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10:10:03   1     A.   Again, it appears to be.       It may be, but I'm not 100% sure

10:10:06   2     because I didn't look at it in this time frame.

10:10:07   3     Q.   And that's the point, isn't it?       You were doing

10:10:10   4     investigation but you didn't look at the website, did you?

10:10:15   5     A.   I did in January -- Nextel.com was shut down.          My

10:10:19   6     investigation was in January 2018 before I filed my petition to

10:10:22   7     cancel and before I filed my application.

10:10:27   8     Q.   Okay.     Can we go to Exhibit 47, Carl?

10:10:30   9                  MR. RIOPELLE:   Oh Your Honor, this is unobjected to so

10:10:31 10      we move it into evidence.

10:10:34 11                   THE COURT:   All right.   Exhibit 47 is admitted in

10:10:36 12      evidence without objection.

10:10:39 13                   MR. RIOPELLE:   As well as Exhibit 34.

10:10:47 14                   THE COURT:   34, 47 and 97 are admitted in evidence.

10:10:47 15                   (Plaintiff's Exhibit 34, 47 & 97 in evidence)

10:10:48 16                   MR. RIOPELLE:   Thank you, Your Honor.

10:10:48 17           BY MR. RIOPELLE:

10:10:52 18      Q.   You see I've put up another part of a Sprint website, do you

10:10:52 19      see this?

10:10:53 20      A.   Yes, I see it.

10:10:56 21      Q.   Do you see in the bottom right-hand corner that this page

10:10:58 22      was printed in November of 2018?

10:11:03 23      A.   Correct.     That was seven, eight months after I did my

10:11:06 24      investigation in January 2018.

10:11:07 25                   THE COURT:   Okay.   I know that there are certain things


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10:11:10   1     you want to say.     Your lawyers will have an opportunity to ask

10:11:10   2     you questions.

10:11:11   3               THE WITNESS:     Yes, sir.

10:11:13   4               THE COURT:     And you can answer all that then.      But at

10:11:16   5     this point try to answer the questions, because I really do have

10:11:18   6     plans for Christmas.

10:11:20   7               THE WITNESS:     Okay.   Sorry, sir.

10:11:22   8               MR. RIOPELLE:     And Carl, if you could go to the second

10:11:24   9     page, please.

10:11:24 10           BY MR. RIOPELLE:

10:11:28 11      Q.   And do you see, Mr. Kaplan, on this page where there's a

10:11:33 12      question "will the Nextel push-to-talk chirp still be used when

10:11:36 13      placing a Sprint Direct Connect Plus call"?

10:11:37 14      A.   Yes, I see it.

10:11:41 15      Q.   And you see the answer is "yes, the familiar Nextel chirp

10:11:42 16      will still be used"?

10:11:44 17      A.   According to this image, yes.

10:11:46 18                MR. RIOPELLE:     And you can take that down now, Carl.

10:11:46 19           BY MR. RIOPELLE:

10:11:50 20      Q.   You also, I believe, searched the United States Patent and

10:11:53 21      Trademark Office website, correct?

10:11:54 22      A.   Correct.

10:11:59 23      Q.   And obviously you searched to see if there were any live

10:12:01 24      Nextel trademarks, right?

10:12:05 25      A.   Also correct.     I also looked up Direct Connect as well.


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10:12:07   1     Q.   And you did this research in 2018?

10:12:08   2     A.   Correct.

10:12:13   3     Q.   And you saw, right, that there were live Nextel trademarks.

10:12:15   4     A.   Correct.

10:12:20   5     Q.   And one of those live marks was for the registration

10:12:24   6     1,884,244.    Right?

10:12:26   7     A.   Do you have an image of it?

10:12:41   8     Q.   We could.    I believe it is 165.    If you'd like to go to the

10:12:45   9     second page, Carl, so Mr. Kaplan can see it.

10:12:50 10      A.   Yes.    I did review this.   This states for two-way radios,

10:12:57 11      mobile telephones, dispatch radios, pagers and mobile data

10:12:59 12      receivers.    So I did see this, correct.

10:13:02 13      Q.   And this is one of the trademarks that's at issue in this

10:13:03 14      case right now, right?

10:13:05 15      A.   Yes, I claim it's abandoned.

10:13:08 16      Q.   And you went and looked at the maintenance filings, right?

10:13:09 17      A.   Yes.

10:13:12 18      Q.   And you saw that this registration, in fact, had been

10:13:14 19      renewed in 2015, right?

10:13:17 20      A.   Yes.    And that's where I discovered that fraudulent specimen

10:13:19 21      was attached.

10:13:24 22      Q.   And well, you know that Sprint sent in a picture of a box to

10:13:26 23      renew the registration, right?

10:13:27 24      A.   Yes, without a phone.

10:13:29 25      Q.   And you know that the United States Patent and Trademark


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10:13:36   1     Office reviewed and accepted that as a proper example of how

10:13:38   2     Sprint was using the Nextel mark, right?

10:13:41   3     A.   Incorrect.     The examiners --

10:13:45   4     Q.   I'm not asking you what your opinion is.       I'm asking you you

10:13:48   5     know, because they renewed it, that the United States Patent and

10:13:52   6     Trademark Office accepted it and allowed the renewal of the

10:13:54   7     mark.

10:13:55   8     A.   Yes.

10:13:55   9     Q.   Correct?

10:13:56 10      A.   Correct.

10:14:00 11      Q.   And as part of your investigation, right, you talked with

10:14:03 12      Mr. Calabrese.

10:14:06 13      A.   Part of my investigation?     No.

10:14:11 14      Q.   Okay.     Well, you know that -- let's go back.

10:14:13 15                   You did talk to Mr. Calabrese, right, in January of

10:14:14 16      2018?

10:14:17 17      A.   Prior to my investigation, correct.

10:14:21 18      Q.   Okay.     But you knew that Sprint had asked him to stop using

10:14:24 19      Nextel.

10:14:27 20      A.   Again, that's more complicated that you're mentioning.         They

10:14:31 21      sent him a cease and desist based on his use of a different

10:14:31 22      trademark.

10:14:34 23      Q.   Right.     You knew that they had asked him to stop using

10:14:36 24      Nextel.

10:14:41 25      A.   Right, but it was based on a color image of an abandoned


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10:14:42   1     Nextel.

10:14:44   2     Q.     Well, you were in the courtroom yesterday, weren't you, when

10:14:46   3     I did my opening statement?

10:14:46   4     A.     Yes.

10:14:50   5     Q.     And you saw that that letter referenced the very trademark

10:14:55   6     we were just looking at 1,888,244, right?

10:14:58   7     A.     Again, I don't recall the exact letter.     It was the one

10:14:59   8     cease and desist.

10:15:02   9     Q.     Yes.

10:15:04 10      A.     I don't remember seeing that, I know you showed it, but I

10:15:05 11      didn't review it.

10:15:07 12      Q.     Well you saw, you did see the cease and desist letter,

10:15:08 13      correct?

10:15:10 14      A.     Yes, when I met him in January.

10:15:16 15      Q.     And you also knew that he had suspended his website.

10:15:23 16      A.     In January 2018?   He had suspended after I spoke to him to

10:15:23 17      suspend it.

10:15:26 18      Q.     And you knew he had a lawyer, right?

10:15:30 19      A.     I knew he had a lawyer, but I wasn't sure he was fully

10:15:32 20      retained by him.

10:15:34 21      Q.     But in fact you spoke with Mr. Calabrese's lawyer, didn't

10:15:35 22      you?

10:15:37 23      A.     Yes.

10:15:43 24      Q.     And you were aware, right, that the lawyer had told Sprint

10:15:46 25      Mr. Calabrese would stop using the Nextel mark?


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10:15:48   1     A.     Well, first the lawyer said that he could use the mark

10:15:51   2     because it was abandoned.       He told Mr. Calabrese that he can use

10:15:53   3     the mark, it's abandoned.

10:15:59   4     Q.     But you knew that the lawyer had told Sprint that

10:16:03   5     Mr. Calabrese would stop using the mark.

10:16:07   6     A.     Correct.     But he filed under individual, he didn't file it

10:16:11   7     under Nextel, Inc.       He filed it under his own personal name and

10:16:17   8     he did stop using it.       I told Mr. Calabrese to file and withdraw

10:16:21   9     of application, to remove his application from the USPTO because

10:16:26 10      he had agreed individually to remove that application which he

10:16:28 11      did.

10:16:30 12                  THE COURT:     I repeat, please answer the question that

10:16:31 13      is asked of you.

10:16:32 14                  THE WITNESS:     Yes, sir.

10:16:33 15                  THE COURT:     Do not make speeches.

10:16:34 16                  THE WITNESS:     I'm sorry.

10:16:34 17             BY MR. RIOPELLE:

10:16:39 18      Q.     All right.     So let's try one more time just so we get a

10:16:39 19      clear answer.

10:16:43 20                  You know that Mr. Calabrese's lawyer had told Sprint

10:16:48 21      that Mr. Calabrese would stop using the Nextel mark.

10:16:50 22      A.     Correct.

10:16:59 23      Q.     Now, despite seeing the Nextel trademark being renewed in

10:17:03 24      2015, and despite seeing the letters from Sprint, you decided to

10:17:06 25      go ahead and file an application for the Nextel trademark,


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10:17:07   1     didn't you?

10:17:10   2     A.   I did that after I did my investigation, correct.

10:17:12   3                 MR. RIOPELLE:      Can we call up Exhibit 77?   There's no

10:17:16   4     objection to this Exhibit, your Honor.

10:17:20   5                 THE COURT:   77?     77 without objection, is admitted in

10:17:23   6     evidence.     If there is no objection.

10:17:23   7                 (Plaintiff's Exhibit 77 in evidence)

10:17:23   8          BY MR. RIOPELLE:

10:17:27   9     Q.   You recognize this as a copy of your application?

10:17:30 10      A.   Yes, that's correct.

10:17:34 11      Q.   And you see that the mark that you're registering for is

10:17:37 12      Nextel there on the second line?

10:17:38 13      A.   Yes, sir.

10:17:40 14                  THE COURT:   Can I stop you for just a second?        Ladies

10:17:41 15      and gentlemen of the jury, I hate to ask you this quickly

10:17:45 16      because you haven't even warmed up the seats, but could you go

10:17:48 17      back in the jury room?         There's a matter I need to discuss with

10:17:49 18      the lawyers.     Okay?

10:17:53 19                  COURT SECURITY OFFICER:      All rise for the jury.

10:18:00 20                  (Jury out at 10:17 a.m.)

10:18:23 21                  THE COURT:   Be seated, please.

10:18:25 22                  MR. RIOPELLE:      Do you want me to stay here, do you want

10:18:26 23      me to sit down?

10:18:27 24                  THE COURT:   Up to you.     Won't be long.

10:18:36 25                  All right.   There was a ruling in my motion, in the


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10:18:43   1     motion -- motion in limine and I ruled that the letter and the

10:18:51   2     discussion, the -- there was a matter that was excluded by my

10:18:54   3     order on the Plaintiff's motion in limine.        The question that

10:18:58   4     was asked had absolutely nothing to do with that letter.          The

10:19:02   5     witness gratuitously offered an opinion as to that letter that I

10:19:07   6     had ruled was not admissible.      You can't open the door that way

10:19:12   7     and it's not going to happen.      Please ask the witness to answer

10:19:17   8     the question and not make offers.       Your lawyers will have an

10:19:22   9     opportunity to ask questions.      You cannot just keep blabbing and

10:19:26 10      talking about other things because you want the jury to hear it.

10:19:30 11      Your lawyers will have an opportunity to ask you questions.             If

10:19:34 12      you continue to do it, I'm going to have to tell the jury I

10:19:38 13      don't know what, but I'll think of something and I'll tell the

10:19:41 14      jury to tell them that you're saying something that's improper.

10:19:46 15      The motion in limine was granted and that is -- the advice of

10:19:50 16      counsel is not a defense in this case and consequently, I'm

10:19:52 17      really getting annoyed.

10:19:55 18                You know, I've been a judge now for 20 years, I've used

10:20:00 19      my gavel twice in 20 years.      I was very close to using my gavel.

10:20:05 20      I don't know what else to say.      I've told him more than once

10:20:11 21      answer the question, do not volunteer information, your lawyers

10:20:15 22      will have an opportunity on redirect examination, cross, I guess

10:20:19 23      to ask you questions and then we can determine it.         But if you

10:20:23 24      answer a question and then keep going and going and going, there

10:20:28 25      is no opportunity for anybody to object to it.        I don't know


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10:20:31   1     what's coming, counsel doesn't know what's coming. Actually I

10:20:35   2     think he probably has a pretty good idea, but the bottom line is

10:20:37   3     it's wrong.    Do not do it.

10:20:39   4               Yes, sir.     You have something to say.

10:20:42   5               MR. SCHWARTZ:     Just simply, Your Honor, Mr. Riopelle is

10:20:45   6     asking the witness direct questions about this lawyer and

10:20:47   7     conversations.      I'm not sure that the witness --

10:20:49   8               THE COURT:     Absolutely not.   He did not open the door.

10:20:55   9     He did not ask anything that in any way even again determined

10:20:58 10      that answer.      The answer came out spontaneously.     Bubbled up

10:21:01 11      like a septic tank.

10:21:05 12                Okay?     Please bring the jury back in, and Mr. Witness

10:21:10 13      you are warned, not just counsel are advised, you're warned not

10:21:12 14      to do that.

10:21:13 15                THE WITNESS:     Yes, Your Honor.   I apologize.

10:21:18 16                COURTROOM DEPUTY:     All rise for the jury.

10:21:22 17                (Jury in at 10:21 a.m.)

10:21:24 18                THE COURT:     Probably taking my advice and going to the

10:21:29 19      bathroom which means we'll see them in about five minutes.

10:22:06 20                You may be seated.     You notice I count you every time

10:22:10 21      because one time somebody followed the jury down the hall and we

10:22:15 22      had an extra juror, we couldn't figure out where he came from so

10:22:16 23      I always count.

10:22:17 24                You may proceed, sir.

10:22:18 25                MR. RIOPELLE:     Thank you, Your Honor.


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10:22:24   1               Carl, can you call up Exhibit 77 again?

10:22:24   2          BY MR. RIOPELLE:

10:22:30   3     Q.   So just to re-orient everybody, Mr. Kaplan, this is your

10:22:31   4     trademark application, correct?

10:22:32   5     A.   Yes, sir.

10:22:35   6     Q.   And you're applying for the trademark Nextel, right?

10:22:36   7     A.   Yes, sir.

10:22:40   8     Q.   And Carl, if you could go down farther on this same page.

10:22:45   9     Do you see that your filing for it under the name of

10:22:46 10      RetroBrands?

10:22:47 11      A.   Yes, sir.

10:22:49 12      Q.   And that's your company, correct?

10:22:49 13      A.   Correct.

10:22:58 14      Q.   And if we could go to Page 2, Carl?      And you see at the

10:23:03 15      bottom that that's your, I guess technically, an electronic

10:23:04 16      signature and your name?

10:23:05 17      A.   Correct.

10:23:09 18      Q.   And Carl, if we can just go to the bottom of Page 4.

10:23:12 19      Right there.

10:23:17 20                You see at the very bottom it says "declaration"?

10:23:18 21      A.   Yes, sir.

10:23:23 22      Q.   And then now Carl if you could go over to Page 5.        And you

10:23:28 23      see this is a declaration that you signed, correct?

10:23:30 24      A.   Yes, sir.

10:23:33 25      Q.   If you could go back out there, Carl, so I could go to


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10:23:34   1     something else.

10:23:39   2               You see where it says "and/or"?

10:23:42   3     A.   Yes, sir.

10:23:46   4     Q.   I'm just trying to orient you.      You see where it says

10:23:46   5     "and/or" there?

10:23:47   6     A.   Yes, sir.

10:23:51   7     Q.   Carl, if you could highlight the next paragraph, you see

10:23:55   8     where it says "to the best of the signatory's knowledge and

10:23:58   9     belief, no other persons", I'll skip some things, says "has the

10:24:01 10      right to use the mark in commerce."       Do you see that?

10:24:01 11      A.   Yes, sir.

10:24:05 12      Q.   And then if you could do -- highlight two paragraphs down,

10:24:07 13      Carl.

10:24:12 14                And you say "the signatory being warned that willful

10:24:16 15      false statements and the like are punishable by fine and

10:24:17 16      imprisonment."

10:24:17 17      A.   Yes, sir.

10:24:20 18      Q.   So you understand that you signed this essentially under

10:24:20 19      oath, correct?

10:24:23 20      A.   Correct.    Yes, sir.

10:24:28 21      Q.   Now, you filed this, I believe, on January 29th of 2018?

10:24:29 22      A.   I believe so.

10:24:33 23      Q.   And then a week later, you issued a press release about

10:24:36 24      re-launching the Nextel brand, right?

10:24:37 25      A.   Yes, sir.


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10:24:40   1                  MR. RIOPELLE:    And if you could call up Exhibit 86,

10:24:42   2     there's no objection to this, Your Honor.

10:24:46   3                  THE COURT:     All right.   86, admitted in evidence

10:24:46   4     without objection.

10:24:46   5                  (Plaintiff's Exhibit 86 in evidence)

10:24:46   6          BY MR. RIOPELLE:

10:24:51   7     Q.   And this is the press release that you issued, right?

10:24:54   8     A.   Correct.

10:24:57   9     Q.   And you wrote this press release, right?

10:24:58 10      A.   Yes, sir.

10:25:03 11      Q.   And you didn't contact Sprint before you released this press

10:25:04 12      release, did you?

10:25:06 13      A.   No, I did not.

10:25:09 14      Q.   In fact, you didn't contact anybody at Sprint to ask about

10:25:12 15      sales using Nextel, did you?

10:25:13 16      A.   No, I did not.

10:25:17 17      Q.   And you didn't contact Sprint and ask them if you could use

10:25:17 18      Nextel, did you?

10:25:20 19      A.   I did not.

10:25:26 20      Q.   So this is -- you launched -- you issued this on February 6,

10:25:30 21      2008, correct?

10:25:31 22      A.   2018.     Yes, sir.

10:25:32 23      Q.   2018.     I'm sorry.

10:25:33 24      A.   That's okay.

10:25:38 25      Q.   And you know that two days later, Mr. Calabrese's lawyer


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10:25:43   1     told Sprint that Sprint could close its file.

10:25:44   2                 MR. SCHWARTZ:     Objection, Your Honor.

10:25:45   3                 THE COURT:     What's the objection?

10:25:47   4                 MR. SCHWARTZ:     Hearsay.

10:25:51   5                 MR. RIOPELLE:     He's already testified that he knew

10:25:52   6     about it.

10:25:58   7                 THE COURT:     It isn't -- you hear this term used on

10:26:04   8     television all the time, "hearsay."        Hearsay is an out-of-court

10:26:10   9     statement that's coming in for its truth.          I don't really see

10:26:13 10      what it's coming in for its truth.        I don't believe that it was

10:26:16 11      -- I don't know if it was true or wasn't true, but doesn't

10:26:19 12      matter if it was true or wasn't true, it was only for the fact

10:26:20 13      that it was stated.

10:26:24 14                  I'll overrule the objection on the hearsay.

10:26:27 15                  THE WITNESS:     What was the question again please?

10:26:27 16           BY MR. RIOPELLE:

10:26:31 17      Q.   Yes.    So just set it up -- you issued this press release on

10:26:32 18      February 6, 2018?

10:26:33 19      A.   Yes, sir.

10:26:37 20      Q.   And you know that two days later Mr. Calabrese's lawyer told

10:26:42 21      Sprint that Sprint could close its file on this dispute.

10:26:43 22      A.   Yes, sir.

10:26:49 23      Q.   And around this same time, correct, you entered into what

10:26:52 24      you call the license agreement with Mr. Calabrese, right?

10:26:54 25      A.   Yes, sir.


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10:26:58   1               MR. RIOPELLE:     Carl, could you call up Exhibit 117?

10:27:01   2               There's no objection to this either, Your Honor.

10:27:04   3               THE COURT:    117?

10:27:04   4               (Plaintiff's Exhibit 117 in evidence)

10:27:04   5          BY MR. RIOPELLE:

10:27:09   6     Q.   Mr. Kaplan, do you recognize this as the license agreement

10:27:12   7     you entered into with Mr. Calabrese?

10:27:13   8     A.   Yes, sir.

10:27:19   9     Q.   And Carl, if you could go to Paragraph 26 which I believe is

10:27:25 10      on -- I'm not even sure, I wasn't smart enough to write down

10:27:33 11      what page it was on.      Thank you.

10:27:40 12                And do you see in this paragraph of the agreement you

10:27:44 13      refer to the Nextel trademark as famous and iconic, right?

10:27:45 14      A.   Yes, sir.

10:27:49 15      Q.   But it wasn't famous and iconic because Mr. Calabrese had

10:27:52 16      made it so, was it?

10:27:55 17      A.   That's correct.

10:27:58 18      Q.   In fact, it was famous and iconic because my clients, Nextel

10:28:01 19      and Sprint, had made it famous and iconic, right?

10:28:03 20      A.   Correct.

10:28:09 21      Q.   And in fact, because Nextel and Sprint had spent hundreds of

10:28:12 22      millions of dollars to make it famous and iconic.

10:28:14 23      A.   That's correct.

10:28:18 24      Q.   But you say in the bottom here "your goal is to sell the

10:28:21 25      company for tens of millions of dollars or possibly hundreds of


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10:28:24   1     millions of dollars within the next five years."

10:28:26   2     A.   That is correct.

10:28:35   3     Q.   Now, the application that you filed for Nextel, that was

10:28:38   4     rejected by the United States Patent and Trademark Office,

10:28:39   5     wasn't it?

10:28:41   6     A.   It was.

10:28:45   7               MR. RIOPELLE: If you could call up Exhibit 78, Carl?

10:28:48   8               Your Honor, there's no objection to this one either.

10:28:50   9               THE COURT:    78 is admitted in evidence then.

10:28:50 10                (Plaintiff's Exhibit 78 in evidence)

10:28:50 11           BY MR. RIOPELLE:

10:28:54 12      Q.   Do you recognize this as the rejection from the United

10:28:55 13      States Patent and Trademark Office?

10:28:57 14      A.   That is correct.

10:29:04 15      Q.   And if you could go to Page 2, Carl?         And Carl, under C, do

10:29:07 16      you see the section where it says Section 2(d) refusal, if you

10:29:11 17      could do the paragraph under that?       Great.    Thank you.

10:29:12 18                Do you see that it says "registration of the

10:29:16 19      applied-for mark is refused because of a likelihood of

10:29:18 20      confusion."     Do you see that?

10:29:20 21      A.   Yes, sir.

10:29:25 22      Q.   And you understand, right, that that was a confusion with

10:29:30 23      the Nextel marks owned by Sprint.

10:29:31 24      A.   Correct.

10:29:38 25      Q.   So despite Mr. Calabrese saying he was stopping, despite the


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10:29:43   1     PTO rejecting your application, you still decided to go forward

10:29:46   2     and sell Nextel products, correct?

10:29:48   3     A.   Yes, sir.

10:29:54   4     Q.   Now, in July of 2018, even after they rejected this one, you

10:29:57   5     filed a trademark application for the chirp sound, correct?

10:29:59   6     A.   Correct.

10:30:03   7               MR. RIOPELLE:    If you could call up Exhibit 79, Carl.

10:30:06   8     This one no objection, Your Honor.

10:30:08   9               THE COURT:    79 is admitted in evidence then.

10:30:09 10                (Plaintiff's Exhibit 79 in evidence)

10:30:09 11           BY MR. RIOPELLE:

10:30:13 12      Q.   And do you recognize this as the application for the chirp

10:30:14 13      mark?

10:30:16 14      A.   Correct.

10:30:19 15      Q.   And if we could go to Page 2, Carl.

10:30:24 16                And do you see that that's your name there, Jeffrey

10:30:24 17      Kaplan?

10:30:26 18      A.   Yes, sir.

10:30:31 19      Q.   And again, it's on behalf of RetroBrands?

10:30:32 20      A.   Correct.

10:30:33 21      Q.   Which is your company?

10:30:34 22      A.   Yes, sir.

10:30:39 23      Q.   And if we could go to Page 6, Carl.

10:30:43 24                And this is the same declaration we just looked at in

10:30:46 25      the other application, correct?


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10:30:49   1     A.   Yes, sir.

10:30:53   2     Q.   But Mr. Kaplan, when you filed this registration -- when you

10:30:58   3     filed this application, all you did was copy Sprint's

10:31:01   4     registration for the Nextel chirp mark, isn't that right?

10:31:04   5     A.   You mean the goods and services?

10:31:07   6     Q.   Goods and services and the description of the mark.

10:31:07   7     A.   Yes, sir.

10:31:09   8     Q.   You just copied it, right?

10:31:10   9     A.   Correct.

10:31:21 10      Q.   And you agree, right, that the Nextel chirp is a distinct

10:31:23 11      sound.

10:31:24 12      A.   Yes.

10:31:29 13      Q.   And that that sound is associated with Nextel.

10:31:30 14      A.   Correct.

10:31:35 15      Q.   And then on August 1st of 2018, you registered

10:31:41 16      nextelmobileworldwide.com as a website, correct?

10:31:41 17      A.   Correct.

10:31:43 18      Q.   And as a domain name, correct?

10:31:46 19      A.   Yes, sir.

10:31:49 20                  MR. RIOPELLE:   If you could call up Exhibit 94, Carl.

10:31:52 21                  This Exhibit, Your Honor -- actually we don't need

10:31:54 22      this.

10:31:54 23           BY MR. RIOPELLE:

10:31:58 24      Q.   And on this, you put together the information on that

10:31:59 25      website, correct?


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10:32:01   1     A.   Yes, sir.

10:32:06   2     Q.   And you called it nextelmobileworldwide.com even though that

10:32:10   3     you knew that the Patent and Trademark Office had said that

10:32:11   4     Sprint owned the Nextel mark.

10:32:12   5     A.   Correct.

10:32:19   6               MR. RIOPELLE:    Now, if you could call up Exhibit 67

10:32:22   7     Carl.   This Exhibit has no objection, Your Honor.

10:32:23   8               THE COURT:    67 is admitted in evidence without

10:32:23   9     objection.

10:32:24 10                (Plaintiff's Exhibit 67 in evidence)

10:32:24 11           BY MR. RIOPELLE:

10:32:29 12      Q.   And do you recognize this, Mr. Kaplan, as the website or I

10:32:31 13      should say screenshot of the website of

10:32:34 14      nextelmobileworldwide.com?

10:32:35 15      A.   Yes, sir.

10:32:39 16      Q.   And you see that obviously it has Nextel in the upper

10:32:41 17      left-hand corner?

10:32:41 18      A.   Correct.

10:32:44 19      Q.   And it's using the same black and yellow colors that my

10:32:46 20      client Nextel and Sprint use?

10:32:48 21      A.   Correct.

10:32:55 22      Q.   And if you could go to Page 8, Carl?       So this is a coverage

10:32:56 23      map, correct?

10:32:57 24      A.   Yes, sir.

10:33:04 25      Q.   Advertising for Nextel Mobile Worldwide's coverage, correct?


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10:33:07   1     A.   It would be our dealer's coverage.

10:33:11   2     Q.   Right.     That's the point.   That's not Nextel Mobile

10:33:13   3     Worldwide's coverage map, is it?

10:33:18   4     A.   Under the license I believe it was.

10:33:20   5     Q.   Under what license?

10:33:22   6     A.   The license agreement with Nextel, Inc.

10:33:26   7     Q.   But Nextel Inc. didn't own a network, did it?

10:33:27   8     A.   No.

10:33:31   9     Q.   No.   Information this coverage map, you just went out to the

10:33:35 10      internet and copied someone else's coverage map and put it on

10:33:36 11      your website, right?

10:33:37 12      A.   Correct.

10:33:41 13      Q.   Can we go to Page 17, Carl?

10:33:46 14                 And you see this building here with Nextel on top of

10:33:46 15      it, correct?

10:33:47 16      A.   Yes, sir.

10:33:49 17      Q.   Now this isn't RetroBrands building, is it?

10:33:50 18      A.   No, it is not.

10:33:54 19      Q.   And it's not Nextel Mobile Worldwide's building, is it?

10:33:56 20      A.   No, it is not.

10:33:59 21      Q.   In fact, it's just a building that you copied off the

10:34:00 22      internet, right?

10:34:01 23      A.   Correct.

10:34:08 24      Q.   If we go to Page 23.     And here on your website, you're

10:34:10 25      advertising the Nextel chirp, right?


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10:34:11   1     A.   Correct.

10:34:15   2                 MR. RIOPELLE:   And if we could go to Exhibit 136?

10:34:17   3                 No objection to this, Your Honor.

10:34:19   4                 THE COURT:   What is the number please?

10:34:21   5                 MR. RIOPELLE:   136.

10:34:23   6                 THE COURT:   Without objection, 136 is admitted in

10:34:24   7     evidence.

10:34:24   8                 (Plaintiff's Exhibit 136 in evidence)

10:34:24   9          BY MR. RIOPELLE:

10:34:28 10      Q.   This is another page from the Nextel Mobile Worldwide

10:34:30 11      website, right?

10:34:30 12      A.   Yes, sir.

10:34:34 13      Q.   In fact this is the ads -- these are the ads made and

10:34:38 14      produced by my clients Nextel and Sprint, right?

10:34:40 15      A.   Three of them are, yes sir.

10:34:43 16      Q.   And you've put them on our -- on your website.

10:34:44 17      A.   Correct.

10:34:47 18      Q.   And in fact, the one in the upper left-hand corner is the

10:34:48 19      one I played for the jury yesterday, right?

10:34:49 20      A.   Yes.

10:34:56 21                  MR. RIOPELLE:   Could we go to Exhibit 107, Carl?

10:34:58 22                  There's no objection to this, Your Honor.

10:35:00 23                  THE COURT:   107 is admitted in evidence.

10:35:00 24                  (Plaintiff's Exhibit 107 in evidence)

10:35:00 25           BY MR. RIOPELLE:


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10:35:04   1     Q.   And if we could go to Page 2.

10:35:08   2                Mr. Kaplan, you recognize this as Nextel Communications

10:35:11   3     Facebook page, right?

10:35:12   4     A.   Yes, sir.

10:35:15   5     Q.   And you're associated with Nextel Communications, right?

10:35:17   6     A.   They are a dealer.

10:35:19   7     Q.   But you're associated with them, right?

10:35:22   8     A.   Yes, they're a dealer.       So I'm associated with them,

10:35:24   9     correct.   Yes, sir.

10:35:30 10      Q.   And so you're -- again, you're saying Nextel is back, right?

10:35:37 11      A.   Yes, the dealer is saying Nextel is back.       Correct.

10:35:43 12      Q.   Well, let me -- just so we make sure, can we quickly go over

10:35:47 13      to Exhibit 160?

10:35:49 14                 THE COURT:   160.

10:35:51 15                 MR. RIOPELLE:   160.

10:35:53 16                 THE COURT:   Is there any objection to 160?

10:35:54 17                 MR. SCHWARTZ:   One second, Your Honor, please.

10:35:56 18                 THE COURT:   Pardon me?

10:35:57 19                 MR. RIOPELLE:   They asked for a second.

10:36:01 20                 THE COURT:   Oh, okay.    I didn't hear you.

10:36:05 21                 MR. SCHWARTZ:   Brian, you said 160?

10:36:08 22                 THE COURT:   160.

10:36:10 23                 MR. SCHWARTZ:   Is it in this particular book here?

10:36:14 24                 MR. RIOPELLE:   I don't know.     Do you want me to get you

10:36:17 25      a copy?


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10:36:26   1               MR. SCHWARTZ:    If you have one handy.

10:36:46   2               No objection Your Honor.

10:36:50   3               THE COURT:    160 is admitted in evidence without

10:36:50   4     objection.

10:36:50   5               (Plaintiff's Exhibit 160 in evidence)

10:36:50   6          BY MR. RIOPELLE:

10:36:53   7     Q.   You recognize this as a press release you issued, Mr.

10:36:54   8     Kaplan?

10:36:55   9     A.   Yes, sir.

10:37:01 10      Q.   And you see at the bottom -- you have to go to the next

10:37:03 11      page, Carl.     There you go.

10:37:04 12                Do you see your name Jeffrey Kaplan?

10:37:05 13      A.   Yes, sir.

10:37:09 14      Q.   It says contact via e-mail?

10:37:10 15      A.   Correct.

10:37:13 16      Q.   And it says www.nextelcommunications.com?

10:37:14 17      A.   Yes, sir.

10:37:23 18      Q.   Can we go back Carl to Exhibit 107.

10:37:25 19                So again, this is Nextel Communications Facebook page

10:37:29 20      that is advertising Nextel is back, correct?

10:37:31 21      A.   Yes, sir.

10:37:36 22      Q.   And Carl, if we can go to Page 4 of this.       Right there.    If

10:37:40 23      we go to the image there at the bottom, Carl.

10:37:45 24                Sir, you're promoting Nextel Communications and those

10:37:51 25      devices to first responders, aren't you?


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10:37:53   1     A.   Yes.

10:38:00   2     Q.   If we could go to Exhibit 108.

10:38:07   3                 MR. RIOPELLE:   And there's no objection to 108, Your

10:38:07   4     Honor.

10:38:10   5                 THE COURT:   Then without objection, 108 is admitted in

10:38:11   6     evidence.

10:38:11   7                 (Plaintiff's Exhibit 108 in evidence)

10:38:14   8                 MR. RIOPELLE:   If he could show just the first five

10:38:15   9     seconds.

10:38:20 10                  (Plaintiff's Exhibit 108 playing in open court)

10:38:20 11           BY MR. RIOPELLE:

10:38:22 12      Q.   You recognize this ad, correct?

10:38:23 13      A.   Yes, sir.

10:38:25 14                  MR. RIOPELLE:   Why don't you go ahead and play the

10:38:38 15      remainder of the ad please, Carl.

10:38:46 16                  (Plaintiff's Exhibit 108 playing in open court).

10:38:46 17           BY MR. RIOPELLE:

10:39:08 18      Q.   So you agree this ad, you put this ad together, correct?

10:39:08 19      A.   No sir, I did not.

10:39:12 20      Q.   You had somebody put this ad together for you, correct?

10:39:15 21      A.   No, I was not involved in this ad at all.

10:39:19 22      Q.   You knew about this ad advertising your client's products or

10:39:23 23      your licensee's products Nextel, right?

10:39:25 24      A.   Yes, I knew about it, yes sir.

10:39:29 25      Q.   And it's linking it to my client, right?       Because it says


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10:39:32   1     "it's back."

10:39:36   2     A.   It says "Nextel is back".     What's the question again?      I

10:39:36   3     apologize.

10:39:39   4     Q.   You're linking it to my clients because you're saying Nextel

10:39:41   5     is back, right?

10:39:42   6     A.   I disagree with that.

10:39:46   7     Q.   Okay.   What is coming back if it's not my client that has

10:39:48   8     been doing this for 30 years?

10:39:53   9     A.   Again, it's my belief that it was abandoned, so I don't feel

10:39:57 10      that it's -- it belongs to your client.

10:40:02 11      Q.   You said obviously that, and you heard it there it says it's

10:40:04 12      a nationwide network, right?

10:40:05 13      A.   Yes, sir.

10:40:09 14      Q.   But Nextel, Inc. or Nextel Mobile Worldwide, they don't have

10:40:12 15      a nationwide network, do they?

10:40:14 16      A.   They do not.

10:40:21 17      Q.   And in fact, for the phones that Nextel, Inc. sells, they

10:40:23 18      just use they put SIM cards in there?

10:40:24 19      A.   Yes, sir.

10:40:26 20      Q.   In fact, they go to Walmart and they buy those SIM cards and

10:40:28 21      put them in there, right?

10:40:30 22      A.   No, not Walmart.    I don't believe so.

10:40:33 23      Q.   So it's using somebody else's network, right?

10:40:34 24      A.   Yes, sir.

10:40:40 25      Q.   And Nextel Mobile Worldwide and Jeff Kaplan and Stephen


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10:40:42   1     Calabrese and Nextel, Inc. don't have any control over that

10:40:43   2     network, do they?

10:40:44   3     A.   No, we don't.

10:40:47   4     Q.   So you can't prioritize traffic on that network, can you?

10:40:49   5     A.   No, sir.

10:40:53   6     Q.   Now, let's go back to talking about the chirp application.

10:40:58   7     United States Patent and Trademark Office rejected that

10:40:59   8     application, correct?

10:41:00   9     A.   Correct.

10:41:04 10                MR. RIOPELLE:       Can we call up Exhibit 80, Carl?

10:41:07 11                There's no objection to Exhibit 80, Your Honor.

10:41:08 12                THE COURT:    80?

10:41:09 13                MR. RIOPELLE:       Yes, sir.

10:41:11 14                THE COURT:    80 is admitted in evidence then.

10:41:11 15                (Plaintiff's Exhibit 80 in evidence)

10:41:11 16           BY MR. RIOPELLE:

10:41:15 17      Q.   And Mr. Kaplan, you recognize this as the rejection for the

10:41:15 18      chirp mark application?

10:41:17 19      A.   Correct.

10:41:22 20      Q.   And if you see down at the bottom, you see that there's it

10:41:24 21      was one of the reasons it was refused was likelihood of

10:41:25 22      confusion?

10:41:27 23      A.   Yes, sir.

10:41:41 24      Q.   And then, Carl, if you could go to Page 2.          And -- well I

10:41:48 25      should have been smarter -- oh.           You see in the second -- in the


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10:41:52   1     paragraph that starts "in this case the services in the

10:41:55   2     application and the registrations are identical"?

10:41:56   3     A.   Yes, sir.

10:41:59   4     Q.   They're identical, right, because as you just said before,

10:42:02   5     you just copied Sprint's registration.

10:42:03   6     A.   Correct.

10:42:12   7     Q.   Now, you agree though that even though this was rejected,

10:42:17   8     you and the Defendants are using the Nextel chirp, right?

10:42:21   9     A.   We're using -- yes, we're using the Nextel chirp.

10:42:34 10      Q.   So despite both applications being rejected by the United

10:42:36 11      States Patent and Trademark Office, you and Mr. Calabrese went

10:42:40 12      ahead and sold products with the Nextel brand on them, right?

10:42:41 13      A.   Correct.

10:42:45 14      Q.   And you know that Mr. Calabrese is using Nextel on

10:42:47 15      walkie-talkie handsets, right?

10:42:47 16      A.   Correct.

10:42:50 17      Q.   And is using them on smartphones, right?

10:42:50 18      A.   Yes, sir.

10:42:54 19      Q.   And he's using them on land mobile radio devices, right?

10:42:55 20      A.   I believe so.

10:43:02 21      Q.   Now, Mr. Kaplan, you recently started a web page trying to

10:43:06 22      get people to invest in Nextel Mobile Worldwide, right?

10:43:07 23      A.   Correct.

10:43:10 24      Q.   And you created that page on a host that's called Start

10:43:11 25      Engine, I think?


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10:43:16   1     A.   Yes, it's a crowd-funding portal called Start Engine.

10:43:20   2     Q.   And on that fundraising page, you describe your company as a

10:43:24   3     mobile virtual network operator, don't you?

10:43:27   4     A.   No, that's not correct.

10:43:46   5                MR. RIOPELLE:     Your Honor, this is not an admitted

10:43:51   6     exhibit.   I was going to hand it to him so he could see it.

10:43:53   7                THE COURT:     Go give to it the court security officer,

10:43:56   8     he'll hand it over.

10:44:44   9                (Witness perusing the exhibit)

10:44:50 10                 MR. RIOPELLE:     Just let me know when you're finished

10:44:53 11      looking at it, Mr. Kaplan.

10:45:18 12                 THE WITNESS:     Yes, sir.   Okay.

10:45:18 13           BY MR. RIOPELLE:

10:45:24 14      Q.   So do you recognize this as a screenshot printout of the

10:45:27 15      Start Engine page we were just talking about?

10:45:28 16      A.   Yes, sir.

10:45:31 17      Q.   And do you see on the first page it states as a "Mobile

10:45:40 18      Virtual Network Operator, MVNO, Nextel obtains bulk access to

10:45:41 19      network" then it goes on?

10:45:42 20      A.   Correct.

10:45:46 21      Q.   So you are referring to Nextel as an MVNO, correct?

10:45:47 22      A.   Correct.

10:45:51 23      Q.   But Nextel is not an MVNO, is it?

10:45:54 24      A.   It is not.

10:45:58 25      Q.   And on that same page, on the third line, do you see where


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10:46:06   1     it says "the most notable distinction from Nextel is the iconic

10:46:07   2     chirp sound."     Do you see that?

10:46:08   3     A.   Yes, sir.

10:46:11   4     Q.   And that's the same chirp sound that you applied for and was

10:46:13   5     rejected by the Patent and Trademark Office, right?

10:46:13   6     A.   Correct.

10:46:18   7     Q.   And if you could turn, Mr. Kaplan, to the third page of the

10:46:20   8     document I handed to you?

10:46:23   9     A.   Okay.

10:46:37 10      Q.   I've lost my place.       Well, do you see where it says on the

10:46:40 11      first full paragraph, it says "Nextel Mobile Worldwide, Inc. is

10:46:45 12      a holding company that owns the intellectual property rights to

10:46:49 13      Nextel and Nextel chirp trademarks", and then in parenthesis

10:46:54 14      says "trademarks" and has two numbers there.        Do you see that?

10:46:56 15      A.   I apologize.     What page is that on again?

10:47:01 16      Q.   It's on the third page of the document I just handed you.

10:47:09 17      A.   I apologize, I'm trying to find it.

10:47:11 18      Q.   Sure.     Would you like me to come up with the Court's

10:47:13 19      permission and point it out to you?

10:47:18 20      A.   Each page is a single page, not the back?       One, two, three.

10:47:27 21      How does it begin again, please?

10:47:32 22      Q.   Says "Nextel Mobile Worldwide, Inc. is a holding company."

10:47:34 23      A.   On top.     I found it.

10:47:37 24      Q.   Right.     So it says "Nextel Mobile Worldwide, Inc. is a

10:47:40 25      holding company that owns the intellectual property rights to


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10:47:42   1     the Nextel and Nextel chirp trademarks."        Do you see that?

10:47:43   2     A.   Correct.

10:47:47   3     Q.   And then it has two numbers after that, right?

10:47:49   4     A.   Yes, those are the serial numbers, yes, correct.

10:47:55   5     Q.   But Mr. Kaplan, those aren't trademarks numbers, they're

10:47:56   6     application numbers, right?

10:47:57   7     A.   Correct.

10:48:01   8     Q.   And those were the applications that were rejected, right?

10:48:02   9     A.   Correct.

10:48:07 10      Q.   So that's not true, is it, that you own the rights to those

10:48:10 11      trademarks because they've already been rejected by the United

10:48:11 12      States Patent and Trademark Office.

10:48:13 13      A.   Correct.

10:48:21 14      Q.   And you can look through it if you want to, but in this

10:48:28 15      entire website in which you're trying to raise money for Nextel,

10:48:32 16      you never tell anyone about this lawsuit, do you?

10:48:36 17      A.   No, that's not true.     There is a section in the SEC filing

10:48:41 18      document, I think it's called Form C, it does talk about the

10:48:41 19      lawsuit.

10:48:43 20      Q.   Does this document --

10:48:44 21      A.   Oh this document, no.

10:48:47 22      Q.   This website in which you're trying to raise money from

10:48:52 23      investors ever tell them that this lawsuit exists.

10:48:57 24      A.   This document, sir?     These four pages?    No.

10:49:01 25      Q.   So you don't tell them anywhere that Sprint actually owns


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10:49:06   1     the Nextel trademark and is challenging your right to use it.

10:49:10   2     A.   Again, it's in the SEC filing it does mention the lawsuit

10:49:12   3     about Sprint.    But not in this document.

10:49:13   4     Q.   In this document?

10:49:13   5     A.   Correct.

10:49:17   6     Q.   Which you're trying to get people to invest in your company,

10:49:21   7     you don't tell them that Sprint is challenging your right to use

10:49:22   8     these trademarks.

10:49:24   9     A.   Yes, sir.    That's correct.

10:49:35 10      Q.   And it's opinion, right, that the Nextel brand is worth a

10:49:37 11      minimum of $100 million.

10:49:38 12      A.   Conservatively, yes.

10:49:44 13      Q.   And you agree that the Nextel is a very strong, strong

10:49:45 14      trademark.

10:49:46 15      A.   Yes.

10:49:49 16      Q.   And in fact, you agree it's iconic.

10:49:50 17      A.   Correct.

10:49:53 18      Q.   And you agree that the chirp sound mark is a strong

10:49:54 19      trademark, right?

10:49:57 20      A.   Correct.

10:50:00 21                  MR. RIOPELLE:   I have no further questions, Your Honor.

10:50:01 22                  THE COURT:   Cross-examination.

10:50:31 23                  MR. RIOPELLE:   Your Honor, I would offer this one that

10:50:36 24      I just presented as Exhibit 167 I believe is the next exhibit.

10:50:42 25      It was not produced during discovery because in fact it didn't


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10:50:44   1     exist during discovery.

10:50:45   2               THE COURT:    167.

10:50:46   3               MR. RIOPELLE:    But I don't know if they're going to

10:50:49   4     object or not.

10:50:52   5               MR. SCHWARTZ:    No objection, Your Honor.

10:50:57   6               THE COURT:    Without objection is admitted in evidence.

10:50:57   7               (Plaintiff's Exhibit 167 in evidence)

10:50:58   8                                    CROSS-EXAMINATION

10:50:58   9          BY MR. SCHWARTZ:

10:51:00 10      Q.   Mr. Kaplan.

10:51:01 11      A.   Good morning.

10:51:07 12      Q.   Good morning.     At the Patent and Trademark Office, the sound

10:51:11 13      mark is not called the Nextel chirp mark, correct?

10:51:12 14      A.   That is correct.

10:51:15 15      Q.   Where is that coming from, the Nextel chirp, where is that

10:51:16 16      coming from?

10:51:19 17      A.   I had filed an application for Nextel chirp.

10:51:20 18      Q.   That was something --

10:51:22 19      A.   With the USPTO.

10:51:24 20      Q.   That was something that you filed, correct?

10:51:26 21      A.   Correct.

10:51:32 22      Q.   In fact, when you look at the registration of the sound

10:51:35 23      mark, it only says sound mark, correct?

10:51:35 24      A.   Correct.

10:51:39 25      Q.   It doesn't say Nextel or Sprint, correct?


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10:51:40   1     A.   That is correct.

10:51:47   2     Q.   And who actually filed for the registration of the sound

10:51:49   3     mark?

10:51:52   4     A.   Nextel -- I believe it was Nextel Mobile Worldwide.          You

10:51:54   5     mean my sound mark?

10:51:57   6     Q.   No, not your sound mark, the one we've been talking about.

10:52:03   7     The one that's -- that one that has the sound that they've been

10:52:04   8     playing.

10:52:06   9     A.   Oh, the original one?

10:52:07 10      Q.   Yeah, the original one.

10:52:11 11      A.   It was Motorola I believe, and then it was -- no, it was

10:52:12 12      Sprint, Sprint Communications.

10:52:14 13      Q.   It was not Nextel, correct?

10:52:16 14      A.   Right.   I apologize.        It was Sprint Communications had filed

10:52:19 15      for this trademark.

10:52:36 16                 MR. RIOPELLE:     Carl, can you call up Exhibit 165

10:52:38 17      please?

10:52:49 18                 THE COURT:     165 is not in evidence.

10:52:51 19                 MR. RIOPELLE:     There's no objection by either side.

10:52:54 20                 THE COURT:     Okay.     165 is in evidence then.

10:52:54 21                 (Plaintiff's Exhibit 165 in evidence)

10:52:59 22                 MR. SCHWARTZ:     Would you mind going to Page 2?

10:53:08 23                 THE WITNESS:     Okay.     That refreshes my memory.

10:53:16 24                 (Counsel conferring)

10:53:27 25                 MR. SCHWARTZ:     Page 2 if you don't mind, please?


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10:53:27   1          BY MR. SCHWARTZ:

10:53:29   2     Q.   Do you see this, Mr. Kaplan?

10:53:30   3     A.   Yes.

10:53:32   4     Q.   What is this in front of you?

10:53:39   5     A.   This is the registration certified issued to the applicant.

10:53:42   6     Q.   And do you see the registration date?

10:53:48   7     A.   2016.     September 27th.

10:53:55   8                  THE COURT:   Is this an exhibit that's in evidence?

10:53:57   9                  MR. RIOPELLE:   There's no objection from either side to

10:53:58 10      this one either, Your Honor.

10:54:00 11                   THE COURT:   What is it?     What number?

10:54:02 12                   MR. RIOPELLE:   This is the certified --

10:54:03 13                   THE COURT:   What number is it.

10:54:05 14                   MR. RIOPELLE:   166.

10:54:07 15                   THE COURT:   Okay.     Well, I need to know that so I can

10:54:12 16      keep track.     166 is admitted in evidence without objection.

10:54:14 17                   (Plaintiff's Exhibit 166 in evidence)

10:54:14 18           BY MR. SCHWARTZ:

10:54:20 19      Q.   And how does one know what the sound that the trademark

10:54:22 20      office is registering?

10:54:28 21      A.   There is a section of the registration which has the

10:54:33 22      megahertz of the sound.       The certain frequency.     And it's listed

10:54:35 23      on their certificate.

10:54:38 24      Q.   And does it also have the certain cadence?

10:54:42 25      A.   Yes.     That's the milliseconds, the timing of it.


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10:54:48   1     Q.   So is that the sound going on and off, on and off, on?

10:54:49   2     A.   Correct, correct.

10:54:54   3     Q.   When you were asked by Mr. Riopelle if -- he asked you if

10:54:57   4     you were using the sound.     RetroBrands is not using the sound,

10:54:58   5     correct?

10:54:59   6     A.   That is correct.

10:55:03   7     Q.   It's Nextel, Inc. that handles sales and service for the

10:55:03   8     phones, correct?

10:55:04   9     A.   Correct.

10:55:07 10      Q.   You're the licensor because you're the one handling the

10:55:09 11      trademark issues, correct?

10:55:11 12      A.   That is correct.

10:55:17 13      Q.   When Mr. Riopelle -- I think he asked you about the Nextel

10:55:20 14      chirp.     Was that the chirp that you filed for?

10:55:20 15      A.   Correct.

10:55:23 16      Q.   Is that a different sound than what's described in this

10:55:24 17      particular document?

10:55:26 18      A.   Yes.    We use a different sound.

10:55:30 19      Q.   Is that something called the roger beep?

10:55:33 20      A.   Yes, in the industry it's called the roger beep.

10:55:35 21      Q.   Would you just explain to the jury?

10:55:46 22      A.   Sure.    Many companies for example AT&T, Zello, Voxxer,

10:55:52 23      Motorola, they all have their own individual roger beep which

10:55:56 24      could be adjusted and changed.      They sound somewhat similar, but

10:56:00 25      they are different.


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10:56:03   1                 MR. SCHWARTZ:   Thank you, Mr. Kaplan.

10:56:08   2                 Can I have the clerk switch to my screen?       Thank you,

10:56:11   3     Madame.

10:56:11   4          BY MR. SCHWARTZ:

10:56:17   5     Q.   Have you met with investors interested in investing in

10:56:19   6     Nextel Mobile Worldwide?

10:56:21   7     A.   Yes, quite a few.

10:56:24   8     Q.   And have you mentioned the lawsuit to any of those

10:56:24   9     investors?

10:56:27 10      A.   Every single one.

10:56:32 11      Q.   And what have those investors said to you?

10:56:33 12      A.   They don't want to invest --

10:56:34 13                  MR. RIOPELLE:   Objection, calls for hearsay.

10:56:36 14                  THE COURT:   Sustained.

10:56:40 15           BY MR. SCHWARTZ:

10:56:51 16      Q.   Are there any obstacles, Mr. Kaplan, with regard to getting

10:56:52 17      investors?

10:56:59 18      A.   Yes.    When I reveal that the lawsuit is in progress for the

10:57:03 19      last four years, I'm informed to reach out to them after the

10:57:04 20      lawsuit.

10:57:35 21                  THE COURT:   Let's go.    Ask a question.

10:57:37 22                  MR. SCHWARTZ:   I'm sorry, Your Honor.      I was just

10:57:39 23      getting a document up.

10:57:42 24                  THE COURT:   Get a document up.

10:57:54 25                  MR. SCHWARTZ:   I'll get her mouse in a second, Your


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10:57:54   1     Honor.

10:57:57   2                THE COURT:   Not a problem.

10:57:57   3          BY MR. SCHWARTZ:

10:58:14   4     Q.   Do you see this document that you were shown earlier?

10:58:16   5     A.   Yes, sir.

10:58:20   6     Q.   What's the status of your application concerning the

10:58:25   7     trademark for equipment?

10:58:30   8     A.   The status with the USPTO is suspended until this legal

10:58:32   9     matter is resolved in federal court.

10:58:37 10      Q.   Was that done jointly with the Plaintiff?

10:58:43 11      A.   I'm not sure if they agree to it.       I recommended suspension

10:58:51 12      and the examiner agreed.     I believe it's once you file a federal

10:58:56 13      lawsuit, that overrides the trademark office and you have to go

10:58:59 14      through the lawsuit first.

10:59:02 15      Q.   So your application is still active and pending, correct?

10:59:06 16      A.   Yes, it hasn't been cancelled.       It's active.

10:59:23 17      Q.   You were shown your press release concerning Nextel is back,

10:59:24 18      correct?

10:59:25 19      A.   Yes, sir.

10:59:30 20      Q.   What did you do to investigate sales of Nextel phones?

10:59:39 21      A.   Starting back in January 2018, I did a lot of investigation.

10:59:44 22      I searched Google, all the history of Nextel, the background,

10:59:50 23      Wikipedia, everything you could imagine to try and find any type

10:59:55 24      of sales of Nextel devices and Nextel air time.          I went to

11:00:02 25      Nextel.com which was not working.        That was shut off around


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11:00:08   1     2013.   I went to the Sprint.com website, typed in Nextel,

11:00:18   2     nothing came up.    I went to the annual reports of Sprint prior

11:00:27   3     to 2013 and after 2013.      Prior to 2013, I discovered that the

11:00:32   4     Nextel brand was in all their documents that were filed with the

11:00:33   5     Securities and Exchange Commission, including subscription

11:00:42   6     money, revenue, but after 2013, my review of the annual reports

11:00:46   7     for Sprint had no mention of Nextel in any of the documents.          So

11:00:52   8     that's a short synopsis of some of -- a lot of the work that I

11:00:55   9     did before I filed my application.

11:02:18 10      Q.   Stop please.    Stop.   Little further down.    Keep going.

11:02:24 11                  You were shown on your earlier examination Page 7 of

11:02:28 12      34, it's the Sprint website page, right?        Do you recall being

11:02:30 13      shown that?

11:02:30 14      A.   Yes.

11:02:35 15      Q.   And I'll direct that this is the Page 7, we've scrolled it

11:02:38 16      further down so you can see the bottom of that particular page.

11:02:40 17      A.   Yes, sir.

11:02:43 18      Q.   Do you see the date on --

11:02:46 19      A.   Yes, sir.

11:02:47 20      Q.   What's the date there?

11:02:49 21      A.   January 18, 2019.

11:02:53 22      Q.   And that was after the lawsuit was filed by Sprint in April

11:02:54 23      of 2018, correct?

11:02:54 24      A.   Yes.

11:02:55 25      Q.   So you didn't --


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11:02:57   1                   MR. RIOPELLE:   Objection, Your Honor.   It's been

11:03:00   2     authenticated as being from the date at the top.         He's trying to

11:03:03   3     confuse them.

11:03:07   4                   THE COURT:   What is the objection?   That he's

11:03:09   5     misleading?       That's why you get redirect.

11:03:12   6                   MR. RIOPELLE:   Okay.

11:03:14   7            BY MR. SCHWARTZ:

11:03:52   8     Q.     Do you recall being shown the FAQ page?      What is that the

11:03:53   9     FAQ?

11:03:54 10      A.     Frequently asked questions.

11:03:58 11      Q.     And this was created by Sprint, correct?

11:03:59 12      A.     I believe so.

11:04:01 13      Q.     They control the content of their own website, right?

11:04:02 14      A.     Yes, sir.

11:04:05 15      Q.     They can put anything they want on their website, right?

11:04:06 16      A.     Correct.

11:04:09 17      Q.     And you were asked about this sentence here, I guess if you

11:04:13 18      click on that particular question, they put this on there,

11:04:14 19      right?

11:04:14 20      A.     Yes.

11:04:19 21      Q.     And again, it's not -- there's no such thing as the Nextel

11:04:20 22      chirp, right?

11:04:21 23      A.     Correct.

11:04:24 24      Q.     And if you scroll --

11:04:26 25                    MR. SCHWARTZ:   Would you mind scrolling down?    Stop


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11:04:47   1     please.     Stop.

11:04:47   2          BY MR. SCHWARTZ:

11:04:50   3     Q.   See at the bottom of this particular page?

11:04:51   4     A.   Yes, sir.

11:04:53   5     Q.   And you see the Bates stamp, that means it was produced by

11:04:55   6     Sprint?

11:04:55   7     A.   Correct.

11:04:59   8     Q.   So they were the ones who printed this page on the date that

11:05:00   9     question was answered, right?

11:05:01 10      A.   Yes.

11:05:03 11      Q.   And what was the date?

11:05:05 12      A.   November 27th.

11:05:07 13                  THE COURT:     The date it was printed.   The date it was

11:05:10 14      printed is what you're asking him, correct?

11:05:13 15                  MR. SCHWARTZ:     The date it was printed was the date on

11:05:16 16      here, November 27, 2018.

11:05:17 17                  THE COURT:     Okay.

11:05:18 18                  MR. SCHWARTZ:     On this particular document, that's when

11:05:20 19      this page was printed.

11:05:20 20                  THE WITNESS:     Yes, sir.

11:05:20 21           BY MR. SCHWARTZ:

11:05:24 22      Q.   And this was well after the lawsuit was filed, right?

11:05:25 23      A.   Correct.

11:05:28 24      Q.   So Sprint could have put anything they wanted on the website

11:05:31 25      after the lawsuit was filed, right?


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11:05:33   1     A.   Exactly.

11:05:52   2     Q.   If you file an application with the trademark office and no

11:05:55   3     one puts in any opposition, then what happens?

11:05:59   4                  MR. RIOPELLE:     Objection.     Calling for legal --

11:06:03   5                  THE COURT:     Speculation.     I'll sustain the objection.

11:06:03   6          BY MR. SCHWARTZ:

11:06:05   7     Q.   When you file applications, take the jury through the

11:06:08   8     process when you file an application.

11:06:09   9     A.   Sure.

11:06:13 10                   MR. RIOPELLE:     Objection.     He's giving an opinion or

11:06:16 11      knowledge on law, administrative.

11:06:18 12                   THE COURT:     I don't know, so I'll have to permit the

11:06:19 13      question.

11:06:20 14                   MR. RIOPELLE:     Okay.

11:06:23 15                   THE COURT:     See where the answer goes.     I don't know.

11:06:24 16                   THE WITNESS:     Okay.     When I file an application, I go

11:06:29 17      to the US Patent and Trademark Office.            It's user friendly for

11:06:33 18      anyone to file an application.            You just follow each of the

11:06:39 19      steps, step one, step two.            You start with putting all your

11:06:42 20      information about your company or who it's going to be under.

11:06:49 21      You then have to determine whether you're going to use the

11:06:57 22      application for a mark that's being used now, or for a mark or

11:07:03 23      trademark which you have a bonafide intent to use later on.

11:07:08 24      After you do that, you put in the trademark that you want.              If

11:07:12 25      you're using the mark at the time you're doing the application,


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11:07:17   1     you would attach a specimen, which is a sample, of the item that

11:07:22   2     has the mark on it.     Then when you get to the end of it, you

11:07:27   3     have to certify that either you're using the mark or you have a

11:07:31   4     bonafide intent to use the mark, and then you just sign the oath

11:07:36   5     and submit it to the trademark office for them to examine it.

11:07:36   6          BY MR. SCHWARTZ:

11:07:44   7     Q.   As of January 2018, how many years of experience did you

11:07:47   8     have dealing with the trademark office?

11:07:50   9     A.   25.    25 years.

11:07:53 10      Q.   And when you met with Mr. Calabrese, what was your

11:07:55 11      understanding of his experience?

11:07:57 12      A.   Virtually none.

11:08:09 13      Q.   Did you have to provide Mr. Calabrese with some advice as to

11:08:12 14      what he should do with regard to his application that he had

11:08:13 15      filed earlier?

11:08:18 16      A.   Yes.    After we signed the license agreement, I recommended

11:08:22 17      to Mr. Calabrese, because he signed his application

11:08:27 18      individually, to abandon his application, to take it back,

11:08:32 19      expressively abandon and take it off the application list.          And

11:08:36 20      per the agreement, I would file for the mark under RetroBrands

11:08:41 21      and per the agreement, I would handle all the application and

11:08:46 22      legal matters.    And he would concentrate on selling Nextel

11:08:47 23      products.

11:08:50 24      Q.   When you file an application for a trademark that another

11:08:53 25      company was the previous registrant, they're going to get


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11:08:55   1     notice, correct?

11:08:56   2     A.   Correct.

11:08:58   3     Q.   There's not going to be any surprise.       You didn't expect any

11:09:01   4     surprise to Sprint when you filed for your application, right?

11:09:02   5     A.   Correct.

11:09:06   6     Q.   There was no way to secretly provide that without them

11:09:07   7     finding out, right?

11:09:07   8     A.   Not at all.

11:09:10   9     Q.   So you were prepared that they were going to oppose it,

11:09:11 10      correct?

11:09:15 11      A.   If they were going to oppose it, I was prepared, yes.

11:09:46 12      Q.   Did it matter to you and RetroBrands as to what Mr. Rubin

11:09:50 13      and/or Mr. Calabrese was going to do with their particular

11:09:51 14      application?

11:09:54 15      A.   No.   As I mentioned, he had filed it individually for

11:10:00 16      himself, not for his company.      So him removing it was the best

11:10:06 17      thing for us.

11:10:17 18      Q.   Is RetroBrands a charitable organization?

11:10:20 19      A.   No, we're a for-profit.

11:10:23 20      Q.   So in the license agreement between RetroBrands and Nextel,

11:10:26 21      Inc. where there was the comment about what the goal was going

11:10:30 22      to be five years down the road, right, you saw that?

11:10:34 23      A.   Oh yes.    As part of our talks, I said to them for the good

11:10:37 24      work you're going to do, hope down the road, hopefully we'll be

11:10:42 25      able to sell the company and we can all do well with it.          It was


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11:10:44   1     one simple paragraph.

11:10:50   2     Q.   And you've sold other nostalgic brands that you've revived

11:10:50   3     for money, right?

11:10:54   4     A.   Yes, I've licensed brands, I've sold brands, I've

11:10:57   5     re-launched brands for the last 20 years.

11:11:11   6     Q.   The purpose of your website, the Nextel Mobile Worldwide

11:11:15   7     website was not to cell phones, that was up to Nextel, Inc.,

11:11:16   8     correct?

11:11:21   9     A.   Yes, my website was more of an informational website.

11:11:23 10      Q.   Did you have disclaimers on your website?

11:11:28 11      A.   All websites including our dealers, everyone has a

11:11:31 12      disclaimer that we're not authorized by Sprint, we're not

11:11:33 13      associated with Sprint, we did our best to keep ourselves

11:11:38 14      totally away from Sprint.

11:11:39 15      Q.   And why?

11:11:43 16      A.   In the industry, Sprint has one of the worst reputations.

11:11:51 17      The Nextel debacle where they shut down 20 million people,

11:11:56 18      they've been sued by countless companies.        When Nextel was

11:12:01 19      dissolved, when they shut down Nextel, shareholders sued them,

11:12:05 20      they just have a terrible reputation in the industry so we want

11:12:09 21      to make sure we're as far apart from them as possible.         We did

11:12:13 22      not want to be associated with Sprint whatsoever.

11:12:18 23      Q.   Do smaller cell service companies, maybe like Nextel, do

11:12:26 24      they have to use the larger networks like T-Mobile and AT&T in

11:12:27 25      order to set up?


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11:12:30   1     A.   Oh yes, everybody in the industry uses four main companies.

11:12:36   2     They use Verizon, T-Mobile, and AT&T.        And they used to use

11:12:41   3     Sprint, but they're gone.     So companies like Metro, Boost,

11:12:46   4     Cricket, Xfinity, Mint Mobile, every one of those companies

11:12:51   5     don't have their own network.        They buy air time from the big

11:12:55   6     guys at a bulk rate and then they give the savings to the

11:13:00   7     consumer.    So even though you have a Cricket, you're really

11:13:03   8     using AT&T and so forth.

11:13:25   9     Q.   Before I finish up, I just want to make it perfectly clear

11:13:31 10      that the sound mark that they're arguing about is not on any of

11:13:33 11      the Nextel products, correct?

11:13:39 12      A.   No, their frequency is not being used at all.

11:14:03 13                  MR. SCHWARTZ:   No further questions, Your Honor.

11:14:07 14                  THE COURT:   Redirect.

11:14:07 15                                  REDIRECT EXAMINATION

11:14:17 16           BY MR. RIOPELLE:

11:14:25 17      Q.   Mr. Kaplan, you said that Nextel -- I believe you testified

11:14:29 18      that Nextel Mobile Worldwide, your company, is not using the

11:14:30 19      chirp, correct?

11:14:32 20      A.   Correct.

11:14:36 21      Q.   You're familiar with the "Nextel is back" video?

11:14:38 22      A.   The what, I'm sorry?

11:14:41 23      Q.   The "Nextel is back" video?

11:14:45 24      A.   There's quite a few videos.       I'm not sure which one you're

11:14:47 25      referring to.


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11:14:53   1               MR. RIOPELLE:    Okay.   I'll call it up.     It's Exhibit

11:14:53   2     113 please.

11:14:55   3               THE COURT:    Can we have an understanding that the court

11:14:58   4     reporter is not trying to follow a commercial while it's

11:15:00   5     playing, that if you have something that need to be in, you'll

11:15:03   6     either introduce the transcript or introduce the tape itself so

11:15:06   7     the appellate court will have an opportunity to read it or look

11:15:10   8     at it.   It's impossible for her to transcribe a commercial.

11:15:12   9               MR. RIOPELLE:    Completely understood, and we submitted

11:15:15 10      it when we submitted the exhibits to you flash drives that have

11:15:16 11      them on them.

11:15:16 12                THE COURT:    Okay.

11:15:18 13                MR. RIOPELLE:    So it will be in the record.

11:15:23 14                THE COURT:    All right. Defense you agree?

11:15:24 15                MR. SCHWARTZ:    Yes.

11:15:26 16                MR. RIOPELLE:    Can you just play the first six seconds,

11:15:28 17      Carl?

11:15:37 18                (Plaintiff's Exhibit 113 playing in open court)

11:15:37 19           BY MR. RIOPELLE:

11:15:40 20      Q.   Do you recognize this as the "Nextel is back" video?

11:15:40 21      A.   Yes, sir.

11:15:42 22      Q.   And this is a video you created, right?

11:15:44 23      A.   Yes, sir.

11:15:47 24                MR. RIOPELLE:    Now, could you play like the first 20,

11:15:49 25      21 seconds?


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11:16:00   1                 (Plaintiff's Exhibit 113 playing in court)

11:16:04   2                 MR. RIOPELLE:       That's good.

11:16:04   3            BY MR. RIOPELLE:

11:16:06   4     Q.     That's the Nextel chirp, isn't it?

11:16:09   5     A.     That is a chirp that I downloaded from the internet and it

11:16:12   6     was not a Nextel chirp.

11:16:15   7     Q.     You were playing that chirp in relation with Nextel, weren't

11:16:16   8     you?

11:16:18   9     A.     This chirp I am, correct.

11:16:23 10      Q.     Now, you also said that you were -- you did an

11:16:30 11      investigation, and as part of it you looked at the Sprint's

11:16:32 12      financial filings, correct?

11:16:35 13      A.     Yes, sir.   The 10-K annual reports.

11:16:40 14      Q.     And you said that -- you testified that after 2013, there

11:16:48 15      was no mention of Nextel as a brand in their financial reports,

11:16:49 16      correct?

11:16:53 17      A.     At this moment, I believe it was 2013, it might be '14 or

11:16:56 18      '15, but it was in that same time frame.          They removed

11:16:58 19      everything, correct.

11:17:00 20                  MR. RIOPELLE:       Can we call up Exhibit 59?   There's no

11:17:03 21      objection to this Exhibit, Your Honor.

11:17:06 22                  THE COURT:    59.     In evidence then.

11:17:06 23                  (Plaintiff's Exhibit 59 in evidence)

11:17:06 24             BY MR. RIOPELLE:

11:17:10 25      Q.     Do you see on the first page towards the top, it says for


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11:17:14   1     the fiscal year ended March 31, 2015?

11:17:15   2     A.   Yes, that's correct.

11:17:19   3     Q.   Sorry.    I just want -- so the record is clear, this is the

11:17:21   4     2015 annual report.

11:17:22   5     A.   Yes.

11:17:32   6     Q.   And if we could go to Page 10, please.          Sorry.     Page 10 of

11:17:36   7     the PDF.     So Page 10 of the report, so I guess it's probably

11:17:42   8     Page 12 of the PDF.        You see the section that says "patents,

11:17:43   9     trademarks and licenses"?

11:17:45 10      A.   Yes.

11:17:50 11      Q.   Do you see that they disclose we own numerous patents,

11:17:52 12      trademarks including Nextel?

11:17:56 13      A.   Yes, you're correct.          In '15 it was still there.

11:17:58 14      Q.   So what you said earlier was incorrect?

11:18:00 15      A.   Was misspoken (sic), correct.

11:18:03 16                  THE COURT:     What's the difference between misspoken and

11:18:05 17      incorrect?

11:18:08 18                  THE WITNESS:     I basically guessed of the correct years.

11:18:10 19                  THE COURT:     Okay.

11:18:22 20                  MR. RIOPELLE:     Can we call up Exhibit 47 please, Carl.

11:18:22 21           BY MR. RIOPELLE:

11:18:28 22      Q.   You remember looking at this exhibit with your counsel?

11:18:29 23      A.   Yes, sir.

11:18:33 24      Q.   And you were pointing out that it was printed in November of

11:18:35 25      2018?


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11:18:37   1     A.   Yes, correct.

11:18:42   2     Q.   And counsel has, I think, said that this was eight months

11:18:46   3     after the complaint in this case was filed?

11:18:52   4     A.   The complaint was I believe April.        About six months.

11:18:58   5     Q.   Okay.     Do you recall that Sprint amended the complaint in

11:19:00   6     this case in August of 2018?

11:19:02   7     A.   I believe so.

11:19:07   8     Q.   And they amended it to add infringement of the Nextel chirp,

11:19:08   9     right?

11:19:09 10      A.   I believe so.

11:19:12 11      Q.   And they did it because you started using the Nextel chirp

11:19:16 12      in July of 2018.

11:19:23 13      A.   I started using the sound that we have, correct.

11:19:30 14      Q.   You testified also that you have 25 years of experience.

11:19:31 15      A.   Yes, sir.

11:19:34 16      Q.   Working with the Patent and Trademark Office, right?

11:19:35 17      A.   Yes, sir.

11:19:39 18      Q.   So based on 25 years of experience, working with the Patent

11:19:44 19      and Trademark Office, you would know, right, that you shouldn't

11:19:50 20      start using a brand someone is claiming until your application

11:19:53 21      has actually cleared, right?

11:19:55 22      A.   That is totally untrue.

11:19:57 23                   MR. RIOPELLE:   Thank you, sir.

11:19:59 24                   THE COURT:   Thank you, sir.   You're excused.

11:20:01 25                   MR. SCHWARTZ:   Redirect, Your Honor?


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11:20:05   1               THE COURT:     No.     You get direct, cross, redirect.

11:20:08   2     That's it.   You're excused, sir.

11:20:09   3               THE WITNESS:     Thank you, Your Honor.

11:20:17   4               THE COURT:     Please call your next witness.

11:20:25   5               MR. RIOPELLE:        At this point Your Honor, we would call

11:20:31   6     Mr. Calabrese.     However, he is not here so we are going to play

11:20:32   7     excerpts from his deposition.

11:20:34   8               THE COURT:     You have a video?

11:20:34   9               MR. RIOPELLE:        Video.

11:20:36 10                THE COURT:     All right.        And is there an understanding

11:20:40 11      that this will not be attempted to be recorded, that there will

11:20:44 12      be either a transcript or the document itself will be admitted

11:20:48 13      -- will be attached to the record so that the appellate court

11:20:49 14      can review that?

11:20:52 15                MR. RIOPELLE:        Yes.     We will submit a copy of the

11:20:54 16      transcript that is played.

11:20:56 17                THE COURT:     All right.        Good.   Everybody agree to that?

11:21:00 18      I don't want my court reporter to have a nervous breakdown.

11:21:02 19                Defense, do you agree to that?

11:21:02 20                MR. SCHWARTZ:        Yes, Your Honor.

11:21:06 21                THE COURT:     Okay.        Then go ahead and play.   Then we'll

11:21:09 22      play until about noon and then we'll break.

11:21:11 23                MR. SCHWARTZ:        Would the Court explain to the jury that

11:21:17 24      only parts of videos or transcripts are culled out?             The

11:21:20 25      explanation as to what the process is so -- because it's going


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11:21:23   1     to seem probably choppy and out of order.

11:21:25   2               THE COURT:    Yeah.    There are certain things that just

11:21:28   3     -- you don't need, like for, example objections.         If there are

11:21:33   4     objections and there are questions that are stricken, we're not

11:21:36   5     going to play all of that.       We're going to cut it to the point

11:21:40   6     that it is admissible, that I have ruled is admissible and

11:21:44   7     therefore, it might look a little bit chopped up.         Hopefully

11:21:50   8     they've edited it nicely so that it's not incomprehensible, but

11:21:53   9     there are parts that are deleted because they didn't want them

11:21:55 10      in and there are parts that are deleted because I said they

11:21:56 11      can't come in.

11:22:01 12                All right?    You may proceed.

11:22:08 13                (Video deposition of Stephen Calabrese playing in open

11:22:10 14      court).

11:37:36 15                MR. RIOPELLE:    I don't know if you wanted to break now.

11:37:41 16      I just wanted -- I need to move in some exhibits into evidence.

11:37:42 17                THE COURT:    Okay.

11:37:44 18                MR. SCHWARTZ:    Before that, Your Honor, would Your

11:37:48 19      Honor just advise the jury the date the deposition was taken?

11:37:50 20                THE COURT:    What was it?    I don't know the date that

11:37:54 21      the deposition was taken.       I'll be happy to let you advise them.

11:37:56 22                MR. SCHWARTZ:    That deposition that you just saw was

11:37:59 23      taken December 5, 2018.

11:38:05 24                THE COURT:    Okay.    Are you going to offer some exhibits

11:38:06 25      into evidence?    Go ahead.


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11:38:07   1                 MR. RIOPELLE:   Yes, Your Honor.     These are all

11:38:09   2     unobjected to.

11:38:12   3                 THE COURT:   Wait.     Let me just read this to the jury.

11:38:15   4                 A deposition is a witness's sworn testimony that is

11:38:18   5     taken before the trial.      During a deposition, the witness is

11:38:21   6     under oath and swears to tell the truth and the lawyers for each

11:38:24   7     party may ask questions.         A court reporter is present and

11:38:29   8     records the questions and answers.         The deposition of Stephen

11:38:33   9     Calabrese was taken on -- I guess I did know it -- December 5,

11:38:37 10      2018, has been presented to you by a video.         Deposition

11:38:40 11      testimony is entitled to the same consideration as live

11:38:43 12      testimony, and you must judge it in the same way as if the

11:38:46 13      witness was testifying in court.

11:38:48 14                  All right.   You may proceed, sir.

11:38:51 15                  MR. RIOPELLE:   Your Honor, the trial exhibits that were

11:38:59 16      just moved in through that deposition are Exhibits 110 -- none

11:39:01 17      of these have objections.

11:39:03 18                  THE COURT:   Okay.

11:39:14 19                  MR. RIOPELLE:   111, 48, 62, 87 and 99.

11:39:15 20                  THE COURT:   Okay.     So they will be considered in

11:39:16 21      evidence.

11:39:16 22                  (Plaintiff's Exhibit 110, 111, 48, 62, 87 and 99 in

11:39:16 23      evidence)

11:39:19 24                  MR. RIOPELLE:   Would you like us to call our next

11:39:22 25      witness or did you want to take a break?


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11:39:24   1                  THE COURT:     You know, I thought we'd go until noon then

11:39:28   2     break for lunch since we're at 20 minutes of.            So call a

11:39:30   3     witness.     We'll take a break.

11:39:33   4                  MR. RIOPELLE:     Plaintiffs would call Brent Kohman.

11:39:37   5                  THE COURT:     Very well.

11:40:18   6                  Yes, sir.     If you could remain standing here and raise

11:40:26   7     your right hand when you reach the chair.

11:40:26   8                  BRENT KOHMAN, PLAINTIFF WITNESS, SWORN.

11:40:28   9                  THE COURT:     Please be seated.   Get as close to the

11:40:31 10      microphone as you can, speak loudly, tell us your name and spell

11:40:38 11      it.     You may take your mask off while you're behind the

11:40:39 12      plexiglass.

11:40:44 13                   THE WITNESS:     My name is Brent Kohman.     K-O-H-M-A-N.

11:40:46 14      First name B-R-E-N-T.

11:40:50 15                   THE COURT:     Okay.   You may proceed.

11:40:50 16                   MS. DeFORD:     Thank you, Your Honor.

11:40:50 17                                    DIRECT EXAMINATION

11:40:50 18            BY MS. DeFORD:

11:40:53 19      Q.    Mr. Kohman, I understand before we start that you have a

11:40:56 20      medical condition that you just wanted to briefly share with the

11:40:58 21      jury.     Could you do that now please?

11:41:02 22      A.    Yes.    I was born with what they call a familial tremor.           So

11:41:06 23      if you see my head shaking a little bit, it's something that I

11:41:09 24      was born with, I'm not disagreeing with anyone.

11:41:09 25      Q.    Thank you, Mr. Kohman.


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11:41:13   1               Could you tell the jury where you currently work?

11:41:15   2     A.   I work for Motorola Solutions.

11:41:18   3     Q.   And what's your current title?

11:41:20   4     A.   I'm senior manager of business operations.

11:41:24   5     Q.   At a high level, what are your job responsibilities?

11:41:31   6     A.   I help our Motorola sellers sell the Kodiak mission-critical

11:41:33   7     push-to-talk software.

11:41:36   8     Q.   I want to break that down a little bit.       I want to start

11:41:38   9     first what push-to-talk is.      Could you remind the jury what

11:41:39 10      push-to-talk is?

11:41:44 11      A.   Push-to-talk is a walkie-talkie feature, it's for group

11:41:48 12      communication generally used by public safety.        When you push

11:41:52 13      the button on the phone and you speak, everybody in your group

11:41:56 14      hears.   Hears you instantly.     You don't have to wait for ringing

11:41:59 15      or anything like that.     It's for critical communication.

11:42:02 16      Q.   And so you said mission critical before, and you just said

11:42:06 17      critical again.    What's the mission critical component of the

11:42:08 18      Kodiak software?

11:42:13 19      A.   The Kodiak software is designed to be integrated into a

11:42:18 20      carrier's network to provide the users of the software priority

11:42:21 21      service over other applications on the phone.

11:42:25 22      Q.   And so what is priority service, could you explain that a

11:42:26 23      little bit to the jury?

11:42:30 24      A.   Well, priority service is -- we all know you can get into

11:42:35 25      areas like stadiums or events where the networks are congested.


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11:42:39   1     Priority services are designed to give mission critical users

11:42:44   2     first basically use of that network.       So when I push the button

11:42:48   3     and if I have priority service, my call is going to go through

11:42:51   4     when other people's may not.

11:42:55   5     Q.   And how did you end up working for Motorola, Mr. Kohman?

11:43:00   6     A.   Motorola purchased a company that I worked for called Kodiak

11:43:01   7     Networks.

11:43:03   8     Q.   And where did you work prior to Kodiak?

11:43:05   9     A.   I worked for Sprint Nextel.

11:43:07 10      Q.   What was your role when you were at Sprint?

11:43:10 11      A.   I was the manager of business base retention.

11:43:13 12      Q.   Did your position at Sprint involve push-to-talk as well?

11:43:15 13      A.   Yes, it did.

11:43:17 14      Q.   So over the course of your career, about how many years

11:43:20 15      would you say you've worked in the push-to-talk industry with

11:43:23 16      push-to-talk devices and services?

11:43:26 17      A.   I've worked in the telecommunication industry in

11:43:30 18      push-to-talk 30 years, but managing teams for push-to-talk

11:43:32 19      probably 17 years.

11:43:37 20      Q.   In about your 17 year experience and 30 years overall in

11:43:41 21      this industry, are there any brands or brand that are

11:43:43 22      particularly known for push-to-talk services?

11:43:47 23      A.   Nextel is known as the gold standard of push-to-talk for

11:43:55 24      cellular operators.     And then Motorola is also a brand as well

11:43:55 25      as Kodiak.


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11:44:00   1     Q.     And in your current role with Motorola, do you ever interact

11:44:02   2     with customers who are interested in buying push-to-talk?

11:44:04   3     A.     Every day.

11:44:08   4     Q.     Okay.   Do those customers ever bring up the Nextel name with

11:44:08   5     you?

11:44:09   6     A.     They do.

11:44:13   7     Q.     And when they do, what's your understanding of the company

11:44:17   8     that they understand offers the Nextel brand?

11:44:22   9     A.     Nextel is generally associated with Sprint Nextel.

11:44:25 10      Q.     So going back to your time when you were working at Sprint,

11:44:28 11      what kind of network did Sprint use?

11:44:32 12      A.     Sprint used the iDEN network.

11:44:36 13      Q.     So I understand there's a lot of technology that underlies

11:44:39 14      that, but could you just give the jury a very high-level

11:44:42 15      explanation of what the iDEN network was?

11:44:46 16      A.     The iDEN network was a narrow band network that was really

11:44:50 17      designed for push-to-talk fleets, and it evolved to become a

11:44:53 18      nationwide cellular network.

11:44:55 19      Q.     And when did you actually leave Sprint?

11:44:59 20      A.     I left Sprint in 2014.

11:45:03 21      Q.     When you left, was Sprint still using the iDEN network?

11:45:04 22      A.     No, they were not.

11:45:04 23      Q.     Why not?

11:45:07 24      A.     We had shut the network down.

11:45:11 25      Q.     And why did Sprint shut that network down?


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11:45:16   1     A.   Most consumers in that day were starting to use data

11:45:20   2     networks, broadband networks for applications like e-mail and

11:45:25   3     web surfing, and the iDEN network was a narrow band network, it

11:45:26   4     wasn't designed to do that.

11:45:29   5     Q.   Did Sprint have another network that it had been using at

11:45:32   6     the same time as iDEN?

11:45:34   7     A.   Yes, it was the CDMA network.

11:45:38   8     Q.   So in your role as a business base retention manager at

11:45:42   9     Sprint, were you involved in migrating consumers from the iDEN

11:45:45 10      network over to the CDMA network?

11:45:50 11      A.   Yes, my team led the migration and retention of the Nextel

11:45:55 12      consumers from the iDEN network to the CDMA network.

11:45:57 13                THE COURT:     You're saying CDMA?

11:46:00 14                THE WITNESS:     Yes, CDMA.

11:46:00 15           BY MS. DeFORD:

11:46:03 16      Q.   When did Sprint start the processing of telling customers

11:46:05 17      that's the iDEN network was going to be shut down?

11:46:08 18      A.   It would have been a couple years, at least a couple years

11:46:12 19      prior to the shutdown.     The reason being most customers have a

11:46:16 20      two-year contract at that time with their phone, and we wanted

11:46:20 21      to at least announce that the network was going to be shut down

11:46:26 22      so that we could give the customers useful value of their phone

11:46:31 23      for at least two years after our announcement so that we could

11:46:35 24      migrate them over to the CDMA network.

11:46:38 25      Q.   As a manager of business retention, were you involved in


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11:46:41   1     actually preparing and sending the communications to those

11:46:42   2     customers about that shutdown?

11:46:44   3     A.   Yes, I was.

11:46:48   4     Q.   Did any of those communications use the Nextel brand to help

11:46:50   5     entice customers to stay with Sprint?

11:46:54   6     A.   Yes, it did.    They did.

11:47:00   7     Q.   When Sprint turned off the iDEN network, Mr. Kohman, did it

11:47:02   8     stop using Nextel?

11:47:03   9     A.   No, they did not.

11:47:04 10      Q.   Why not?

11:47:09 11      A.   The Nextel name is a brand, it's not a network.        We shut

11:47:13 12      down the iDEN network, but we were going to continue to use

11:47:13 13      Nextel.

11:47:17 14      Q.   And why did Sprint want to keep using Nextel after the iDEN

11:47:18 15      network shut down?

11:47:21 16      A.   Because customers, again, related Nextel to push-to-talk,

11:47:27 17      and it was the gold standard in push-to-talk.        It had value.

11:47:30 18      Q.   At the time the iDEN network was shut down, was there a

11:47:34 19      particular type of customer that Nextel really resonated with?

11:47:38 20      A.   Definitely business and public safety.       Mostly public

11:47:40 21      safety, police and firefighters.

11:47:43 22      Q.   What about the average retail consumer?

11:47:46 23      A.   No, not really.     They weren't -- again they were

11:47:50 24      transitioning to Facebook apps, Twitter and text messaging, and

11:47:53 25      they weren't really interesting in push-to-talk.


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11:47:55   1     Q.   And were you personally involved in any discussions at

11:48:01   2     Sprint about what it would do with the Nextel brand after the

11:48:01   3     iDEN network shut down?

11:48:03   4     A.   Yes, I was.

11:48:04   5     Q.   What decisions were reached?

11:48:10   6     A.   We recommended that the name and decided that the name was

11:48:15   7     going to be used and assigned to specially push-to-talk devices,

11:48:20   8     specifically an intrinsically safe device.

11:48:23   9     Q.   What does an intrinsically safe device mean?

11:48:26 10      A.   A device that would not emit a spark when you're working

11:48:31 11      near gas.    Because you know if you're a firefighter, you're

11:48:36 12      going into a filling station and there's gas, you don't want to

11:48:39 13      use PTT and emit a spark and create a fire.

11:48:44 14      Q.   Why would Sprint want to use Nextel specifically with an

11:48:45 15      intrinsically safe device?

11:48:49 16      A.   These were generally the most rugged, they met the highest

11:48:52 17      standards and they're the most expensive.        So our customers --

11:48:57 18      we wanted to assign the gold standard brand to the gold standard

11:48:57 19      device.

11:49:01 20      Q.   Did the meetings you were involved in about how Sprint would

11:49:05 21      use Nextel after iDEN was shut down list any other ways or

11:49:08 22      discuss any other ways that Sprint would use the brand?

11:49:11 23      A.   Yes, we were going to continue to use the brand at trade

11:49:15 24      events that were specific to the market that was buying

11:49:20 25      push-to-talk which is public safety and fire.        We're also going


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11:49:24   1     to use the brand in business direct presentations.

11:49:27   2     Q.   At any point in the planning meetings was there any

11:49:31   3     discussion or consideration by Sprint of stopping use of Nextel

11:49:31   4     altogether?

11:49:34   5     A.   No, there was not.

11:49:34   6     Q.   Why not?

11:49:38   7     A.   The brand had value and they were still using it.

11:49:41   8     Q.   And Mr. Kohman, since you've left Sprint, have you

11:49:44   9     personally seen Sprint use the Nextel brand?

11:49:48 10      A.   Yes, I have seen Sprint use the Nextel brand at trade events

11:49:52 11      and I've also seen them use the Nextel brand at presentations

11:49:55 12      with me.

11:49:59 13      Q.   While you were at Sprint, Mr. Kohman, did Sprint ever

11:50:03 14      receive any offers from anybody to buy the Nextel brand?

11:50:07 15      A.   Yes.    They received two offers.    One was from Morgan O'Brien

11:50:11 16      and the other one was from Nextel International.

11:50:13 17      Q.   Who is Mr. O'Brien?

11:50:17 18      A.   I believe he was a founder of Nextel, one of the original

11:50:21 19      people with the Nextel company.

11:50:22 20      Q.   And what is Nextel International?

11:50:28 21      A.   Nextel International is a South American cellular company

11:50:34 22      that operated networks in Colombia and Mexico, and they also

11:50:41 23      bought their iDEN equipment from Motorola, used iDEN devices and

11:50:45 24      used the Nextel name with Sprint's permission.

11:50:49 25      Q.   Do you recall around what year Mr. O'Brien and Nextel


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11:50:51   1     International made those offers?

11:50:56   2     A.   It would have been somewhere around 2012.

11:50:58   3     Q.   Was that at the time that Sprint was considering shutting

11:51:01   4     down the iDEN network?

11:51:02   5     A.   Yes.

11:51:07   6     Q.   And do you know how much either Mr. O'Brien or Nextel

11:51:10   7     International offered Sprint to buy the Nextel brand?

11:51:13   8     A.   I don't remember the specifics in amount, but it was in the

11:51:15   9     millions of dollars.

11:51:17 10      Q.   And do you know what Sprint did in response to those offers?

11:51:19 11      A.   They declined both of them.

11:51:20 12      Q.   Why?

11:51:24 13      A.   Because they were still using the brand and it had value.

11:51:30 14      Q.   Shifting gears a little bit, Mr. Kohman, how did you first

11:51:32 15      learn about the Defendants in this case?

11:51:38 16      A.   I learned about the Defendants at IWCE, which is a trade

11:51:41 17      event in 2017.

11:51:44 18      Q.   Okay.    Could you actually tell the jury a little more about

11:51:48 19      what IWCE is, what types of customers or vendors typically

11:51:50 20      attend that trade show?

11:51:54 21      A.   It's, you know, firefighters, business critical, police

11:52:00 22      officers, radio managers attend IWCE, and they're all the same

11:52:03 23      market that buys push-to-talk devices.

11:52:07 24      Q.   And who were you working for in 2017 when you were at that

11:52:07 25      trade show?


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11:52:10   1     A.     I was working for Kodiak Networks.

11:52:14   2     Q.     How did you come across the Defendants then?

11:52:20   3     A.     A few employees and coworkers came up to me and told me

11:52:23   4     about their booth at the event.

11:52:27   5     Q.     If you were working for Kodiak at that point, what's your

11:52:30   6     understanding about why your coworkers and these other

11:52:34   7     individuals would come up to you to talk about the Defendants

11:52:35   8     Nextel-branded booth?

11:52:39   9     A.     Well, they were confused.   Because, you know, Sprint was

11:52:43 10      there, they were using the Nextel brand and there was obviously

11:52:46 11      another company there, I believe that was using the Nextel brand

11:52:50 12      and you know, they didn't know if they were part of Sprint or

11:52:50 13      not.

11:52:53 14      Q.     And about how many people approached you to talk about that?

11:52:55 15      A.     Probably about three or four.

11:52:58 16      Q.     You mentioned that Sprint had a booth at IWCE in 2017?

11:52:59 17      A.     Yes.

11:53:02 18      Q.     And you mentioned that they were using the Nextel mark.       Do

11:53:05 19      you recall how they were using the Nextel mark?

11:53:12 20      A.     I believe it was on a screen at their -- in their booth.

11:53:14 21      Q.     Did you ever go look at the Defendants' booth?

11:53:15 22      A.     I did.

11:53:17 23      Q.     What did you see?

11:53:25 24      A.     I saw Nextel signage that was using the same color and font

11:53:32 25      of Nextel, that Nextel used prior and after the merger, and the


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11:53:39   1     merger with Sprint.     And also I saw that they were using an iDEN

11:53:42   2     naming convention on their devices.

11:53:45   3     Q.   So I want to ask you a little bit more about each of those.

11:53:48   4     Let's talk about the colors first.       What about the colors drew

11:53:51   5     your attention, what about the colors the Defendants were using

11:53:53   6     drew your attention.

11:53:58   7     A.   Well, they were using yellow and black.       And in the

11:54:02   8     telecommunications industry, each of the carriers are basically

11:54:06   9     known by colors.    You know, T-Mobile is magenta now and AT&T is

11:54:12 10      blue, Verizon is red.     And at that time, you know, Sprint Nextel

11:54:14 11      is yellow.

11:54:19 12      Q.   And you also mentioned how they were naming the models of

11:54:22 13      their phones.    Could you explain a little more about what about

11:54:25 14      -- how the Defendants were naming the models of their phones

11:54:26 15      drew your attention?

11:54:31 16      A.   Yes.    It looked -- it was exactly like the, what I call --

11:54:35 17      it's called the iDEN naming convention.       Motorola manufactured

11:54:39 18      the iDEN devices.     Motorola branded the devices Motorola, and

11:54:45 19      they named them with the lower case "I" and three numbers like

11:54:52 20      i870, i580, i670.     They were all branded that way, it seemed to

11:54:56 21      me that they wanted people to think these were Motorola devices.

11:54:59 22      Q.   And when you say they wanted people to think they were

11:55:03 23      Motorola devices, who are you referring to?

11:55:07 24      A.   The Defendant.    Or -- yeah.

11:55:11 25      Q.   Before Sprint shut down the iDEN network, did it sell


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11:55:15   1     Motorola-branded devices using the Nextel brand that had that

11:55:16   2     "I" naming convention?

11:55:19   3     A.   Excuse me.   Did you say before?

11:55:23   4     Q.   Before the iDEN network was shut down, did Sprint sell

11:55:28   5     Nextel-branded devices made by Motorola that used that "I"

11:55:30   6     naming convention that you just talked about?

11:55:30   7     A.   Yes, they did.

11:55:36   8     Q.   And forgive me if you said it Mr. Kohman, but what does that

11:55:37   9     "I" refer to?

11:55:40 10      A.   The lower case "I" refers to iDEN.

11:55:42 11      Q.   Is that something in your experience that's commonly known

11:55:44 12      to people who buy these products in the industry?

11:55:46 13      A.   Yes, to the people that buy these products, absolutely it's

11:55:48 14      commonly known.

11:55:51 15      Q.   And do the Defendants' services operate over the iDEN

11:55:51 16      network?

11:55:55 17      A.   No, they do not.

11:55:59 18      Q.   Did you look specifically at their devices, could you tell

11:56:01 19      whether they were Motorola made?

11:56:05 20      A.   They were not Motorola made.     I couldn't tell who made the

11:56:07 21      devices, but they were not made by Motorola.

11:56:11 22      Q.   What about them prevented you from being able to tell who

11:56:12 23      made them?

11:56:15 24      A.   There was no manufacturer name on the device.

11:56:18 25      Q.   Is that common in this industry to have devices that don't


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11:56:21   1     have a manufacturer name on them?

11:56:24   2     A.   Not at all.    Generally the manufacturers, when they sell a

11:56:27   3     device, they want customers to be attached to their device and

11:56:31   4     buy another device if they like it the first time, and there was

11:56:34   5     no name on this these devices.

11:56:43   6     Q.   So we talked a little bit when you were at Sprint how

11:56:47   7     Sprint's push-to-talk services were offered over iDEN.         Do you

11:56:51   8     know how Sprint offers its push-to-talk services today?          What

11:56:52   9     platform it uses?

11:56:54 10      A.   The platform they use is the Kodiak platform.

11:56:58 11      Q.   And you touched upon this briefly, but could you remind the

11:57:00 12      jury specifically about what benefits Sprint's customers get

11:57:02 13      because of the Kodiak platform?

11:57:08 14      A.   The Kodiak software's mission critical push-to-talk software

11:57:12 15      designed to be integrated into the carriers network.

11:57:15 16      Q.   And that mission-critical software provides what ability to

11:57:19 17      Sprint or to those customers when they're making push-to-talk

11:57:19 18      calls?

11:57:25 19      A.   Again, it provides priority service so that in times where

11:57:30 20      there's a disaster or congestion, the police or firefighters

11:57:32 21      calls are going to go through.

11:57:35 22      Q.   Could you get the same benefit if you just bought a set of

11:57:39 23      SIM cards that operated on one of the carrier's works?

11:57:45 24      A.   No.   The software has to be integrated into the network so

11:57:50 25      if you just bought SIM cards and -- the service would operate


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11:57:58   1     over the top, and if somebody was utilizing a data application

11:58:03   2     and the network was congested, the service wouldn't work.

11:58:09   3                MS. DeFORD:     Thank you, Mr. Kohman.     I appreciate your

11:58:10   4     time.    Thank you, Your Honor.

11:58:11   5                THE COURT:    Cross.

11:58:13   6                MR. SCHWARTZ:     Your Honor, if I might ask that we take

11:58:17   7     our break now?    I have -- I definitely have to go to the

11:58:22   8     restroom and if this would be a good time for lunch.

11:58:23   9                THE COURT:    Might as well.   Ladies and gentlemen, we're

11:58:27 10      going to break for lunch now.       As I told you yesterday -- not

11:58:31 11      yet.    As I told you yesterday, the 7th floor does have a

11:58:36 12      cafeteria.    It's edible.     On the other hand, one block that way

11:58:40 13      is Miami-Dade College downtown.       Where there's kids, there's

11:58:45 14      food.    Always around there there's places.        Go down on Flagler

11:58:49 15      there's every ethnic restaurant you ever thought of.          If you go

11:58:53 16      a block that way and a block north, there's a Publix that has a

11:58:56 17      very nice food area.       You have to pick it up and take it out,

11:58:59 18      but it's still -- there's no place to eat in there, is there?

11:59:06 19      No, but they have sandwiches and you can buy probably a whole

11:59:09 20      cow if you wanted to.       Anyway, what's the name of the coffee

11:59:12 21      place across the street?       There's a Starbucks across the street

11:59:16 22      and a Chick-Fil-A in the train station building.          And I promise

11:59:20 23      you that Brightline will not run you over if you're in their

11:59:24 24      train station because it ends right there.          So there's been no

11:59:30 25      accidents from the Brightline in the station.          Go and come back


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11:59:33   1     at let's say 1:15.

11:59:36   2               Again, I remind you you're not to discuss the case with

11:59:38   3     anyone or permit anyone to discuss the case with you.         You can

11:59:41   4     come back a little bit early and hang around in the jury room or

11:59:45   5     down the hallway, either way.        But please, don't read or listen

11:59:48   6     to anything about the case, don't do any research, don't have

11:59:52   7     any contact with the attorneys, parties or witnesses.         Don't

11:59:55   8     form any opinion about this case until all the evidence is in.

11:59:59   9     You're required to keep an open mind until you start your

12:00:01 10      deliberations at the end of the case.

12:00:03 11                Thank you, and we'll see you at 1:15.

12:00:05 12                COURT SECURITY OFFICER:       All rise for the jury.

12:00:08 13                (Jury out at 12 p.m.)

12:00:11 14                THE COURT:    Remember to leave your notes in the jury

12:00:15 15      room or in here, doesn't matter which.

12:00:28 16                All right.    We'll be in recess until 1:15.

12:00:30 17                Mr. Witness, while you're on the stand, you're not

12:00:32 18      permitted to discuss your testimony with anyone, even the

12:00:37 19      lawyers that called you.     We'll be in recess until 1:15.

12:00:37 20                MR. RIOPELLE:     Thank you, Your Honor.

12:00:39 21                THE COURT:    Please have him back on the stand and ready

12:00:42 22      to go at 1:15.

12:00:42 23                MS. DeFORD:     Thank you, Your Honor.

12:00:44 24                THE COURT:    Thank you.

12:00:44 25                (Lunch recess)


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1:17:13   1                 COURT SECURITY OFFICER:   All rise for the jury.

1:17:17   2                 (Jury in at 1:17 p.m.).

1:20:00   3                 (Court called to order)

1:20:03   4                 THE COURT:   You may proceed.

1:20:03   5                                CROSS-EXAMINATION

1:20:03   6          BY MR. KERNELL:

1:20:31   7     Q.   Good afternoon, Mr. Kohman.      My name is Jim Kernell, I

1:20:33   8     represent the Defendants in this case.

1:20:43   9                 Now, listening to your testimony earlier this morning

1:20:50 10      or just right before lunch, you identified the Kodiak software,

1:20:51 11      correct?

1:20:51 12      A.   Yes, I did.

1:20:56 13      Q.   And the Kodiak software is mission-critical software?

1:20:56 14      A.   Yes, it is.

1:21:04 15      Q.   And what are the target industries for this mission-critical

1:21:06 16      software?

1:21:13 17      A.   Public safety, firefighters, and there are commercial uses

1:21:14 18      as well.

1:21:20 19      Q.   So with the commercial uses, is it necessary to have the

1:21:25 20      mission-critical software in the device?

1:21:28 21      A.   No.

1:21:31 22      Q.   So I'm sorry, you said public safety?

1:21:33 23      A.   Firefighters.

1:21:35 24      Q.   Firefighters?

1:21:37 25      A.   Uh-huh.


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1:21:44   1     Q.   Would a device with the Kodiak software, and that's a

1:21:54   2     Motorola product, would a device need the Kodiak software if

1:21:58   3     it's just for the hospital industry?

1:22:00   4     A.   No, not necessarily.

1:22:06   5     Q.   If it's just for, say, transportation where we've got truck

1:22:09   6     drivers you're trying to keep track of where your truck drivers

1:22:11   7     are, would you need it for that type of application?

1:22:14   8     A.   Not necessarily, no.

1:22:20   9     Q.   What about for like security at a concert.       Would you need

1:22:22 10      mission-critical software in that?

1:22:26 11      A.   You may want it because at a concert, network congestion is

1:22:31 12      there, so you would probably want the Kodiak software for the

1:22:32 13      priority services.

1:22:41 14      Q.   Okay.     So if -- now you were at Sprint.    Now, did you start

1:22:44 15      with Sprint in 2005 or were you with Nextel at the time?

1:22:48 16      A.   No, I started in Sprint in, I believe, '96.

1:22:49 17      Q.   In '96?

1:22:50 18      A.   Uh-huh.

1:22:56 19      Q.   And so you were with Sprint from '96 to 2014; is that

1:22:56 20      correct?

1:22:57 21      A.   Yes.

1:23:03 22      Q.   And so you were there when Nextel was merged into Sprint.

1:23:05 23      A.   Yes, I was.

1:23:16 24      Q.   So up until the time you left Sprint in 2014, were the

1:23:20 25      phones using Kodiak software?


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1:23:21   1     A.   They were not.

1:23:25   2     Q.   So the phones, all the phones on the iDEN network were not

1:23:30   3     using this the Kodiak software.

1:23:36   4     A.   No.   The phones at that time were using iDEN and then

1:23:41   5     transitioned to CDMA on a QChat software.

1:23:47   6     Q.   And are those other mission-critical software platforms?

1:23:52   7     A.   QChat is, it no longer exists.

1:23:59   8     Q.   Was there a mission-critical software platform on the Nextel

1:24:00   9     network?

1:24:06 10      A.   The Nextel network was -- as I said, it was designed to be a

1:24:11 11      push-to-talk network, and it kind of, in its essence, was a

1:24:14 12      push-to-talk network that tried to be a cellular network at the

1:24:18 13      same time.    So it was really designed ground up to be

1:24:20 14      push-to-talk, the iDEN.

1:24:23 15      Q.   It was designed to be push-to-talk but not necessarily the

1:24:29 16      mission-critical software as the Kodiak software is today,

1:24:30 17      correct?

1:24:36 18      A.   I would say that it was pretty much mission critical, iDEN

1:24:38 19      was pretty much mission critical.

1:24:41 20      Q.   That was the 2G network, wasn't it?

1:24:42 21      A.   Right.   Right.

1:24:45 22      Q.   And it didn't work when you put more data on the network?

1:24:48 23      A.   That's right.     The reason it could be, it was very

1:24:54 24      voice-centric, push-to-talk-centric, but it wasn't data-centric.

1:25:03 25      Q.   So you said you in your 17-year experience, I think you said


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1:25:11   1     that, and I believe that was from the time you worked at Sprint?

1:25:11   2     A.   Yeah.

1:25:15   3     Q.   You said that Nextel was known as the gold standard of

1:25:17   4     push-to-talk at that time.

1:25:19   5     A.   That's correct.

1:25:27   6     Q.   And but it was known as the gold standard at that time.

1:25:31   7     A.   I think it's still recognized as the gold standard today.

1:25:43   8     Q.   So can I go and buy a Nextel push-to-talk device today?

1:25:48   9     A.   You can buy devices, as I said, like the specialty devices.

1:25:52 10      I believe that Sprint sells that are branded Nextel devices.

1:25:54 11      Q.   And what are those devices?

1:25:59 12      A.   They're generally either intrinsically safe, at least they

1:26:03 13      were when I was there, intrinsically safe.        I'm not as familiar

1:26:06 14      on their portfolio today because I haven't been there since

1:26:06 15      2014.

1:26:11 16      Q.   So you don't know if they actually sell any devices today,

1:26:17 17      Sprint or now it's T-Mobile, that has Nextel on that twice.

1:26:23 18      A.   I have seen devices that have packaging and that has Nextel

1:26:24 19      on it, on their devices.

1:26:29 20      Q.   On the device itself?

1:26:32 21      A.   On the packaging.    Nextel on the packaging.

1:26:34 22      Q.   Are you talking about Nextel on a label?

1:26:35 23      A.   Yes.

1:26:39 24      Q.   And that's a label that's just printed and applied to a box.

1:26:41 25      A.   Yes.


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1:26:52   1     Q.   Now, you also said that Nextel was generally associated as

1:26:58   2     Sprint Nextel.    Do you recall that testimony?

1:26:59   3     A.   Yes.

1:27:07   4     Q.   And you were at -- you were working at Sprint Nextel?

1:27:07   5     A.   Yes.

1:27:11   6     Q.   At the time when Sprint dropped Nextel from its name,

1:27:14   7     correct?

1:27:20   8     A.   I don't -- I think it had -- I don't recall when they

1:27:23   9     dropped from the company name, the Nextel.        I believe -- I don't

1:27:26 10      remember what that date was.

1:27:30 11      Q.   So if I could show you that Sprint dropped the name Nextel

1:27:38 12      from its corporate name on December 31, 2012, would that help

1:27:41 13      refresh your memory?

1:27:43 14      A.   Sounds about right.

1:27:55 15      Q.   You spoke about the iDEN network and said it was designed

1:27:57 16      for push-to-talk.

1:28:00 17      A.   Uh-huh.

1:28:05 18      Q.   Right?    But then later when smartphones started coming in,

1:28:11 19      that there wasn't -- there was the customers that are coming in

1:28:16 20      that are using smartphones and not the push-to-talk anymore,

1:28:16 21      correct?

1:28:18 22      A.   That's correct.

1:28:23 23      Q.   And so most of the customers were using the smartphones,

1:28:26 24      correct?

1:28:33 25      A.   Your consumer customers use smartphones, most do today.


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1:28:37   1     Q.   So consumer customers are retail customers?

1:28:38   2     A.   Yes.

1:28:43   3     Q.   And the vast majority of the consuming public use just the

1:28:46   4     retail smartphones.     Correct?

1:28:48   5     A.   I would say that's correct.

1:28:56   6     Q.   And that the push-to-talk segment of the cellphone industry

1:29:01   7     is a very, very, very narrow band; is that correct?

1:29:05   8     A.   Yes, it's a smaller part of the market geared towards

1:29:07   9     business generally.

1:29:14 10      Q.   And it's specifically geared to firefighters, to those who

1:29:19 11      need immediate access with a walkie-talkie type device, correct?

1:29:20 12      A.   Yes.

1:29:26 13      Q.   But you can also download push-to-talk apps for a

1:29:26 14      smartphone, correct?

1:29:30 15      A.   Yes, you can download the Kodiak apps, that's correct.

1:29:35 16      Q.   And you can download third-party apps that don't use Kodiak,

1:29:35 17      correct?

1:29:36 18      A.   Yes, you can.

1:29:39 19      Q.   And what are some of the other software platforms that

1:29:45 20      implement mission-critical software for cellphones?

1:29:52 21      A.   I would say true mission critical would be Samsung, Ericsson

1:29:59 22      and Kodiak.

1:30:04 23      Q.   Let me ask you this, does Motorola sell the Kodiak software

1:30:09 24      to other carriers other than T-Mobile?

1:30:10 25      A.   Yes.


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1:30:15   1     Q.   And what other carriers is Kodiak software available for?

1:30:27   2     A.   In the US, AT&T, Verizon.     In Canada, Bell Mobility and many

1:30:31   3     other providers across the world.

1:30:40   4     Q.   Do you have to -- so for T-Mobile or Sprint, and the

1:30:50   5     push-to-talk applications or devices, do you have to be a Sprint

1:30:55   6     subscriber to use the Kodiak software through a push-to-talk

1:30:55   7     device?

1:31:02   8     A.   Would you repeat that question?      Could you repeat that

1:31:02   9     question?

1:31:09 10      Q.   Sure.    To use the mission-critical software that Sprint has

1:31:18 11      licensed, I assume, from Motorola, the Kodiak, do you have to be

1:31:22 12      a Sprint subscriber with a phone in order to use that service

1:31:25 13      through Sprint?

1:31:30 14      A.   You can use -- yes, to use Sprint's service through Sprint,

1:31:36 15      you have to be a Sprint subscriber.       Some of the applications

1:31:42 16      like Wave, the Kodiak Wave that Motorola sells directly to its

1:31:46 17      customers is over-the-top or cross carrier.

1:31:48 18      Q.   And that can be used on a Sprint device?

1:31:52 19      A.   That can be used on a Sprint device, yes.

1:31:54 20      Q.   And that could be used on an AT&T device?

1:31:55 21      A.   Yes.

1:31:58 22      Q.   And it can be used on a Verizon device?

1:32:01 23      A.   Yes.

1:32:10 24      Q.   So you have a lot of experience in knowing what the customer

1:32:15 25      make-up was at Sprint at the time, and I realize this is eight


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1:32:19   1     years ago when you worked there, but your focus was on

1:32:20   2     push-to-talk, correct?

1:32:22   3     A.   Yes, when I was there.

1:32:25   4     Q.   And so, I mean, everything around your world is

1:32:28   5     push-to-talk.    You're not worrying about customers out here that

1:32:34   6     are using just a regular cellphone plans, is that accurate?

1:32:41   7     A.   When I was manager of business base retention, we also sold

1:32:44   8     smartphones to the business base, so I was responsible for

1:32:52   9     retention of business, Android and iOS subscribers as well that

1:32:53 10      did not have push-to-talk.

1:32:57 11      Q.   But you weren't in charge of just the general consuming

1:32:58 12      public?

1:33:02 13      A.   No.

1:33:09 14      Q.   And then you also talked about devices that are

1:33:17 15      intrinsically safe devices.           And I believe in this case you

1:33:19 16      submitted a declaration, correct?

1:33:20 17      A.   Uh-huh.    Yes, sir.

1:33:23 18      Q.   Do you remember that?       And in your declaration, you

1:33:32 19      identified a mission-critical software or -- I'm sorry, an

1:33:34 20      intrinsically safe device.        Do you recall that?

1:33:35 21      A.   Yes.

1:33:40 22      Q.   And that was a Sonim XP Strike IS; is that correct?

1:33:44 23      A.   That's correct.

1:33:46 24                  MR. KERNELL:     Your Honor, may I approach the witness?

1:33:48 25                  THE COURT:     You may.


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1:34:08   1                 MR. KERNELL:     I have two devices I want to give.

1:34:09   2                 MS. DeFORD:     Your Honor, I object to one exhibit as

1:34:13   3     coming in as an exhibit.           I've told counsel I have no issue with

1:34:17   4     it being a demonstrative.           I'm not sure if it was on their

1:34:20   5     exhibit list, he hasn't given me an exhibit number.           The other

1:34:20   6     one we have no objection to.

1:34:23   7                 So Plaintiffs Exhibit 10 we have no objection to.         This

1:34:26   8     other box I don't have an issue with it being an demonstrative,

1:34:29   9     but I'm not sure if it was on their exhibit list.

1:35:15 10                  THE COURT:     Okay.     What are we doing?

1:35:15 11           BY MR. KERNELL:

1:35:29 12      Q.   So Mr. Kohman, the box that's got a sticker on it it says

1:35:33 13      108 on the box, do you see that?

1:35:36 14      A.   Yes, I do.

1:35:39 15      Q.   Do you recognize that device?

1:35:46 16      A.   Yes.    I mean, I see it.        Yes.

1:35:51 17      Q.   Well, is that a device that Sprint sold when you were at --

1:35:54 18      A.   It looks very similar to the device that Sprint sold.

1:35:56 19      That's a long time ago but yes, it does.

1:36:00 20      Q.   And it has on that Sprint Direct Connect on the box.

1:36:01 21      Correct?

1:36:03 22      A.   Yes, it does.

1:36:05 23      Q.   Is there any reason -- is that one of the devices that

1:36:10 24      Sprint was selling when you worked for Sprint?

1:36:12 25      A.   It very could be.


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1:36:14   1     Q.   You don't recall if that was one or not?

1:36:15   2     A.   I do not.

1:36:21   3     Q.   In your declaration where you said that the mission-critical

1:36:32   4     device which was a Sonim XP IS, correct?

1:36:32   5     A.   Yeah.

1:36:36   6     Q.   And that is marked as Plaintiff's Exhibit 10, did you have

1:36:39   7     one of those devices in front of you when you made that

1:36:43   8     declaration in your declaration?

1:36:49   9     A.   No, I recalled the Sonim XP from when we were -- before it

1:36:54 10      was actually launched and we were discussing how the Nextel

1:36:58 11      brand would be utilized, and that's the device that I was told

1:37:03 12      by the device product management team that would have that

1:37:04 13      naming.

1:37:13 14      Q.   But that's the Sonim XP or Strike XP IS, correct?

1:37:23 15      A.   Yes, this is the Sonim XP strike IS, the Exhibit 40.

1:37:26 16      Q.   Right.    And that's the one that you were referring to as

1:37:30 17      being launched; is that correct?

1:37:31 18      A.   Yes.

1:37:41 19      Q.   And the one that is just the Sonim XP or the Strike XP, is

1:37:45 20      that the predecessor to the XP IS?

1:37:50 21      A.   I believe the IS means it's intrinsically safe, so it can be

1:37:56 22      the same device.    One can be intrinsically safe and one cannot.

1:37:59 23      I believe the IS stands for intrinsically safe.

1:38:02 24      Q.   Now, let me ask you, so you're familiar with the

1:38:05 25      intrinsically safe device, correct?


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1:38:05   1     A.   Yes.

1:38:07   2     Q.   And does it have a SIM card?

1:38:14   3     A.   I don't know if it has a SIM, it has a SIM, it could be an

1:38:18   4     embedded SIM or -- there are different types of SIMs, so it has

1:38:22   5     some sort of SIM device in there to activate it.

1:38:29   6     Q.   Okay.     And so devices, you can have a device, an

1:38:36   7     intrinsically safe device that uses a AT&T SIM card, correct?

1:38:37   8     A.   Yes.

1:38:39   9     Q.   Or a T-Mobile SIM card?

1:38:41 10      A.   Yes, correct.

1:38:44 11      Q.   Or a Verizon SIM card.

1:38:44 12      A.   Yes.

1:38:48 13      Q.   And you can buy those SIM cards at Walmart, correct?

1:38:49 14      A.   You can.

1:38:56 15      Q.   And if I bought it at Walmart, an AT&T SIM card, or I bought

1:39:02 16      that AT&T SIM card from AT&T, those are the same SIM cards,

1:39:04 17      correct?

1:39:06 18                   THE COURT:     Same SIM cards as what?

1:39:07 19                   THE WITNESS:     Yes.

1:39:07 20           BY MR. KERNELL:

1:39:13 21      Q.   They're functionally the same card.         They are both AT&T SIM

1:39:17 22      cards whether it was purchased at a retail outlet like Walmart

1:39:23 23      or you bought it from an AT&T store, correct?

1:39:29 24      A.   That question depends.          I mean, a SIM card could be from

1:39:34 25      AT&T but not -- it's how the SIM card is provisioned that


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1:39:34   1     matters.

1:39:35   2     Q.   And what does that mean?

1:39:40   3     A.   The SIM card is provisioned with certain billing codes and

1:39:45   4     SoT codes that give it different capabilities.         So you can have

1:39:51   5     one SIM card that is just for messaging capability and another

1:39:55   6     SIM card that could be inserted that would have different

1:39:59   7     capabilities based on what the network assigns to that ID of

1:40:01   8     that SIM card.

1:40:05   9     Q.   Functionality-wise, do they operate the same way?          Does the

1:40:06 10      phone operate the same with either of the --

1:40:07 11      A.   No.

1:40:11 12      Q.   And how would I know as a consumer whether there's a

1:40:13 13      different function in that card?

1:40:19 14      A.   The best way is to buy -- the best way is to consult your

1:40:24 15      network provider and to talk to your -- buy from the carrier and

1:40:29 16      understand what capabilities are with the device.

1:40:41 17      Q.   So let me go back to the Sonim XP Strike IS.        Now, that is

1:40:45 18      one of the devices that you were referring to in your

1:40:49 19      declaration where you said this is how we are going to go

1:40:52 20      forward with Nextel?

1:40:54 21      A.   Yes.

1:40:58 22                  MR. KERNELL:     May I approach the ELMO up here?

1:41:22 23                  THE COURT:     Certainly.   Is this in evidence already?

1:41:24 24                  MR. KERNELL:     The box that it's from is in evidence,

1:41:25 25      this device is in evidence.


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1:41:26   1                  THE COURT:     This document that you're showing the jury

1:41:28   2     now in evidence?

1:41:31   3                  MR. KERNELL:     Well, this is a demonstrative pointing

1:41:33   4     out things on that box.

1:41:35   5                  THE COURT:     Okay.    That's a picture of the box?

1:41:36   6                  MR. KERNELL:     Yes.

1:41:38   7                  MS. DeFORD:     Your Honor, could I see it for a second?

1:41:39   8     I haven't seen it.

1:41:40   9                  THE COURT:     You should be able to see it.    Write on

1:41:45 10      your screen because everybody in the else in the world can.

1:41:49 11                   MS. DeFORD:     I'm fine looking at it on the screen.

1:41:51 12                   THE COURT:     I think you need to straighten that arm out

1:41:55 13      on the ELMO.     No, the arm itself.       The arm that comes up from

1:42:05 14      the bottom.     Make sure it's straight.       And then it zooms.

1:42:05 15           BY MR. KERNELL:

1:42:17 16      Q.   So Mr. Kohman, I just want to verify that this photograph is

1:42:22 17      the same as from that box?

1:42:23 18      A.   Uh-huh.

1:42:29 19      Q.   Okay.     So let me first -- so you testified that this was the

1:42:37 20      Sonim XP Strike IS, was the device going forward after the

1:42:41 21      cancellation or shutdown of the Nextel network, correct?

1:42:44 22      A.   It was yes one of the devices, yes.

1:42:50 23      Q.   So if we look at the front of this exhibit, the box, we have

1:42:55 24      a number of trademarks prominently shown on this box, wouldn't

1:42:57 25      you agree?


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1:42:58   1     A.   Yes.

1:43:07   2     Q.   We have Sprint, Sprint Direct Connect, Sprint, Sonim, the XP

1:43:12   3     Strike IS, Sonim, and Sonim.      Nowhere on the front of this box

1:43:14   4     is Nextel shown, is it?

1:43:16   5     A.   No, it's not.

1:43:25   6     Q.   Now, if you could turn over the box and look at the back,

1:43:38   7     again can you verify for the jury that this is indeed a picture

1:43:42   8     of the back that's been -- you know, with certain terms

1:43:42   9     identified?

1:43:45 10      A.   Yes.

1:43:52 11      Q.   So again, this is your first launch, Sprint's first launch

1:44:01 12      to pull customer forward from all customers whose devices

1:44:08 13      stopped working on June 30, 2013, all their iDEN devices shut

1:44:16 14      down, this was Sprint's effort to pull them over onto the CDMA

1:44:17 15      network, correct?

1:44:19 16      A.   This is one of them, yes.

1:44:22 17      Q.   And this is the one that you identified in your declaration.

1:44:23 18      A.   Yes.

1:44:29 19      Q.   So on -- this on the back of this box.       There's Sonim, Sonim

1:44:37 20      XP IS, there's the Sprint 3G network, Sprint network, Sprint

1:44:45 21      network, Sonim XP.    This Sprint device it's still identified as

1:44:50 22      a Sprint device, correct?

1:44:52 23      A.   Yes, it is.

1:44:56 24      Q.   There's Sprint, and in fact it says that this won't operate

1:45:00 25      on the iDEN or 4G networks?


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1:45:02   1     A.   That's correct.

1:45:05   2     Q.   And it's talking about Sprint services.

1:45:07   3     A.   Yes.

1:45:13   4     Q.   Down here it says it's 2013 which is in the time frame that

1:45:20   5     you described.     And it's -- again, it's Sprint, Sprint, Sprint

1:45:23   6     logo are trademarks of Sprint.      Do you see that?

1:45:25   7     A.   Yes, and I see Nextel.

1:45:32   8     Q.   Yes.    I'll get to that.   Then next it says Sonim and the

1:45:38   9     Sonim logo, XP Strike are trademarks of Sonim Technologies.          Do

1:45:38 10      you see that?

1:45:39 11      A.   Uh-huh.

1:45:44 12      Q.   Next it says the marks are the other -- or other marks are

1:45:54 13      the property of their respective owners.        Then the phrase Nextel

1:45:55 14      mobile phone.    Do you see that?

1:45:57 15      A.   I do.

1:46:02 16      Q.   That doesn't tie Nextel with Sprint in any way, does it?

1:46:08 17      A.   Not really, no.

1:46:21 18      Q.   Even on one of the sides of the box, again it identifies

1:46:22 19      Sprint, correct?

1:46:23 20      A.   Yes.

1:46:48 21      Q.   Now, I believe that, Mr. Kohman, you said that you learned

1:46:56 22      about Defendants through the 2017 IWCE trade show, correct?

1:46:57 23      A.   That's correct.

1:47:07 24      Q.   And that you were with Kodiak at the time.

1:47:07 25      A.   That's correct.


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1:47:12   1     Q.   And Kodiak had a booth there at the show, trade show?

1:47:12   2     A.   Yes.

1:47:19   3     Q.   And so Sprint also had a booth at the trade show, correct?

1:47:20   4     A.   Yes.

1:47:26   5     Q.   Do you know if Sprint was selling any Nextel-branded devices

1:47:28   6     at that trade show?

1:47:31   7     A.   I wasn't -- I don't recall.

1:47:34   8     Q.   Do you know if they were offering any Nextel cellular plans

1:47:38   9     at that trade show?

1:47:39 10      A.   I don't recall.

1:47:43 11      Q.   Do you know if they were offering any Nextel cellular

1:47:46 12      services at that trade show?

1:47:52 13      A.   I don't recall, but I don't know.       I do know they were using

1:47:54 14      Nextel branding though.

1:48:16 15      Q.   Now you said -- let me ask you this, it's a little

1:48:17 16      straighter than it was the other day.

1:48:19 17                  THE COURT:     Not much.

1:48:21 18                  MR. KERNELL:     And I don't know, can you see that?

1:48:21 19                  THE WITNESS:     Yes.

1:48:21 20           BY MR. KERNELL:

1:48:26 21      Q.   Now, is this one of the Nextel brands that you saw that

1:48:31 22      Sprint was using at the trade show?

1:48:36 23      A.   I don't know if that was the brand or if it was Together

1:48:40 24      with Nextel brand.       I don't recall.   That was years ago.

1:48:45 25      Q.   Do you know -- you said Together with Nextel brand.         Do you


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1:48:48   1     know if that was ever registered as a trademark?

1:48:49   2     A.   No, I do not.

1:48:58   3     Q.   And then you said -- or in your declaration you referred to

1:49:03   4     Nextel or the Nextel trademark.       Do you recall that?

1:49:04   5     A.   Yes.

1:49:06   6     Q.   What trademark were you referring to?

1:49:12   7     A.   I was using the word trademark as trademark slash brand, I

1:49:14   8     was using it kind of generically.

1:49:17   9     Q.   So you weren't referring to any particular trademark?

1:49:17 10      A.   No.

1:49:19 11      Q.   Do you recall this?

1:49:20 12      A.   I do recall that.

1:49:23 13      Q.   As a trademark of Sprint?

1:49:30 14      A.   I recall that as a trademark of Nextel, for sure prior to

1:49:36 15      merger, I don't know if that's trademarked by Sprint or not.

1:49:47 16      Q.   Would you be surprised to learn that the application for

1:49:53 17      this trademark was cancelled in 2014.

1:49:57 18                  MS. DeFORD:     Objection, Your Honor.   Foundation.   He's

1:49:59 19      testified he doesn't know.

1:50:01 20                  THE COURT:     Yeah, I don't know whether he's surprised

1:50:05 21      or not.     How relevant is that?    If you want to prove that,

1:50:07 22      you're going to have to prove it through somebody that knows

1:50:08 23      about it.

1:50:11 24                  MR. KERNELL:     Could we bring up Defendants' Exhibit

1:50:29 25      5053?


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1:50:31   1                 MS. DeFORD:     Your Honor, same objection to this.

1:50:31   2                 THE COURT:     Sustained.

1:50:37   3                 MS. DeFORD:     Thank you.

1:50:37   4          BY MR. KERNELL:

1:50:42   5     Q.   Mr. Kohman, do you recognize this Nextel trademark?

1:50:45   6                 THE COURT:     I thought I sustained the objection.

1:50:47   7                 MR. KERNELL:     I'm sorry?

1:50:49   8                 THE COURT:     I sustained the objection.

1:50:52   9                 MR. KERNELL:     May I bring in the foundation for this

1:50:52 10      trademark?

1:50:54 11                  THE COURT:     Well, you can ask him if he knows anything

1:50:55 12      about it.

1:50:56 13                  MR. KERNELL:     That's what I'm asking him, Your Honor.

1:50:58 14                  THE COURT:     Well, that's really not what you asked him.

1:51:02 15      You asked him -- all right.        Go ahead.   We'll try, we'll see.

1:51:02 16           BY MR. KERNELL:

1:51:07 17      Q.   So Mr. Kohman, do you see the trademark in the upper

1:51:11 18      left-hand corner of this screen?

1:51:14 19      A.   I see a Nextel brand.

1:51:20 20      Q.   Yes.    And was that brand used at Sprint when you were an

1:51:24 21      employee at Sprint up through 2014?

1:51:32 22      A.   I don't know if it was used externally or not.        I recall

1:51:36 23      seeing it around that time frame, but brands change and

1:51:40 24      treatments of brands change over time.

1:51:47 25      Q.   What's shown on the board here in your declaration, you


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1:51:54   1     identified that Defendants were using the same yellow and black

1:52:01   2     Nextel trademark that Sprint and Nextel had used.         Do you recall

1:52:02   3     that?

1:52:02   4     A.   Yes.

1:52:05   5     Q.   And is that the same trademark?

1:52:08   6     A.   It's very similar.     I don't know if it's exactly the same,

1:52:09   7     but it was similar.

1:52:14   8     Q.   It's the black and yellow Nextel trademark, a trademark?

1:52:15   9     A.   A trademark, uh-huh.

1:52:19 10      Q.   And is that the same black and yellow Nextel trademark

1:52:28 11      that's shown in Exhibit 5053?

1:52:32 12      A.   Is this 5053 on here?

1:52:34 13      Q.   On the screen, yes.

1:52:37 14      A.   It seems to be similar.     I can't tell.    It's grainy and

1:52:40 15      small.

1:53:00 16      Q.   Now, at the trade show you also testified that Motorola made

1:53:08 17      radios or that the radios that Defendants were selling were not

1:53:12 18      Motorola made radios; is that correct?

1:53:14 19      A.   That's correct.

1:53:21 20      Q.   Were other vendors offering nonMotorola radios at the trade

1:53:23 21      show?

1:53:31 22      A.   Motorola -- define radios.     Because there are LMR radios and

1:53:36 23      there are cellular devices, right.       So LMR, Motorola Solutions

1:53:40 24      that I work for make radios and they were at the trade show.

1:53:46 25      Motorola was.    And -- but these were cellular devices, they


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1:53:49   1    weren't land mobile radios.

1:53:55   2    Q.   So when you said that the radios that Defendants were

1:54:00   3    selling were not Motorola-made radios, did you mean cellular

1:54:02   4    radios?

1:54:08   5    A.   They were not Motorola iDEN devices and they were not

1:54:11   6    Motorola LMR radios.

1:54:14   7    Q.   And at this time this is in 2017, correct?

1:54:14   8    A.   That's correct.

1:54:19   9    Q.   And Nextel -- there was no Nextel iDEN?

1:54:21 10     A.   There was a Nextel, there was no iDEN.

1:54:25 11     Q.   There was no Nextel iDEN network at that time, correct?

1:54:30 12     A.   There was no iDEN network.     The Nextel is a brand, it's not

1:54:31 13     a network.

1:54:34 14     Q.   But Sprint has identified it as the Nextel platform,

1:54:35 15     correct?

1:54:40 16     A.   Sprint has identified the -- they have the Sprint Direct

1:54:44 17     Connect platform and they have Nextel devices that work on the

1:54:46 18     Sprint Direct Connect platform.

1:54:50 19     Q.   But they also had the Nextel iDEN platform.

1:54:50 20     A.   Yes.

1:54:59 21     Q.   Okay.    Did you operate any of Defendants devices at the --

1:55:00 22     A.   I did not.

1:55:00 23     Q.   -- 2017 show?

1:55:01 24     A.   I did not.

1:55:04 25     Q.   Did you purchase any of the devices that --


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1:55:07   1    A.     I did not.

1:55:16   2    Q.     Now, going back to the Kodiak platform, do you know if

1:55:20   3    Defendants are licensees of the Kodiak platform?

1:55:21   4    A.     They are not.

1:55:24   5    Q.     Do you know if they could use the Kodiak platform through

1:55:26   6    another carrier?

1:55:32   7    A.     They couldn't resell the platform through another carrier,

1:55:33   8    no.

1:55:37   9    Q.     Could they use it through that carrier though?

1:55:41 10     A.     If they purchased a Sprint Direct Connect device or a

1:55:48 11     Verizon PTT Plus device or AT&T EPTT device, they could use it,

1:55:48 12     yes.

1:55:51 13     Q.     And they could re-brand it as Nextel?

1:55:51 14     A.     No.

1:55:55 15     Q.     They couldn't put their own label on it and say it's a

1:55:55 16     Nextel device?

1:56:00 17     A.     No.   Those AT&T, Verizon, that platform wouldn't support

1:56:01 18     that re-branding.

1:56:04 19     Q.     Do you work for AT&T or Verizon?

1:56:08 20     A.     I work with them.   I'm the offer manager for AT&T Kodiak,

1:56:14 21     AT&T Kodiak, Kodiak for Verizon and Kodiak for T-Mobile.

1:56:16 22     Q.     What about some of the other mission-critical software

1:56:21 23     platforms that you identified, could they offer theirs?

1:56:25 24     A.     Yes, they could.

1:56:33 25     Q.     Now, does Motorola use its own servers to offer the Kodiak


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1:56:33   1    platform?

1:56:42   2    A.   Motorola manages the servers, installs the servers and loads

1:56:46   3    the software on the servers, but the servers are not

1:56:47   4    manufactured by Motorola.

1:56:52   5    Q.   Right.     And I'm not asking if Motorola manufactures servers.

1:56:58   6    I'm asking does it use its own servers, servers that it owns.

1:57:03   7    Like I would buy a Dell server.          I don't make the Dell server,

1:57:09   8    but I own the Dell server.       So does the Kodiak -- does Motorola

1:57:16   9    use its own servers, servers that it owns, to offer the Kodiak

1:57:16 10     platform?

1:57:21 11     A.   Yes.

1:57:30 12     Q.   Now, can a phone that uses the push-to-talk service using or

1:57:36 13     through the Kodiak platform, can it be used to make regular

1:57:37 14     cellphone calls?

1:57:41 15     A.   Yes.     Some can.    Some can't.

1:57:45 16     Q.   And so some that can't are like the radios?

1:57:51 17     A.   Some of them are radios, and there are also devices that are

1:57:59 18     purpose-built just to be PTT that are operating on the same

1:58:00 19     Kodiak software.

1:58:03 20     Q.   And you said purpose felt?

1:58:07 21     A.   Purpose-built.       They're built for a specific purpose.

1:58:12 22     Q.   And that uses software to limit the functionality of that

1:58:13 23     device?

1:58:19 24     A.   No, it only utilizes a certain aspect of the network and

1:58:23 25     inherently limits the user to those aspects.


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1:58:33   1    Q.   Do you know if the Nextel services offered by Defendants use

1:58:35   2    their own servers?

1:58:42   3    A.   I have -- I do not know who they use.

1:58:49   4    Q.   Do you know if the Nextel services and devices offered by

1:58:57   5    Defendant Nextel, do you know if they use their own software?

1:59:00   6    A.   I don't know whose software they use or if it's theirs or if

1:59:03   7    they buy it.

1:59:17   8    Q.   Now, do you know if Defendant Nextel offers any

1:59:19   9    intrinsically safe devices?

1:59:24 10     A.   I don't know that firsthand.

1:59:31 11     Q.   So they could.       They could be offering intrinsically safe

1:59:32 12     devices?

1:59:39 13     A.   Yes, they could buy an intrinsically safe device from a

1:59:42 14     manufacturer and offer them.

1:59:55 15                 MR. KERNELL:     So Your Honor, I believe we have Exhibit

2:00:04 16     10 to offer into evidence.          I believe the other Exhibit we have

2:00:08 17     laid the foundation for that as a Sprint.

2:00:10 18                 THE COURT:     You're offering Plaintiff's Exhibit 10 into

2:00:11 19     evidence?

2:00:12 20                 MR. KERNELL:     Yes.

2:00:14 21                 MS. DeFORD:     Your Honor, we have no objection to

2:00:17 22     Plaintiff's Exhibit 10, but we maintain our objection on the

2:00:20 23     exhibit that we don't believe is on their exhibit list.

2:00:24 24                 THE COURT:     Right.    Well, we're only talking about 10.

2:00:28 25     Exhibit 10, without objection, is admitted in evidence.


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2:00:28   1                (Plaintiff's Exhibit 10 in evidence).

2:01:04   2                MR. KERNELL:     No further questions, Your Honor.

2:01:06   3                THE COURT:     Redirect.

2:01:08   4                MS. DeFORD:     Very brief Your Honor.

2:01:08   5                                  REDIRECT EXAMINATION

2:01:08   6         BY MS. DeFORD:

2:01:16   7    Q.   Mr. Kohman, at the beginning, do you remember when Mr.

2:01:21   8    Kernell was asking you about whether or not mission-critical

2:01:24   9    software is necessary for parties other than first responders.

2:01:25 10     Do you recall that?

2:01:26 11     A.   Yes.

2:01:30 12     Q.   The show that you first found out about the Defendants

2:01:34 13     Nextel brand at, can you remind the jury who that show is

2:01:36 14     specifically targeted towards?

2:01:38 15     A.   It was targeted towards public safety.

2:01:40 16     Q.   And public safety being first responders?

2:01:42 17     A.   Yes.

2:01:45 18     Q.   He asked you a little bit about the change in the Sprint

2:01:47 19     Nextel name.    Do you recall that?

2:01:48 20     A.   Yes.

2:01:51 21     Q.   When you were at Sprint, were you part of the decision about

2:01:54 22     what the corporate name of the company would be?

2:01:55 23     A.   No, I was not.

2:01:57 24     Q.   Were you involved in deciding what brands would be used

2:01:59 25     moving forward?


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2:02:00   1    A.   No, I was not.

2:02:03   2    Q.   Were you involved in discussions about how to use the Nextel

2:02:04   3    brand moving forward?

2:02:05   4    A.   Yes, I was.

2:02:07   5    Q.   And could you remind the jury what decision was made about

2:02:09   6    the Nextel brand during that time?

2:02:12   7    A.   The Nextel brand was going to be assigned to a specialty

2:02:18   8    device category, it was going to be used as biz direct

2:02:21   9    presentations and at trade events.

2:02:26 10     Q.   He showed you that Sonim XP Strike IS box and he asked you a

2:02:32 11     question about whether there was anything to link Nextel to

2:02:36 12     Sprint.   Could you remind the jury who had the exclusive right

2:02:38 13     to sell the box with Nextel on it?

2:02:39 14     A.   Sprint did.

2:02:43 15     Q.   And he made a big deal about the statement that Sprint

2:02:47 16     identified itself as an owner of the Sprint mark.         Do you recall

2:02:48 17     that?

2:02:49 18     A.   Could you repeat the question please?

2:02:52 19     Q.   Sure.    So if you look at the box, he made a big deal about

2:02:57 20     the fact that the box on the fact that it says Sprint owns and

2:02:59 21     Sprint trademark?

2:03:00 22     A.   Right.

2:03:02 23     Q.   Are you aware, Mr. Kohman, that Sprint, as a lot of large

2:03:04 24     companies do, has a lot of different companies that hold their

2:03:05 25     intellectual property?


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2:03:06   1    A.   Yes.

2:03:08   2    Q.   Are you aware at that time when that device was sold whether

2:03:13   3    it was Sprint or one of its subsidiaries that owned the Nextel

2:03:14   4    mark?

2:03:15   5    A.   I don't know.

2:03:20   6    Q.   He asked you quite a bit about the black and yellow Nextel.

2:03:24   7    Have you personally seen Sprint use Nextel and black and yellow

2:03:25   8    since 2013?

2:03:26   9    A.   Yes, I have.

2:03:29 10     Q.   Can you give the jury an example of one of the places you've

2:03:29 11     seen that?

2:03:33 12     A.   I've seen them use black and yellow Nextel at trade events

2:03:36 13     and in presentations they've given to me.

2:03:40 14     Q.   And lastly, he was asking you questions about whether or not

2:03:44 15     having your own network would be necessary for the Kodiak

2:03:48 16     application or similar applications to give mission critical

2:03:50 17     priority.     Do you remember that?

2:03:50 18     A.   Yes.

2:03:55 19     Q.   What is the difference between a SIM card bought at Walmart

2:03:58 20     that uses the Kodiak application versus a Kodiak application

2:04:03 21     that's been integrated into Sprint's network?

2:04:06 22     A.   Different SIM cards can have different plans with different

2:04:13 23     features.     And when Sprint sells a SIM card with a push-to-talk

2:04:18 24     device, they're giving it the correct features for that device.

2:04:22 25     Q.   And those features, what are the mission-critical features?


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2:04:25   1    A.   Priority service, they can give priority service.

2:04:31   2    Q.   And so if I go to Walmart and I buy a SIM card to put in my

2:04:35   3    phone, say it's using AT&T service, is there any way for AT&T to

2:04:39   4    know that the device using that SIM card is going to need

2:04:40   5    priority services?

2:04:44   6    A.   No, that device is going to get the same -- is not going to

2:04:48   7    get priority service, they're not going to know.

2:04:50   8              MS. DeFORD:     Thank you, Mr. Kohman.     That's all I have.

2:04:51   9              THE COURT:     Thank you, sir.     You are excused.

2:04:54 10               Please call your next witness.

2:04:56 11               MS. DeFORD:     Your Honor, at this time we call Scott

2:04:56 12     Wiley.

2:04:59 13               THE COURT:     Very well.

2:05:36 14                 Please come forward, watch your step there's a little

2:05:39 15     ramp as you get to the end of the jury box.        Come around, stand

2:05:47 16     near the chair and remain standing raise your right hand.

2:05:47 17                 SCOTT WILEY, PLAINTIFF WITNESS, SWORN.

2:05:49 18               THE COURT:     Please be seated.     You may remove your mask

2:05:54 19     when you're behind the plastic, tell us your name and spell it.

2:06:01 20               THE WITNESS:     Scott Wiley, S-C-O-T-T, Wiley, W-I-L-E-Y.

2:06:03 21               THE COURT:     You may proceed.

2:06:03 22               MS. DeFORD:     Thank you, Your Honor.

2:06:03 23                                DIRECT EXAMINATION

2:06:03 24          BY MS. DeFORD:

2:06:07 25     Q.   Good afternoon, Scott.     Could you please tell the jury where


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2:06:08   1    you currently work?

2:06:08   2    A.   T-Mobile.

2:06:12   3    Q.   And when did you become a T-Mobile employee?

2:06:14   4    A.   It's just about two years now.

2:06:17   5    Q.   How did you become a T-Mobile employee?

2:06:23   6    A.   T-Mobile merged with Sprint.       So that was how.

2:06:26   7    Q.   How did you or how long did you work for Sprint before you

2:06:28   8    became a T-Mobile employee?

2:06:30   9    A.   About 13 years.

2:06:33 10     Q.   And what was your role when you were at Sprint?

2:06:37 11     A.   So product development manager.

2:06:40 12     Q.   And are you still a product development manager today?

2:06:41 13     A.   Yes, I am.

2:06:44 14     Q.   Could you explain to the jury at a high level what your job

2:06:47 15     responsibilities as product development manager are?

2:06:50 16     A.   Yes.    So I manage.

2:06:52 17                 THE COURT:    What do you mean "at a high level"?     You

2:06:55 18     want him to talk very high voice?

2:06:56 19                 MS. DeFORD:     Thank you, Your Honor.

2:06:58 20                 THE COURT:    Stand on his chair?

2:07:00 21                 MS. DeFORD:     It's been a long day for the jury.    I'm

2:07:05 22     trying to help Mr. Wiley understand they don't need a very --

2:07:06 23     I'm just trying to help the jury understand that they don't need

2:07:09 24     to hear everything he does, they just need a brief description.

2:07:13 25                 THE COURT:    Give us an overview of what your job was.


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2:07:16   1                 THE WITNESS:   So I've managed a couple business

2:07:21   2    products over the years.      So, you know, there's consumers at,

2:07:23   3    you know, basically just to get phones.        But businesses will

2:07:31   4    usually get additional products.       And so I've managed a couple

2:07:34   5    of the products, and that really is kind of a, you know,

2:07:38   6    roadmap, sourcing the vendors, working to make sure that stuff

2:07:46   7    makes it to devices, really kind of owning the product cradle to

2:07:46   8    grave.

2:07:46   9         BY MS. DeFORD:

2:07:49 10     Q.   How did you end up working for Sprint, Mr. Wiley?

2:07:52 11     A.   I started at Nextel right out of college.

2:07:56 12     Q.   And when you say Nextel, what company are you referring to?

2:08:03 13     A.   Nextel Communications, Inc.      Started in about 1987 I

2:08:07 14     believe, and so I'd say the original Nextel.

2:08:09 15     Q.   Okay.     So when you say the original Nextel, just to be clear

2:08:13 16     for the jury, are you referring to the Defendants or are you

2:08:15 17     referring to Nextel that is associated with Sprint?

2:08:21 18     A.   I'm referring to the Nextel that's associated with Sprint.

2:08:24 19     Q.   When did you start at the original Nextel?

2:08:28 20     A.   In 2004.

2:08:32 21     Q.   Did you have any jobs prior to working for Nextel?

2:08:34 22     A.   That was my first job right out of college.

2:08:37 23     Q.   What made you want to work for Nextel?

2:08:41 24     A.   Well, I was an electrical engineering major and

2:08:45 25     telecommunications to me seemed like the right industry to go


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2:08:49   1    into.   I'm very interested in technology and I actually had been

2:08:56   2    using Nextel products long before I got into college.         And so

2:09:02   3    that was a company I wanted to work for and be involved with the

2:09:02   4    push-to-talk.

2:09:06   5    Q.   When you went to work at Nextel in 2004, was the Nextel

2:09:10   6    brand known for a particular type of telecommunications service?

2:09:17   7    A.   Yeah, Nextel really created an industry of push-to-talk that

2:09:20   8    occurs over a cellphone.

2:09:23   9    Q.   And has what the Nextel brand is known for changed over

2:09:24 10     time?

2:09:28 11     A.   No.    To me, Nextel has always been synonymous with

2:09:31 12     push-to-talk.

2:09:38 13     Q.   What type of customers, in your experience, generally buy

2:09:40 14     push-to-talk devices and services?

2:09:42 15     A.   So push-to-talk is for instantaneous communications and that

2:09:50 16     is enterprises, logistics, government, and very strong following

2:09:51 17     from first responders.

2:09:56 18     Q.   And how are push-to-talk devices and services generally sold

2:09:57 19     then?

2:10:03 20     A.   So these services are really sold in business to business

2:10:08 21     meetings.    So our business people meet with large companies,

2:10:13 22     they come in and meet with the tel-com managers at these

2:10:17 23     companies, they pitch our service and any additional products

2:10:21 24     that a business might need to be added on.        We also, you know,

2:10:26 25     attend trade shows so that our products can be seen by lots of


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2:10:28   1    the same customers.

2:10:34   2    Q.   Does Sprint typically sell business push-to-talk services

2:10:36   3    and devices in retail stores?

2:10:39   4    A.   That's not our -- you can buy a device, but we're not

2:10:43   5    talking to customers about push-to-talk in a retail store.

2:10:48   6    Q.   What about on its website or through its website?

2:10:50   7    A.   Over the years we've had information about the products, but

2:10:57   8    the website really has an intake to get the customers to give

2:11:01   9    their name so that our business people can meet with them and

2:11:04 10     really help understand their communications needs.

2:11:09 11     Q.   As a product development manager, do you ever personally

2:11:14 12     attend trade shows or participate in business to business

2:11:15 13     customer meetings?

2:11:16 14     A.   Yes, I participate in both of those.

2:11:21 15     Q.   When you interact at trade shows, do you use the Nextel

2:11:24 16     brand to sell Sprint's push-to-talk devices and services?

2:11:25 17     A.   Yes, we do.

2:11:27 18     Q.   And when you raise the Nextel brand with customers, what is

2:11:31 19     your understanding of the company that they associate Nextel

2:11:32 20     with?

2:11:38 21     A.   Nextel is associated with Sprint, been a big part of

2:11:42 22     marketing, we say Sprint together with Nextel.

2:11:44 23     Q.   Why do you use Nextel at trade shows, Mr. Wiley?

2:11:51 24     A.   Well, you want to frame with the customer, the people that

2:11:55 25     are walking by who you are, the experience that you have.          You


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2:11:59   1    need to differentiate yourself from the other people that attend

2:12:00   2    trade shows.

2:12:03   3    Q.   Can you give the jury an example of a trade show at which

2:12:06   4    you used the Nextel brand?

2:12:10   5    A.   Yeah.     First time that I used it at a trade show was in IWCE

2:12:14   6    or at IWCE, and that was in 2017.

2:12:17   7    Q.   Why use Nextel at the IWCE trade show?

2:12:24   8    A.   Because of the people that attend that.       It's enterprises,

2:12:27   9    it's business, it's first responders, it's other companies in

2:12:31 10     the industry.     So you want people to know who they're talking

2:12:36 11     to, the experience that you have.

2:12:41 12     Q.   And was IWCE 2017 the only trade show at which you have used

2:12:42 13     Nextel?

2:12:49 14     A.   No, I've used it at -- when I attended in 2018, as well as

2:12:51 15     at the IWCE in 2019.

2:12:54 16     Q.   Did you attend any later versions of IWCE?

2:12:59 17     A.   I have not, but that's really because COVID.

2:13:04 18     Q.   Starting with IWCE in 2017, how were you using the Nextel

2:13:07 19     mark at that trade show, Mr. Wiley?

2:13:14 20     A.   Yeah, so we had a very elaborate booth.       There was a 42-inch

2:13:18 21     plasma at the very front of it to get people's attention, and we

2:13:27 22     had the Nextel brand logo in a PowerPoint presentation.

2:13:32 23                  MS. DeFORD:    I'd like to go ahead and show Mr. Wiley

2:13:36 24     Exhibit 30, Your Honor.       There's no objection to this exhibit.

2:13:37 25                  THE COURT:    Exhibit 30.


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2:13:38   1                 MS. DeFORD:     Exhibit 30.

2:13:39   2                 THE COURT:     All right.

2:13:45   3                 THE WITNESS:     Was I also supposed to have a binder up

2:13:45   4    here?

2:13:48   5                 MS. DeFORD:     Would you like a binder up here?   You'll

2:13:53   6    be able to see them on a screen.

2:13:53   7                 THE COURT:     There's a screen right in front of you.

2:13:56   8                 MS. DeFORD:     And just to be clear, Your Honor, is that

2:13:56   9    admitted into evidence?

2:13:56 10                  THE COURT:     It's into evidence.   Without objection,

2:13:58 11     it's admitted.

2:13:59 12                  MS. DeFORD:     Thank you, Your Honor.

2:13:59 13                  (Plaintiff's Exhibit 30 in evidence)

2:13:59 14          BY MS. DeFORD:

2:14:01 15     Q.   Mr. Wiley, do you recognize this exhibit?

2:14:02 16     A.   Yes, I do.

2:14:02 17     Q.   What is it?

2:14:08 18     A.   So this is the PowerPoint presentation that we had cycling

2:14:10 19     through on the plasma screen.

2:14:15 20     Q.   Okay.     I'm going to have Carl scroll slowly for you through

2:14:20 21     the first seven pages.        Once he's done, can you tell the jury

2:14:24 22     generally what the purpose of these seven slides are?

2:14:30 23     A.   This is high-level review of what our product does,

2:14:35 24     features, you know, stuff to get people's attention to walk in

2:14:38 25     and talk to us in the booth.


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2:14:42   1    Q.   If we can go to the 8th page?      Says why Sprint at the top.

2:14:43   2    Do you see that, Mr. Wiley?

2:14:45   3    A.   Yes, it does.

2:14:47   4    Q.   What's the purpose of this slide?

2:14:54   5    A.   So we want to frame with the customers who we are, who's at

2:14:59   6    the booth, the experience that we have.        We always want to

2:15:02   7    reiterate the value of our network and the support that we

2:15:03   8    bring.

2:15:08   9    Q.   Does Sprint have competitors at trade shows that it's trying

2:15:13 10     to keep customers from going to so that they buy from Sprint

2:15:13 11     instead?

2:15:21 12     A.   Yes, a lot of that show is around push-to-talk, so there are

2:15:24 13     a lot of competitive push-to-talk providers there.

2:15:28 14     Q.   How does this slide fit into that conversation to help

2:15:33 15     customers know why to choose Sprint instead of Sprint's

2:15:34 16     competitors?

2:15:39 17     A.   Well, when we use the Nextel brand which is in here, it

2:15:44 18     really frames with the customer who we are, our experience, the

2:15:50 19     reliability of our products and really identifies us to our

2:15:53 20     potential -- to our current and potential customers.

2:15:56 21     Q.   So you said that the Nextel brand is on the slide.         Would

2:15:59 22     you point out specifically for the jury where they can see it?

2:16:01 23     A.   Yes, it's on the far left.

2:16:03 24                THE COURT:   You can circle it.     You should be able to

2:16:05 25     write on the screen.


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2:16:06   1                MS. DeFORD:     Thank you, Your Honor.

2:16:11   2                THE COURT:     With your finger.   Mr. Witness.

2:16:12   3                THE WITNESS:     Do you want me to?

2:16:14   4                THE COURT:     I don't care if you do or not.     I'm telling

2:16:15   5    you you can.

2:16:17   6                MS. DeFORD:     It makes it a little more fun.     You can

2:16:23   7    play a little.     The perks of modern technology for you.

2:16:23   8         BY MS. DeFORD:

2:16:26   9    Q.   So I'm sorry, Scott.       Could you just repeat where its for

2:16:28 10     the jury?    I know you've circled it.

2:16:31 11     A.   Yes.    It's on the left in the center, and I circled it with

2:16:32 12     green.

2:16:35 13     Q.   Thank you.    All right.     We can go ahead and put that one

2:16:36 14     aside.

2:16:38 15                 MS. DeFORD:     I'm going to go ahead and hand you what's

2:16:42 16     been marked as Exhibit 41 A.        There is no objection to this one

2:16:45 17     either, Your Honor.        May I approach the witness?

2:16:48 18                 THE COURT:     41 A is admitted in evidence without

2:16:50 19     objection.     Yes, you may approach.

2:16:50 20                 (Plaintiff's Exhibit 41 A in evidence)

2:16:50 21          BY MS. DeFORD:

2:17:18 22     Q.   Do you recognize that Exhibit, Mr. Wiley?

2:17:26 23     A.   Yes, I do.    This is a tablecloth that we had at our booth at

2:17:29 24     IWCE 2018.

2:17:31 25                 MS. DeFORD:     Go ahead and keep that banner with you and


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2:17:35   1    so the jury can see it, but Carl could you please pull up joint

2:17:40   2    Exhibit 32, this one is also no objections Your Honor.

2:17:42   3                THE COURT:    Without objection, 32 is admitted in

2:17:43   4    evidence.

2:17:43   5                (Plaintiff's Exhibit 32 in evidence)

2:17:45   6                THE COURT:    Photograph.

2:17:45   7         BY MS. DeFORD:

2:17:48   8    Q.   What is the jury seeing in this Exhibit, Mr. Wiley?

2:17:58   9    A.   So this is the -- our booth at IWCE 2018, and if you look,

2:18:04 10     this tablecloth is in the back and I can circle it here, on the

2:18:05 11     table.

2:18:08 12     Q.   So when you say "this tablecloth is in the back", are you

2:18:11 13     referring to the one you just held up for the jury?

2:18:13 14     A.   Yes, I'm referring to this one that I held up here.

2:18:20 15     Q.   Is that the only use of Nextel that Sprint had at its both?

2:18:23 16     A.   No, we also had another banner at this white flag down here

2:18:29 17     at the lower left.       It's cut off, but it's the same Sprint

2:18:35 18     Together with Nextel logo, just cut off in the camera.

2:18:41 19     Q.   And Mr. Wiley, why use tablecloths and banners at IWCE in

2:18:46 20     2018 that say Sprint Together with Nextel?

2:18:54 21     A.   I mean, it's our brand.      Same trade show, same types of

2:18:59 22     customers.    We want them to know when they walk up you can find

2:19:03 23     out about Nextel here, you can find out about Sprint products,

2:19:05 24     that's --

2:19:12 25     Q.   When you get banners like this for trade shows, is there an


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2:19:15   1    approval process that you have to go through, do you have to get

2:19:16   2    branding approval?

2:19:21   3    A.   Yeah, there's an internal website where you can order like

2:19:25   4    shirts that have our brands on them, tablecloths, you know,

2:19:29   5    stuff that might be given out at a trade show that would have

2:19:32   6    brand approved logos on them.

2:19:36   7    Q.   Is it the type of situation where Sprint could just go to a

2:19:40   8    broom closet and pull an old banner out, or do you have to have

2:19:43   9    prior approval to use it?

2:19:49 10     A.   Well, I think as an employee you're allowed to order.         So

2:19:55 11     you know, if you're going the pay for it, I mean, that has to be

2:19:59 12     approved, so that would be your approval.

2:20:02 13     Q.   We can go ahead and set those aside.

2:20:04 14               How did you use Nextel at IWCE in 2019?

2:20:16 15     A.   2019, we had some poster boards that had the Sprint Together

2:20:21 16     with Nextel logo, I believe each poster board had it appear on

2:20:22 17     there twice.

2:20:24 18               MS. DeFORD:    Your Honor, I'm going to offer Joint

2:20:26 19     Exhibit 33 to which there is no objection.

2:20:29 20               THE COURT:    33 is admitted in evidence with no

2:20:30 21     objection.

2:20:30 22               (Joint Exhibit 33 in evidence)

2:20:30 23          BY MS. DeFORD:

2:20:34 24     Q.   Scott, this is a three-page document, so I'm going to go

2:20:37 25     ahead and let Carl scroll down quickly for you so you can see


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2:20:37   1    all three pages.

2:20:41   2                   Okay.   Now we can go back to the first one.    What do we

2:20:43   3    see in this first picture here?

2:20:47   4    A.     So this is a picture of some other Sprint employees and

2:20:54   5    partners that were manning our booth for IWCE 2019.

2:20:56   6    Q.     Okay.     Where are you in this photo?

2:21:02   7    A.     I am right there on the -- to the left center, but without a

2:21:04   8    beard.

2:21:07   9    Q.     I was going to say you're looking a little younger, but

2:21:11 10     don't we all four years ago.        Or three years ago.

2:21:15 11                    Go ahead and go to the second page for me, Carl.

2:21:17 12                    What do we see in this picture?

2:21:22 13     A.     So we're seeing a poster board for a free tablet drawing but

2:21:29 14     we have our Sprint Together with Nextel logo on there.

2:21:33 15     Q.     If we go back to the first photo, could you show the jury

2:21:37 16     where in Sprint's booth that Sprint Together with Nextel placard

2:21:38 17     was?

2:21:42 18     A.     Yeah, so that's sort of front, back center there and I'll

2:21:45 19     circle around that.

2:21:50 20     Q.     If we go to the third photo, what do we see in this picture?

2:21:55 21     A.     This was the other poster board that was in the booth and

2:21:59 22     I'll go ahead and circle around that.

2:22:04 23     Q.     And what -- Carl, could you actually blow that up for the

2:22:04 24     jury?

2:22:07 25                    What does that say in yellow on that placard?


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2:22:13   1    A.   So that, again, is our brand, Sprint Together with Nextel.

2:22:17   2    Q.   If we go back to the first photo, where in the booth was

2:22:18   3    that placard we just saw Mr. Wiley?

2:22:23   4    A.   Yeah, so it's a little cut off but you can see half of it,

2:22:26   5    it's in the bottom right corner.

2:22:28   6              MS. DeFORD:    Thank you.    We can put that one aside,

2:22:29   7    Carl.

2:22:29   8         BY MS. DeFORD:

2:22:31   9    Q.   So you mentioned before that you were also involved in

2:22:34 10     business to business sales meetings.       Could you give the jury an

2:22:39 11     overview of exactly what those meetings entail?

2:22:45 12     A.   Yeah, I can.     You know, when I get pulled into a business

2:22:48 13     sales meeting, it's because our sales team wants to talk to the

2:22:54 14     customer about our push-to-talk services.        And I typically have

2:23:00 15     a PowerPoint presentation that I will present to the customer

2:23:06 16     that really frames, you know, our history of Nextel and our

2:23:12 17     present and our future and the legacy and experience to really

2:23:15 18     -- you know, you want to frame that conversation like this is

2:23:17 19     who we are, this is what we're bringing to the table.         And then

2:23:22 20     it really kind of spells out what push-to-talk is, you know, the

2:23:28 21     features, functionality and -- yeah, so I will typically be the

2:23:30 22     one presenting my product.

2:23:32 23     Q.   So you anticipated my question a little bit there,

2:23:35 24     Mr. Wiley, but do you use Nextel in those meetings?

2:23:36 25     A.   Yes, we do.


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2:23:40   1                MS. DeFORD:    Can we pull up Exhibit 27 which there is

2:23:41   2    no objection to?

2:23:42   3                THE COURT:    Without objection, 27 is admitted in

2:23:43   4    evidence.

2:23:43   5                (Plaintiff's Exhibit 27 in evidence)

2:23:43   6         BY MS. DeFORD:

2:23:46   7    Q.   And thank you, Carl.

2:23:48   8                Do you recognize this document, Mr. Wiley?

2:23:49   9    A.   Yes, I do.

2:23:50 10     Q.   What is it?

2:23:55 11     A.   So it's titled here A Battle Card for Sprint Direct Connect

2:24:00 12     Plus, and so our business salespeople, you know, they typically

2:24:03 13     know what they're going to be presenting to customers on.          So

2:24:08 14     these battle cards are created to call out, you know, these are

2:24:11 15     the items, these are the high-level points you need to make sure

2:24:15 16     that you discuss with the customer.

2:24:18 17     Q.   And so if you look for me where it says "customer benefits"

2:24:23 18     at that last bullet at the bottom, would you blow that up, Carl

2:24:28 19     where it says "why Sprint", what is the purpose of this, what is

2:24:31 20     this telling Sprint salespeople to do when they're going into

2:24:32 21     meetings?

2:24:38 22     A.   This is really to remind the salesperson, you know, who we

2:24:45 23     are, to remind the customer of why they're dealing with us.             The

2:24:49 24     next thing we see is "we own the chirp", and that we were the

2:24:52 25     first to offer nationwide push-to-talk with Nextel Direct


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2:24:58   1    Connect.      So really framing and closing out that discussion with

2:25:00   2    the customer.

2:25:04   3    Q.   So taking those one and a time, what does "we own the chirp"

2:25:05   4    mean?

2:25:11   5    A.   So we call it the Nextel chirp, and it is the sound that is

2:25:16   6    made when you make a push-to-talk call.        And this sound tells

2:25:21   7    you that the call has been connected and that the person on the

2:25:26   8    receiving end is going to hear what you say.          So it's a -- it's

2:25:30   9    something that always plays out when you use it and it's

2:25:32 10     something that people around you will hear.

2:25:37 11     Q.   You mention that it's known as the Nextel chirp.         Is that a

2:25:40 12     recent thing or has it always been known as the Nextel chirp?

2:25:44 13     A.   It's always been known as the Nextel chirp, before I started

2:25:47 14     there, but when I was using the products before.

2:25:50 15                MS. DeFORD:    Your Honor, I'm going to offer Joint

2:25:54 16     Exhibit 8.      There's no objection.   It's audio.     Just 8.

2:25:56 17                THE COURT:    I know, but I'm talking about that 8, not

2:25:58 18     A.   Eight.

2:25:59 19                MS. DeFORD:    Eight.

2:26:02 20                THE COURT:    Without objection, admitted in evidence.

2:26:04 21     Joint 8 is in evidence.

2:26:04 22                (Joint Exhibit 8 in evidence)

2:26:08 23                MS. DeFORD:    Can you go ahead and play Exhibit 8 for

2:26:11 24     Mr. Wiley?

2:26:15 25                (Joint Exhibit 8 played in open court)


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2:26:15   1           BY MS. DeFORD:

2:26:19   2    Q.     What was that sound that we just heard, Mr. Wiley?

2:26:21   3    A.     That would be the Nextel chirp.

2:26:25   4    Q.     So going back to Exhibit 27 which is the battle card, why is

2:26:29   5    the chirp a selling point for Sprint?

2:26:36   6    A.     The brand Nextel and that chirp are intertwined together.

2:26:42   7    Why is it a selling point?       I mean, it's that recognizable

2:26:49   8    sound, it shows reliability, your call's connected, you can

2:26:55   9    talk, you should feel comfortable knowing that if you're a first

2:26:57 10     responder using this product, that your message is going to get

2:26:58 11     out.

2:27:02 12     Q.     In looking at the battle card, you mentioned the second line

2:27:06 13     too which is that "Sprint was the first to over nationwide

2:27:10 14     push-to-talk with Nextel Direct Connect".        And it goes on to say

2:27:13 15     "we have a proven commit to PTT legacy and future".

2:27:16 16                 When you talk about Nextel in business meetings,

2:27:20 17     Mr. Wiley, is the conversation limited to the history of Nextel

2:27:21 18     or is it broader than that?

2:27:27 19     A.     No, the conversation is this is our past, our present and

2:27:28 20     our future.

2:27:32 21                 MS. DeFORD:    We can go ahead and put that one aside.

2:27:36 22                 Could you pull up for me Joint Exhibit 52?      This one

2:27:43 23     has no objection, Your Honor.

2:27:44 24                 THE COURT:    Is it Number 22?

2:27:44 25                 MS. DeFORD:    52.


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2:27:54   1              THE COURT:     52.     Excuse me.    I dozed off for a moment.

2:27:56   2              MS. DeFORD:     It's all right.       You and me both.   It's

2:27:56   3    okay.

2:27:58   4              THE COURT:     52 is admitted in evidence without

2:27:59   5    objection.

2:27:59   6              (Joint Exhibit 52 in evidence)

2:28:01   7              MS. DeFORD:     Thank you, Your Honor.       Can we go ahead

2:28:06   8    and put this one in presentation mode, Carl?

2:28:06   9         BY MS. DeFORD:

2:28:08 10     Q.   Mr. Wiley, do you recognize this PowerPoint?

2:28:13 11     A.   Yes, this is -- this would be a presentation that we would

2:28:17 12     give to a customer for our push-to-talk services.

2:28:22 13     Q.   And if we go from the first slide to the next slide please?

2:28:29 14     Can you go back for me?        And go again?

2:28:33 15                            (Chirp)

2:28:33 16          BY MS. DeFORD:

2:28:35 17     Q.   What was that sound we just heard, Mr. Wiley?

2:28:37 18     A.   That was the familiar Nextel chirp.

2:28:42 19     Q.   Why use the Nextel chirp as part of this slide deck when

2:28:45 20     you're switching from the title page to the first slide?

2:28:51 21     A.   You know, you're presenting to the customers, it kind of

2:28:55 22     lightens the conversation, they recognize that Nextel chirp.

2:29:01 23     You know, most business customers know Nextel, know that chirp

2:29:07 24     and just kind of makes the presentation fun.

2:29:12 25     Q.   Looking at this slide here, how does this slide relate to


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2:29:16   1    those "why Sprint" talking points that we just looked at on the

2:29:18   2    battle card?

2:29:24   3    A.   Well, like I said, you know, our in-person meetings and we

2:29:30   4    always want to frame our experience in the space, we want to

2:29:34   5    show our brand, you know, that recognition that the customer has

2:29:38   6    and reiterate to the customers that we're here and we're going

2:29:40   7    to take care of their PTT needs.

2:29:44   8    Q.   And looking at the middle there, why is Nextel shown in

2:29:46   9    those colors?

2:29:54 10     A.   So black and yellow was the coloring that Nextel used.         That

2:30:01 11     was iconic, their logo.     Even in the application it's our --

2:30:05 12     it's the colors we're known as, just kind of like T-Mobile has

2:30:13 13     magenta and Verizon's red and black, we are black and yellow.

2:30:16 14     Q.   Is this the only slide deck you have, Mr. Wiley, that uses

2:30:20 15     the Nextel trademark?

2:30:24 16     A.   No, we have it in the presentation that we just looked at

2:30:28 17     earlier.   This one, there's other sales presentations.         I try to

2:30:33 18     make sure that in any kind of customer-facing presentation that

2:30:36 19     we talk about our brand.

2:30:38 20     Q.   Do you continue to use slide presentations with customers

2:30:42 21     that have Nextel in them now that you're a T-Mobile employee?

2:30:47 22     A.   Yeah, we have these existing ones and we'll be working on

2:30:52 23     making new ones as we sell the service in T-Mobile.

2:30:58 24     Q.   Switching gears a little bit, I want to talk more about the

2:31:01 25     Nextel chirp that the jury heard.       Other than the presentation


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2:31:05   1    we just saw, can you give the jury an example of a way that

2:31:09   2    Sprint uses this the chirp sound?

2:31:14   3    A.   Yeah.     So the chirp sound, like I said, it occurs when

2:31:19   4    you're making a push-to-talk call.        So when you have the phone

2:31:23   5    or the application and you want to make a push-to-talk call to

2:31:26   6    someone, you press the button, you're going to hear that Nextel

2:31:30   7    chirp and that tells you that the call is connected.

2:31:32   8                 MS. DeFORD:    Your Honor, I would move in at this time

2:31:38   9    Exhibits 125 and 126 to which there are no objection.

2:31:44 10                  THE COURT:    125 and 126 are admitted in evidence

2:31:45 11     without objection.

2:31:47 12                  MS. DeFORD:    And may I approach the witness to hand him

2:31:47 13     the device?

2:31:49 14                  THE COURT:    You may.   Once you got permission to

2:31:52 15     approach him, you can keep approaching.

2:31:52 16                  (Plaintiff's Exhibit 125 & 126 in evidence)

2:32:03 17                  MS. DeFORD:    Carl, can you please pull up 125 for me?

2:32:03 18          BY MS. DeFORD:

2:32:11 19     Q.   Starting with Exhibit 125, Mr. Wiley, can you tell the jury

2:32:15 20     what this box is, device is?

2:32:19 21     A.   Yeah.     So this is a box that has one of our latest

2:32:25 22     push-to-talk products that we just launched this last year in

2:32:31 23     2021, made by -- you see the name CAT, that's for Caterpillar.

2:32:33 24     Q.   Is this a rugged device?

2:32:36 25     A.   This is a rugged push-to-talk device.


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2:32:39   1    Q.   Does Nextel appear anywhere on the packaging of this device?

2:32:43   2    A.   Yes, it does, it appears on the label on the side.

2:32:45   3               MS. DeFORD:     Carl, can you go to the image that shows

2:32:49   4    that for the jury please?

2:32:49   5         BY MS. DeFORD:

2:32:56   6    Q.   And looking at Exhibit 126, could you pull that one up,

2:32:58   7    Carl?    What is this device, Mr. Wiley?

2:33:04   8    A.   This is another CAT device, it's a rugged PTT device, this

2:33:07   9    one is actually a full smartphone.

2:33:10 10     Q.   And does that one have Nextel anywhere on the packaging?

2:33:16 11     A.   Yeah, it has it on the label in the same location.

2:33:18 12     Q.   Mr. Wiley, are these phones activated?

2:33:21 13     A.   Yes, these are activated.

2:33:23 14                MS. DeFORD:     Your Honor, may Mr. Wiley briefly

2:33:27 15     demonstrate a push-to-talk call?       Actually, let me ask you this

2:33:31 16     first Mr. Wiley, if you were to demonstrate a push-to-talk call,

2:33:34 17     could you show the jury how the chirp is used on Sprint's

2:33:35 18     devices.

2:33:37 19                THE WITNESS:     Yes, I can demonstrate that.

2:33:39 20                MS. DeFORD:     May he have permission to do that, Your

2:33:40 21     Honor?

2:33:43 22                THE COURT:     He may.

2:33:43 23          BY MS. DeFORD:

2:33:45 24     Q.   Could you tell the jury what you're doing when you're

2:33:46 25     walking through it, Scott?


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2:33:50   1    A.   Yeah.     Well, right now I'm just pulling them out of the box

2:33:57   2    and so I'm going to take our -- this is what, like, a rugged

2:34:03   3    flip phone push-to-talk device is.       And on the side I have a

2:34:09   4    large PTT key it stands out.      And I'm going to go into the

2:34:13   5    application, and then I will go ahead and select who I want to

2:34:17   6    push-to-talk and I will press the key.

2:34:18   7                 (Chirp)

2:34:22   8                 THE WITNESS:   And I know the call is connected.

2:34:22   9         BY MS. DeFORD:

2:34:26 10     Q.   Thank you, Mr. Wiley.      Are these the only two devices that

2:34:32 11     Sprint sells on which the chirp is used when you initiate a

2:34:33 12     push-to-talk call?

2:34:39 13     A.   No.     We have other rugged push-to-talk devices, older ones

2:34:44 14     as well, and we also have the application available as a

2:34:48 15     downloadable app so you can put it on like a Samsung Android

2:34:52 16     device or an Apple iPhone or an iPad.

2:34:56 17     Q.   Since you started with the original Nextel in 2004 all the

2:35:01 18     way up through present, has there ever been a time at which

2:35:06 19     Sprint did not offer for sale a device that used the chirp?

2:35:11 20     A.   No, all of our push-to-talk devices have always had the

2:35:12 21     chirp.

2:35:17 22     Q.   Switching gears a little bit now Scott, how did you first

2:35:20 23     learn about the Defendants in this case?

2:35:26 24     A.   So, I learned when I was at IWCE 2017, I was just standing

2:35:32 25     in our -- in the Sprint Nextel booth and had a couple people


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2:35:39   1    come up, approach me.     Some were ex-Nextel, meaning they worked

2:35:45   2    at Nextel in the past and, you know, I got comments like hey,

2:35:50   3    you guys have two booths or I also got one that said hey,

2:35:55   4    someone just has a poster on their booth, is that with you guys?

2:36:01   5    And so they were kind of confused, but more confused was I that

2:36:03   6    people were coming up and asking that.

2:36:06   7    Q.   You mentioned you were confused.      Why were you confused when

2:36:09   8    you heard there was another Nextel booth at IWCE?

2:36:17   9    A.   Well, as someone that's been working here or at Sprint since

2:36:23 10     2004, and even before Sprint merged with Nextel, I was very

2:36:27 11     frustrated because that is someone at a trade show trying to

2:36:33 12     talk to my customers, our potential future customers and telling

2:36:39 13     them that they are us.     You just you don't do that.

2:36:42 14     Q.   Did you go by the Defendants' booth?

2:36:45 15     A.   I did walk by the Defendants' booth.

2:36:47 16     Q.   And what did you see?

2:36:53 17     A.   I saw a Nextel banner that would have been ordered, and that

2:37:00 18     was hanging at the top of their booth behind another big banner

2:37:05 19     that said "critical RF" and there were walkie-talkie devices

2:37:10 20     that said -- that had Nextel stickers affixed to them.

2:37:14 21     Q.   Was 2017 -- was IWCE in 2017 the only time you saw the

2:37:17 22     Defendants at that trade show?

2:37:23 23     A.   No, they made an appearance at IWCE 2018 and also again at

2:37:27 24     2019.

2:37:28 25               MS. DeFORD:    Your Honor, I'd offer Joint Exhibit 97,


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2:37:31   1    there's no objection to this one.

2:37:33   2                THE COURT:   Without objection, 97 is admitted in

2:37:34   3    evidence.

2:37:34   4                (Joint Exhibit 97 in evidence)

2:37:34   5         BY MS. DeFORD:

2:37:38   6    Q.   Mr. Wiley, do you recognize this photograph?

2:37:39   7    A.   Yes, I do.

2:37:39   8    Q.   What is it?

2:37:44   9    A.   I believe this is from IWCE 2019.

2:37:55 10     Q.   How did you feel when you saw this Nextel booth in 2019?

2:38:06 11     A.   I'm thinking this might be IWCE 2018, but this was the

2:38:12 12     follow-on year, this wasn't the first year.        And so what

2:38:15 13     differed from their first year was before it was just a little

2:38:21 14     poster.     Now someone has gone and printed custom full-booth

2:38:27 15     pictures that are of our brand and really are kind of

2:38:33 16     double-downing (sic) on this impersonation, to the point that,

2:38:37 17     you know, you might really be confused on who you're talking to

2:38:40 18     and who they are representing.

2:38:43 19     Q.   Does the Defendants' use of the Nextel brand make your job

2:38:44 20     harder?

2:38:52 21     A.   Absolutely.    I mean, the professional nature of the back

2:38:57 22     board would confuse anyone.      When someone takes and prints your

2:39:05 23     brand and goes to this level of -- I don't know, I would call it

2:39:12 24     orchestration that definitely makes it hard to sell.         It

2:39:14 25     confuses the customers that are there.       You see lots of people


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2:39:17   1    looking at their booth and they're probably like oh, Nextel's

2:39:23   2    right here.    That makes my job hard.

2:39:26   3                MS. DeFORD:    I'm going to go ahead and show you what's

2:39:29   4    been marked as Exhibit 157.

2:39:33   5                There's no objection to this one, Your Honor.

2:39:34   6                THE COURT:    What number please?

2:39:36   7                MS. DeFORD:    157.

2:39:52   8                THE COURT:    157?    Without objection, 157 is admitted in

2:39:53   9    evidence.

2:39:53 10                 (Plaintiff's Exhibit 157 in evidence)

2:39:53 11            BY MS. DeFORD:

2:40:01 12     Q.     Mr. Wiley, do you recognize the device that I just handed

2:40:02 13     you?

2:40:03 14     A.     Yes, I do.

2:40:03 15     Q.     What is it?

2:40:09 16     A.     So this is a device that was shipped to me, I believe the

2:40:15 17     Defendant had shipped it to our counsel, to you guys, and I was

2:40:19 18     shipped this to kind of check it out and see what I thought of

2:40:20 19     the service.

2:40:23 20     Q.     Were you actually able to do any testing or comparison of

2:40:27 21     the quality and durability of Defendants' device as compared to

2:40:29 22     Sprint's?

2:40:35 23     A.     No, I couldn't.    So I received a device that, you know, it

2:40:39 24     looks like it would work.         The battery was dead, I attempted to

2:40:43 25     charge it, it would not charge.         I could not power it up.   It


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2:40:49   1    had no kind of SIM card or service in it and really, to me, I

2:40:52   2    received a paperweight.

2:40:54   3    Q.    And were you able, looking at the device, to tell who makes

2:40:55   4    it?

2:41:02   5    A.    No.   That was one item that I was inspecting and, you know,

2:41:10   6    reputable brands put their name on there.           When you buy an

2:41:13   7    iPhone, you've got that Apple logo, you've got the wording.

2:41:19   8    When you buy our devices, you know, there's brands on them.

2:41:24   9    This device, on the back there's a sticker and it's another

2:41:30 10     printed sticker that says Nextel and a model number.            I don't

2:41:35 11     know the origin, I don't know the source of this device.              To me,

2:41:39 12     that's concerning because I don't know who would support it, and

2:41:42 13     also I don't know why a company wouldn't want their name on

2:41:48 14     their for brand recognition and trust.

2:41:50 15                 MS. DeFORD:     Thank you, Mr. Wiley.     That's all I have.

2:41:53 16                 THE COURT:     Cross-examination?

2:41:57 17                 MR. KERNELL:     Your Honor, would this be a good time to

2:41:58 18     take a --

2:42:00 19                 THE COURT:     No.   No.   A little later please.    Let's go

2:42:03 20     with this one.

2:42:20 21                                  CROSS-EXAMINATION

2:42:20 22           BY MR. KERNELL:

2:42:28 23     Q.    Good afternoon, Mr. Wiley.        How are you today?

2:42:30 24     A.    I'm doing well.

2:42:37 25     Q.    So in this case, you recall when I took your deposition?


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2:42:38   1    A.   Yes.

2:42:41   2    Q.   And at that time when I took your deposition you were a

2:42:42   3    Sprint employee, correct?

2:42:43   4    A.   That's correct.

2:42:46   5    Q.   And now you're a T-Mobile employee, correct?

2:42:48   6    A.   Yes, I'm a T-Mobile employee.

2:42:57   7    Q.   Now, in your testimony just now, you had referred to that

2:43:03   8    the black and yellow -- and we had a board with the black and

2:43:06   9    yellow on it, and I believe you showed some pictures of the

2:43:16 10     black and yellow Nextel banners that are known, you said are

2:43:20 11     known for with Sprint.     Is that correct?

2:43:21 12     A.   Yes.

2:43:26 13     Q.   T-Mobile is not moving that forward are they?        The black and

2:43:30 14     yellow, they've abandoned that.

2:43:35 15     A.   T-Mobile has the color magenta and they are using T-Mobile,

2:43:44 16     the color magenta, for their overarching brand.

2:43:57 17     Q.   Okay.    You referred to the two CAT boxes or the CAT devices,

2:44:02 18     and I believe you turned one of them on; is that correct?

2:44:04 19     A.   I have both of them on.

2:44:07 20     Q.   Did you play the sound for both of them?

2:44:11 21     A.   I just played it on one.

2:44:18 22     Q.   And these are devices from 2021 or 2022; is that correct?

2:44:24 23     A.   Yeah, launched in 2021, they're actively sold.

2:44:30 24     Q.   Do you have any of the devices that Sprint used with the

2:44:35 25     Nextel -- what you've referred to as the Nextel chirp sound,


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2:44:41   1    that sound, do you have any devices here today from 2015 to

2:44:44   2    2022?

2:44:52   3    A.     Do -- there may be some additional devices.         These are the

2:44:53   4    ones that I have here right now.

2:44:57   5                   THE COURT:     The question is do you have any?

2:45:01   6                   THE WITNESS:     I submitted as evidence or, like, on me?

2:45:03   7                   THE COURT:     I don't know.   He asked you do you have

2:45:05   8    any.

2:45:05   9           BY MR. KERNELL:

2:45:08 10     Q.     Did you bring any with you?

2:45:13 11     A.     I just have my iPhone which --

2:45:19 12     Q.     Okay.     Do you know if counsel for T-Mobile Sprint brought

2:45:29 13     any of those devices from 2015 to now that will play the sound

2:45:32 14     on them?

2:45:39 15     A.     I believe so.        There were several boxes that we had of

2:45:40 16     phones.

2:45:44 17     Q.     Do you have them at your disposal?

2:45:49 18     A.     No, I just have these two phones right here.

2:45:52 19     Q.     And both of those two phones that you have, those CAT boxes,

2:46:03 20     or the CAT phones, they just have Nextel printed on the label

2:46:06 21     next to a recycling bin, don't they?

2:46:08 22     A.     Yes, they do.

2:46:12 23     Q.     They don't have it on the box itself anywhere, it's just on

2:46:14 24     this printed label.

2:46:26 25     A.     These boxes are branded by the device manufacturer, so you


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2:46:30   1    really don't have the carrier branded on the box.            You brand it

2:46:35   2    on the label.     That's so that if you -- if we end up with an

2:46:40   3    extra inventory, you can move that stuff around.            I would kind

2:46:47   4    of say even though look at an iPhone, no one really brands it

2:46:51   5    for the carrier, it's just the white box with the phone in it

2:46:54   6    and that's how packaging has evolved.

2:47:03   7                 MR. KERNELL:     I'm looking for those --

2:47:09   8                 (Counsel conferring)

2:47:21   9                 MS. DeFORD:     Carl, could you pull up Exhibit 125

2:47:22 10     please?

2:47:25 11                  THE COURT:     This is Exhibit 125?

2:47:26 12                  MS. DeFORD:     Yes, Your Honor.     This was previously

2:47:28 13     admitted.

2:47:32 14                  MR. KERNELL:     So can I go to the next?     Is this

2:47:39 15     something I can flip through?        Okay.      If we can go to the next

2:47:42 16     slide.    And then the next one.

2:47:42 17          BY MR. KERNELL:

2:47:51 18     Q.   So Mr. Wiley, you said that the manufacturers or the

2:47:54 19     companies don't put their names on the boxes anymore.            I believe

2:47:58 20     that was your testimony, they put them on the label?

2:48:05 21     A.   I mean, it has evolved.        Some devices have it, some don't.

2:48:12 22     Q.   Okay.     So this device has T-Mobile.com, Metro by

2:48:16 23     T-Mobile.com or Sprint.com, do you see that?

2:48:23 24     A.   Yes, those are our main brands as we operate as overarching

2:48:27 25     brand where you can go to Sprint.com to buy devices.


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2:48:35   1    Q.   T-Mobile is not an overarching brand, correct?

2:48:38   2    A.   I would say that's the name of the company.         That would be

2:48:40   3    an overarching brand.

2:48:44   4    Q.   I'm sorry, I misspoke.        Nextel is not an overarching brand

2:48:47   5    of T-Mobile?

2:48:51   6    A.   I would call it a sub-brand that we use to market our

2:48:53   7    push-to-talk services.

2:49:01   8    Q.   So it's a niche brand on push-to-talk devices.

2:49:06   9    A.   A niche, but very important market of business customers and

2:49:12 10     government, education, first responders.

2:49:15 11     Q.   Okay.     But that's a very small segment of the population.

2:49:19 12     Correct?

2:49:25 13     A.   I mean, it's smaller than the consumer side but --

2:49:30 14     Q.   Vastly smaller than the consumer side, wouldn't you agree?

2:49:33 15     A.   I don't know exact break-down.

2:49:36 16     Q.   You don't have in your possession at T-Mobile, you don't

2:49:43 17     know a break-down as to what part of the market or of the sales

2:49:47 18     that are through the push-to-talk devices that T-Mobile offers

2:49:53 19     as opposed to their total offering?

2:49:54 20                  MS. DeFORD:     Objection, Your Honor.   There's no

2:49:56 21     foundation and I'm not sure the relevance of this.

2:49:58 22                  THE COURT:     I'm not either, but I'll permit him to

2:50:02 23     answer the question if he knows.

2:50:05 24                  THE WITNESS:     I don't know our current consumer

2:50:10 25     numbers.     They may be in public records, but those aren't things


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2:50:13   1    that I track.

2:50:13   2           BY MR. KERNELL:

2:50:25   3    Q.     Now, at the trade show, you saw some Defendants' Nextel

2:50:28   4    devices, correct?

2:50:30   5    A.     From a distance.

2:50:34   6    Q.     Did you ask to operate any of those devices?

2:50:40   7    A.     No, I said I saw them from a distance.     I didn't talk to

2:50:40   8    anyone.

2:50:45   9    Q.     In the device I believe that you looked at that you said was

2:50:49 10     produced in this case, do you know the history of that device at

2:50:51 11     all?

2:50:53 12     A.     No.

2:50:56 13     Q.     Do you know if Sprint had asked for an operating device?

2:51:05 14     A.     Well, this is a trademark lawsuit.     I would -- can't imagine

2:51:09 15     someone would say send me a nonoperating device.         And I would

2:51:13 16     think you would want to lead with your best foot forward and

2:51:16 17     send an operating device so that people can check it out.

2:51:20 18     Q.     Do you know if Sprint asked for an operating device from

2:51:22 19     Defendants?

2:51:27 20     A.     I think that would be implied.    I don't know what was asked,

2:51:30 21     but the thought that you would have to say "send me a working

2:51:36 22     device" doesn't really make sense.

2:51:39 23     Q.     So this could have been a used device that was in someone's

2:51:43 24     drawer that says hey, I want to see a device that has Nextel on

2:51:46 25     it as an example, or it could have been a spare device for


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2:51:49   1    Defendants, correct?

2:51:57   2    A.   Yeah, that makes sense.       But I would still think I would --

2:51:59   3    I would send a working device if it was me.

2:52:01   4    Q.   But you're not Defendants.

2:52:03   5    A.   I am not the Defendants.

2:52:08   6    Q.   And you don't know exactly what Sprint asked for, do you?

2:52:09   7                 MS. DeFORD:    Your Honor, he's answered this question.

2:52:12   8                 THE COURT:    Yes, he has.   Don't badger.   Move on.

2:52:12   9         BY MR. KERNELL:

2:52:21 10     Q.   So after you viewed this device, when you first saw it, do

2:52:25 11     you know when that was in 2018 time frame?

2:52:34 12     A.   I believe this was 2018, 2019 before my deposition.

2:52:40 13     Q.   Did you then ask Defendants for a working device?

2:52:43 14     A.   No, I didn't.

2:52:53 15     Q.   So at the time, the complete time that you've been at

2:52:59 16     Sprint, going back to when you were hired at Nextel and if I

2:53:04 17     recall correctly, you were first working for Nextel and then for

2:53:05 18     Sprint is that correct?

2:53:07 19     A.   That is correct.

2:53:12 20     Q.   And in that time period, had Sprint ever sold a device that

2:53:14 21     was strictly a walkie-talkie?

2:53:24 22     A.   Sprint hadn't sold a device that was just a walkie-talkie.

2:53:26 23     Q.   Okay.

2:53:31 24     A.   Our services typically have phone calls, phone calling,

2:53:39 25     data, text messaging, they are really kind of all-in-one.


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2:53:53   1    Q.   Now, you also looked at some of the devices, like the i400

2:53:59   2    or the i450.    Do you recall that device?

2:54:04   3    A.   From the Defendants Nextel Worldwide?       I get confused

2:54:12   4    because that i400, i450 sounds like a Motorola brand.

2:54:17   5    Q.   Does Motorola have a trademark on the i450?

2:54:23   6    A.   I don't know anything about Motorola's trademarks.

2:54:33   7    Q.   Does Motorola -- and if Mr. Kohman's testimony we heard

2:54:33   8    earlier --

2:54:35   9               MS. DeFORD:    Your Honor, he wasn't in the courtroom for

2:54:37 10     Mr. Kohman's testimony.

2:54:39 11                THE COURT:    I don't really know where you're going with

2:54:43 12     this, but ask him questions about what he knows.

2:54:43 13          BY MR. KERNELL:

2:54:51 14     Q.   Do you know how the "I" nomenclature on the Motorola phones

2:54:54 15     came about?

2:55:04 16     A.   I don't know how it came about.      I can say what I believe it

2:55:05 17     represents.

2:55:10 18     Q.   Doesn't it represent the iDEN network?

2:55:14 19     A.   That would be my answer for the iDEN network that Motorola

2:55:15 20     manufactured.

2:55:20 21     Q.   And then in 2013 when the iDEN network was shut down,

2:55:28 22     Motorola dropped the "I" nomenclature for phones, isn't that

2:55:31 23     correct?

2:55:36 24     A.   No, I believe Motorola -- I mean, I know this just because

2:55:40 25     I'm in the space, but I know Motorola to still sell iDEN phones.


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2:55:43   1    I don't know if they're still selling them today, it's been a

2:55:52   2    long time.    But I've seen the "I" with like a "swoosh" on it for

2:56:01   3    their devices in other countries, and I believe even at the

2:56:04   4    Newark airport I've seen some of those devices around.          So I

2:56:06   5    would say they still use it.

2:56:10   6    Q.   But those are for specialized -- for specialized Motorola

2:56:13   7    networks, correct?

2:56:18   8    A.   Well, they're more iDEN networks so that when the "I" is

2:56:20   9    used, it's for an iDEN network.

2:56:22 10     Q.   Correct.   And those are not Sprint networks?

2:56:25 11     A.   They have been Sprint networks.

2:56:30 12     Q.   Today they're not a Sprint network, correct?

2:56:36 13     A.   Yeah, that is correct.     We shut down the iDEN network and

2:56:39 14     evolved to faster technologies with high-speed data.

2:56:44 15     Q.   So other manufacturers use an "I" nomenclature with their

2:56:47 16     phones too, the iPhone.

2:56:54 17     A.   They do.   They don't do a "swoosh" underneath them on a

2:57:03 18     line.   And they say "phone".

2:57:44 19               MR. KERNELL:     Let me hand you -- what I'm going to show

2:57:49 20     you is Plaintiff's Exhibit 161 and it's offered into evidence

2:57:52 21     without objection.

2:57:54 22               THE COURT:     161 will be marked in evidence.

2:57:54 23               (Plaintiff's Exhibit 161 in evidence)

2:57:54 24          BY MR. KERNELL:

2:57:59 25     Q.   Do you recognize this catalogue, this Nextel catalogue?


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2:58:10   1    A.   I don't know if I have seen this catalogue.         Is this a PDF?

2:58:16   2    Is this something that you may have shown at a deposition?           I

2:58:18   3    don't recognize it.

2:58:24   4    Q.   Let me look, point you to, this is Page 3 of the catalogue,

2:58:33   5    I think -- well it's two -- keep going down, Wayne.         This one.

2:58:36   6    The i450.     Do you see that one?

2:58:38   7    A.   I do.

2:58:46   8    Q.   Is that similar to the device that you have, the Nextel

2:58:48   9    device there?

2:58:54 10     A.   Yes, from my view here, it looks like it is.

2:59:00 11     Q.   And does Sprint sell a device that looks like the i450?

2:59:03 12     A.   No, we do not.

2:59:11 13     Q.   And if we go up to the previous, the i315, does Sprint sell

2:59:13 14     a device --

2:59:15 15                  MS. DeFORD:     Your Honor, I'm not sure the relevance of

2:59:18 16     this.   The witness has not even identified what this document

2:59:21 17     is, nor can he.

2:59:23 18                  THE COURT:     The witness has indicated he knows nothing

2:59:27 19     about this.     Can you move on please?

2:59:28 20                  MR. KERNELL:     Your Honor, the witness identified the

2:59:32 21     i450 as the device that he has in front of him.

2:59:35 22                  THE COURT:     No, he didn't.   He said it's similar.   He

2:59:41 23     did not say it was the device that was in front, did you?

2:59:44 24                  THE WITNESS:     I said it looked like the similar device.

2:59:47 25                  THE COURT:     He said he was similar, he did not say it


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2:59:48   1    was the device.

2:59:48   2         BY MR. KERNELL:

2:59:51   3    Q.   Mr. Wiley, did you investigate any of the other devices that

2:59:55   4    Defendants were selling under the Nextel trademark?

3:00:04   5    A.   No.   I'm a very busy person and I don't have time to chase

3:00:05   6    down other --

3:00:10   7    Q.   Now, so there was one device that you have, the device that

3:00:15   8    looks similar to the i450, and you don't know if that device

3:00:22   9    actually uses the Sprint sound mark, do you?

3:00:27 10     A.   As I stated before, I couldn't even power it on.        I would

3:00:30 11     have no idea if it uses the sound.

3:00:38 12     Q.   Do you know if Defendants sell any device that uses the

3:00:42 13     Sprint sound mark?

3:00:51 14     A.   This is the only one I've had in my hand.        I don't know.

3:01:30 15     Q.   Let me --

3:01:33 16                THE COURT:     Question please.

3:01:35 17                MR. KERNELL:     No further questions, Your Honor.

3:01:39 18                THE COURT:     Thank you.    Redirect?

3:01:44 19                MS. DeFORD:     I'm sorry.    Thank you, Your Honor.

3:01:44 20                                  REDIRECT EXAMINATION

3:01:44 21          BY MS. DeFORD:

3:01:48 22     Q.   Very, very brief, Mr. Wiley.        Counsel asked you about, and I

3:01:50 23     believe this was his words, whether or not T-Mobile has

3:01:57 24     abandoned the black and yellow mark.         To your knowledge, does

3:02:00 25     T-Mobile still use Nextel in black and yellow?


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3:02:03   1    A.   Nextel is still used in black and yellow.       I could imagine

3:02:06   2    no reason anyone would want to change that coloring.

3:02:08   3    Q.   He also asked you whether or not you had other devices today

3:02:14   4    that use the Nextel chirp.      Specifically I think he mentioned

3:02:20   5    2015 devices.    Do 2015 devices necessarily still work?        What

3:02:23   6    would you have to do to get those activated to demonstrate for

3:02:25   7    the jury that the chirp is on there?

3:02:27   8    A.   I have to think back through the years.       Give me a second.

3:02:39   9    So 2015 would have been -- so a 2015 push-to-talk device would

3:02:46 10     have been using a different technology platform.         I upgraded

3:02:54 11     that to a new push-to-talk platform.       So if we powered up a 2015

3:03:02 12     rugged PTT device, it would not get logged into our current

3:03:06 13     push-to-talk service.     Those devices that go in there that were

3:03:10 14     rugged that could be used today really launched around 2018.           So

3:03:13 15     that was a previous generation of push-to-talk services.

3:03:16 16     Q.   So is the reason today that you only have those two boxes to

3:03:20 17     show the Sprint, the Sprint chirp on the phone, because you

3:03:24 18     don't have other devices that use it, or is it because you would

3:03:27 19     have to go through the process of activating them, giving them

3:03:30 20     SIM cards, connecting them to the network, et cetera?

3:03:36 21     A.   Correct.   Yeah.   I mean, I brought two devices to show a

3:03:40 22     push-to-talk call here, and these are the latest and greatest.

3:03:43 23     Q.   And you understand you're under oath today right, Mr. Wiley?

3:03:44 24     A.   Yes.

3:03:48 25     Q.   How many devices does Sprint sell that use the Sprint chirp


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3:03:49   1    mark?

3:03:54   2    A.     Well, of our current there are -- well, use the chirp mark

3:03:58   3    in general or just can I speak to the most current devices?

3:04:01   4    Q.     I'm asking generally.    Let's just take the whole time

3:04:04   5    period.       So counsel has said you don't have a device that has

3:04:09   6    used the Sprint chirp mark in 2015.       You're under oath.     Can you

3:04:13   7    tell this jury, has Sprint used the Sprint sound mark on its

3:04:17   8    devices from 2013 all the way to the present?

3:04:22   9    A.     Yes.    Any rugged PTT device or smartphone that could

3:04:26 10     download the app when a push-to-talk call started, that Nextel

3:04:30 11     chirp is in all of those.

3:04:34 12     Q.     Carl, could you pull up Exhibit 125 for me and go to the

3:04:35 13     third page?

3:04:44 14                   Mr. Wiley, do you remember when counsel was asking you

3:04:50 15     about T-Mobile.com, Metro by T-Mobile.com or Sprint.com on this

3:04:50 16     box?

3:04:51 17     A.     Yes, I do.

3:04:57 18     Q.     Do you see that the lead-in to those websites is see terms

3:05:00 19     and conditions, including the arbitration provision?

3:05:01 20     A.     I do see that.

3:05:04 21     Q.     Is that a brand use on this box, or is that just directing

3:05:07 22     customers where to go if they have questions about the terms and

3:05:08 23     conditions of their device?

3:05:16 24     A.     As I read this, it says see terms and conditions at those

3:05:20 25     locations for additional information, restrictions and details.


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3:05:23   1    Q.   Okay.     And last question, Mr. Wiley.       Counsel was asking you

3:05:27   2    questions about other companies that have branded their devices

3:05:30   3    with an "I" nomenclature.        Do you recall that?

3:05:31   4    A.   Yes.

3:05:33   5    Q.   I think you specifically mentioned the iPhone?

3:05:34   6    A.   Yes, he did.

3:05:39   7    Q.   Does Apple use the Nextel mark in connection with the

3:05:39   8    iPhone?

3:05:47   9    A.   Apple does not use the Nextel mark in connection with the

3:05:47 10     iPhone.

3:05:50 11     Q.   Do the Defendants' use the Nextel mark in connection with

3:05:51 12     their "I" branded phones?

3:05:53 13     A.   Say it again?

3:05:57 14     Q.   Do the Defendants use the Nextel mark in connection with

3:06:00 15     their phones that are branded using that "I" and three numbers

3:06:03 16     that's known for Motorola's Nextel phones?

3:06:08 17     A.   Yes, that's what these stickers are on the phones.           They're

3:06:11 18     putting the Nextel sticker on there.

3:06:13 19                  MS. DeFORD:     Thank you, Mr. Wiley.    I have no further

3:06:13 20     questions.

3:06:16 21                  THE COURT:     Thank you, sir.    You are excused.

3:06:21 22                  MR. RIOPELLE:     Your Honor may he be released?

3:06:35 23                  THE COURT:     Beg your pardon?    You're excused, sir.

3:06:37 24     Thank you.

3:06:40 25                  THE WITNESS:     Thank you.


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3:06:41   1              THE COURT:     We're going to take a short break unless

3:06:48   2    you all are real busy and I hate to interrupt you.

3:06:53   3              MR. KERNELL:     If I may, the agreement between counsel

3:06:53   4    --

3:06:55   5              MR. RIOPELLE:     We can do this outside the jury.

3:06:56   6              THE COURT:     I don't know what's going on.     I'm just

3:06:59   7    about to take a break.     Okay?

3:07:02   8              Yes, sir.     What is your agreement between counsel?

3:07:05   9              MR. KERNELL:     That I was going to exhaust Mr. Wiley.

3:07:08 10     We were going to call him as a witness in our case.

3:07:11 11               THE COURT:     He looks exhausted already.     What are you

3:07:13 12     trying to do?    What do you want to do?

3:07:17 13               MR. KERNELL:     I just have two of the exhibits that he

3:07:20 14     testified to that go -- through those two exhibits with him to

3:07:23 15     show that they are not trademark use.

3:07:24 16               THE COURT:     All right.   Then she's going to have a

3:07:27 17     cross-examination and then you can have a redirect.         Is that

3:07:28 18     what it is?

3:07:31 19               MR. KERNELL:     No.   I was going to do it just these her

3:07:33 20     two, my two.

3:07:35 21               MS. DeFORD:     Your Honor, my understanding was that when

3:07:38 22     you exhaust a witness, you do both your cross and direct.          I

3:07:42 23     didn't object to anything that was outside the scope of my

3:07:45 24     direct examination because that was my understanding about what

3:07:50 25     we were doing.    I didn't expect counsel to get back up and have


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3:07:50   1    --

3:07:52   2              THE COURT:     No.     There's direct, there's cross, and

3:07:59   3    there's redirect.      There is no fourth questioning.     You're

3:08:01   4    excused, sir.    Thank you.

3:08:05   5              We're going to take about a ten minute break.           We'll

3:08:08   6    call you back in in about ten minutes.         We're going to break for

3:08:14   7    the day today at about quarter of 4 if we can.         Quarter of 5.

3:08:18   8    Excuse me.    Tomorrow I'm teaching a class, a Zoom class at 5, so

3:08:22   9    we'll definitely break before 5, but I think I'll do it from

3:08:25 10     here instead of driving home because it could be I'll never get

3:08:28 11     home.   Anyway, ten minutes, see you back in here.

3:08:31 12               COURT SECURITY OFFICER:        All rise for the jury.

3:08:36 13               (Jury out at 3:08 p.m.)

3:17:55 14               (Brief recess)

3:20:03 15               COURT SECURITY OFFICER:        All rise for the jury.

3:20:06 16               (Jury in at 3:20 p.m.)

3:21:50 17               THE COURT:     Be seated please.

3:21:52 18               Please call your next witness.

3:21:54 19               MR. RIOPELLE:        Your Honor, Plaintiffs call Brian

3:22:01 20     Mancuso, it will be read in by deposition, not to be too long.

3:22:02 21               THE COURT:     It's not a video, it's a reading

3:22:04 22     deposition?

3:22:07 23               MR. RIOPELLE:        This is a reading.   There was no video

3:22:12 24     taken, and my colleague Mr. Dan Rogers will play the role of

3:22:13 25     Brian Mancuso.


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3:22:15   1                THE COURT:    Welcome, Mr. Rogers.

3:22:20   2                MR. ROGERS:     Thank you, Judge.

3:22:23   3                THE COURT:    Then I guess this one we need to write down

3:22:25   4    with a court reporter, correct?

3:22:29   5                MR. RIOPELLE:     No, we can also prepare -- because I'm

3:22:33   6    reading from the transcript, it's highlighted here.

3:22:36   7                THE COURT:    Prepare an excerpted transcript.      Is there

3:22:39   8    an agreement that the court reporter does not have to transcribe

3:22:46   9    this?     It will go from the transcript?       Okay.   Thank you.

3:23:27 10                 Can we start?     Ladies and gentlemen, as I told you

3:23:31 11     yesterday, this is a deposition that was taken and -- where is

3:23:38 12     it?     I got it here somewhere.     A deposition is sworn testimony

3:23:43 13     that was given at the time.        He's under oath, swears to tell the

3:23:46 14     truth, the lawyers may ask questions, the court reporter is

3:23:49 15     present and that's what we have now is the transcript that's

3:23:53 16     being read.     When a deposition is read, do not place any

3:23:56 17     significance on the behavior or tone of voice of the person

3:24:02 18     reading the questions or answers.        They're just dummies.       But

3:24:07 19     not in that sense of the word.

3:24:09 20                 MR. RIOPELLE:     I thought only my wife could call me

3:24:11 21     that.

3:24:16 22                 (Deposition of Brian Mancuso read to the jury by Mr.

3:24:16 23     Brian Riopelle and Mr. Daniel Rogers)

3:28:06 24                 MR. RIOPELLE:     For the record, Your Honor, this is

3:28:10 25     trial Exhibit 84 to which there's no objection.


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3:28:13   1              THE COURT:    84?

3:28:15   2              MR. RIOPELLE:       Yes, and it's now on the screen.

3:28:17   3              (Plaintiff's Exhibit 84 admitted in evidence)

3:28:25   4              (Continued reading of deposition).

3:29:50   5              MR. RIOPELLE:       For the record, Your Honor, this is

3:29:56   6    trial Exhibit 95 which is there's no current objection, it is

3:29:58   7    can be admitted.

3:29:59   8              THE COURT:    95.

3:29:59   9              (Plaintiff's Exhibit 95 admitted in evidence)

3:30:00 10               MR. SCHWARTZ:       Your Honor?

3:30:01 11               THE COURT:    Yes.

3:30:03 12               MR. SCHWARTZ:       I don't mean to interrupt, but counsel

3:30:08 13     is reading, and then they're skipping stuff that was submitted

3:30:12 14     as designations and skipping our designations.         Now they may

3:30:16 15     have mentioned something about paring down, but I don't know

3:30:20 16     that they have the right to just automatically pare down our

3:30:27 17     designations without asking about that issue.        So I'm seeing

3:30:32 18     here and they just didn't say our designation.         I'm not sure

3:30:33 19     what's going on here.

3:30:36 20               THE COURT:    Well, I don't know.     Maybe he'll tell us.

3:30:37 21     I don't know.

3:30:39 22               MR. RIOPELLE:       They did not provide their designations

3:30:43 23     to us as counters, it's the same thing we talked about the issue

3:30:45 24     this morning.    If they would like to read them in their case,

3:30:48 25     they are entitled to do so.       But they did not give them to us as


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3:30:51   1    counters, they gave them to us as designations.

3:30:52   2              THE COURT:     All right.     Designations you can bring them

3:30:56   3    in yourself.    If it's not a counter-designation, they don't have

3:30:59   4    to read it at the same time as theirs.        All right?

3:31:01   5              MR. SCHWARTZ:     Okay.     That's fine, Your Honor.

3:31:08   6              THE COURT:     Mr. Rogers isn't coming back, I'm sure.

3:31:09   7              MR. SCHWARTZ:     We're going to get someone prettier,

3:31:10   8    Your Honor.

3:31:15   9              THE COURT:     That's not going to be hard.

3:31:21 10               (Continued reading of deposition)

3:33:39 11               MR. RIOPELLE:     And that concludes the testimony Your

3:33:39 12     Honor.

3:33:41 13               THE COURT:     All right.

3:33:54 14               MS. WHEATLEY:     Plaintiff will call Ryan Rabenold.

3:34:19 15               THE COURT:     There's a little ramp there.      Be careful.

3:34:23 16     When you reach the seat here, please remain standing and raise

3:34:29 17     your right hand.

3:34:29 18               RYAN RABENOLD, PLAINTIFF WITNESS, SWORN.

3:34:35 19               THE COURT:     Please be seated.     You may remove your mask

3:34:37 20     when you're behind the plastic.        Tell us your name and spell it,

3:34:39 21     please.

3:34:43 22               THE WITNESS:     Ryan Rabenold.     R-Y-A-N.

3:34:45 23               THE COURT:     That part I can spell.

3:34:46 24               THE WITNESS:     R-A-B-E-N-O-L-D.

3:34:50 25               THE COURT:     Okay.   You may proceed.


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3:34:50   1                               DIRECT EXAMINATION

3:34:50   2         BY MS. WHEATLEY:

3:34:57   3    Q.   Good afternoon, Mr. Rabenold.      Can you tell -- can you tell

3:35:00   4    the jury where you work?

3:35:04   5    A.   Vaudra International.

3:35:06   6    Q.   What is Vaudra International?

3:35:09   7    A.   We are a private investigations company that specializes in

3:35:10   8    intellectual property investigations.

3:35:16   9    Q.   Okay.    And what is your job title at Vaudra International?

3:35:17 10     A.   Private investigator.

3:35:20 11     Q.   And do you have a private investigator's license?

3:35:20 12     A.   I do.

3:35:24 13     Q.   And what is required to secure a private investigator's

3:35:24 14     license?

3:35:28 15     A.   You need 3,000 hours of investigative experience under

3:35:33 16     direct supervision of a senior investigator, and then you need

3:35:36 17     approval by the Private Protective Services Board of North

3:35:37 18     Carolina.

3:35:40 19     Q.   Okay.    And can you describe your job responsibilities at

3:35:42 20     Vaudra?

3:35:46 21     A.   Yes.    They include anything from counterfeit goods

3:35:52 22     investigations, trademark investigations, diverted goods, stolen

3:35:57 23     goods, background investigations, all types of investigations

3:35:59 24     related to intellectual property.

3:36:04 25     Q.   Okay.    And do you have a standard procedure to determine if


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3:36:06   1    a counterfeit trademark is being used?

3:36:11   2    A.   Yes.     The first step is to complete an evidentiary purchase,

3:36:15   3    so that way you can get your hands on the product and determine

3:36:16   4    authenticity.

3:36:20   5    Q.   Okay.     And were you retained to perform a counterfeiting

3:36:23   6    investigation related to the Nextel mark in this case?

3:36:23   7    A.   Yes.

3:36:26   8    Q.   And who retained you to perform that investigation?

3:36:30   9    A.   McGuireWoods, the counsel for Sprint.

3:36:34 10     Q.   Okay.     And when did you perform that investigation?

3:36:36 11     A.   November of 2018.

3:36:38 12     Q.   Okay.     And to your knowledge, had this lawsuit been filed as

3:36:40 13     of November 2018?

3:36:41 14     A.   Yes, it was already filed.

3:36:46 15     Q.   Okay.     And were you asked to investigate a particular

3:36:49 16     website regarding counterfeiting of Nextel?

3:36:50 17     A.   Yes.

3:36:52 18     Q.   Which website was that?

3:36:54 19     A.   Nextelworldwide.com.

3:37:00 20     Q.   Okay.     And what was the first step of your investigation?

3:37:06 21     A.   I accessed nextelworldwide.com and reviewed it for any

3:37:08 22     information on how to purchase their products.

3:37:11 23     Q.   Okay.

3:37:15 24                  MS. WHEATLEY:   Carl, can we put up Exhibit 69 on the

3:37:18 25     screen?     And this one has no objection, so we'd ask that it be


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3:37:22   1    admitted into evidence.

3:37:23   2                  THE COURT:   69 with no objection is admitted in

3:37:24   3    evidence.

3:37:24   4                  (Plaintiff's Exhibit 69 in evidence)

3:37:27   5          BY MS. WHEATLEY:

3:37:32   6    Q.    So is what is shown here the nextelworldwide.com website

3:37:34   7    that you visited?

3:37:35   8    A.    Yes.

3:37:37   9    Q.    And are you able to tell whose website this is?

3:37:40 10     A.    Yes.     If you look at the bottom it says Nextel,

3:37:41 11     Incorporated.

3:37:44 12     Q.    Okay.     And were you able to link this website to any

3:37:47 13     individuals?

3:37:52 14     A.    Yes.     Nextel, Incorporated is a registered Florida

3:37:58 15     corporation, and I accessed publicly available corporate records

3:38:01 16     with the Secretary of State and determined that Stephen

3:38:04 17     Calabrese is the president of Nextel, Incorporated.

3:38:09 18     Q.    Okay.     Now, were you able to locate any information about

3:38:12 19     how to purchase Nextel devices on this website?

3:38:17 20     A.    Yes.     You would access the contact a dealer on the

3:38:19 21     right-hand side of the page.

3:38:23 22     Q.    Okay.     Carl, do you mind going to Page 8, the contact a

3:38:24 23     dealer sub-page?

3:38:32 24                   Is this the contacted contact a dealer page you looked

3:38:32 25     at?


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3:38:33   1    A.   Yes.

3:38:36   2    Q.   And did you contact any of the dealers listed here?

3:38:39   3    A.   I contacted the two that you're looking at now.

3:38:43   4    Q.   Is that Northeast Two Way Radio Corp and Seacoast

3:38:44   5    Communications?

3:38:45   6    A.   Correct.

3:38:47   7    Q.   And how did you contact them?

3:38:50   8    A.   I called them via the telephone numbers that are listed on

3:38:53   9    the screen.

3:38:56 10     Q.   Okay.    And what did you say when you first contacted these

3:38:57 11     dealers?

3:39:01 12     A.   My first question was are you distributors for

3:39:03 13     nextelworldwide.com.

3:39:05 14     Q.   And how did they respond?

3:39:09 15     A.   They both confirmed that they are distributors.

3:39:13 16     Q.   Did you ask about purchasing Nextel products?

3:39:14 17     A.   Yes.

3:39:17 18     Q.   Okay.    And how did they respond to that?

3:39:21 19     A.   They told me that Nextel products are available for purchase

3:39:22 20     or rent.

3:39:27 21     Q.   Okay.    And were you able to get any pricing for the Nextel

3:39:29 22     products the dealers were selling?

3:39:35 23     A.   Yes.    There were approximately $250 to $400 a unit.

3:39:41 24     Q.   Okay.    And did that -- were there any other costs involved

3:39:44 25     in purchasing a unit potentially?


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3:39:46   1    A.   Yes, activation fees and monthly fees.

3:39:50   2    Q.   Okay.    Did you talk with either dealer about the Nextel

3:39:51   3    chirp?

3:39:54   4    A.   Yes.    I specifically remember talking to Northeast Two Way

3:39:59   5    Radio Corp about the Nextel chirp.

3:40:00   6    Q.   Do you remember the name of the gentleman you talked to at

3:40:01   7    northeast?

3:40:05   8    A.   Yes.    Jason Martocchio.

3:40:09   9    Q.   And what did he say?

3:40:13 10     A.   He said the radios do not have the chirp at the moment, but

3:40:17 11     they are working on integrating them.       And, you know, I asked

3:40:24 12     you know could I, you know, have the Nextel chirp -- if I

3:40:26 13     purchased these radios now, could I have the Nextel chirp later

3:40:30 14     and he said I assume so, through a firmware upgrade.

3:40:35 15     Q.   Okay.    And when you were talking to Jason, how did you refer

3:40:36 16     to the Nextel chirp?

3:40:38 17     A.   I called it the Nextel chirp.

3:40:42 18     Q.   Okay.    Did Jason ask you any questions about what the Nextel

3:40:43 19     chirp was?

3:40:46 20     A.   No, he seemed to know exactly what I was talking about.

3:40:51 21     Q.   Okay.    Did you end up purchasing anything from either

3:40:51 22     dealer?

3:40:54 23     A.   Yes.    I purchased two radios from Northeast Two Way Radio

3:40:57 24     Corp.

3:41:01 25     Q.   Okay.    And what was the purchase process to get the radios


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3:41:02   1    from Northeast?

3:41:07   2    A.   So on their website you fill out the new customer set-up

3:41:10   3    form, then you send them an e-mail telling them what you would

3:41:11   4    like to purchase.

3:41:15   5    Q.   Okay.     And did you receive -- so you did finalize the

3:41:16   6    purchase?

3:41:16   7    A.   Yes.

3:41:19   8    Q.   Okay.     Did you receive what you purchased from Northeast?

3:41:20   9    A.   Yes.     They were shipped to me.

3:41:24 10     Q.   Okay.     And after you received the radios, what did you do

3:41:26 11     with them?

3:41:30 12     A.   I photographed them, I processed them as evidence, assigned

3:41:33 13     evidence numbers to them and we kept them secured in our

3:41:35 14     evidence locker.

3:41:38 15     Q.   Okay.

3:41:42 16                  MS. WHEATLEY:   Your Honor, I'd like to introduce

3:41:46 17     Exhibit 135 which has no objections and move to admit this in

3:41:47 18     evidence.

3:41:49 19                  THE COURT:   135 is admitted in evidence without

3:41:50 20     objection.

3:41:50 21                  (Plaintiff's Exhibit 135 in evidence)

3:41:53 22                  MS. WHEATLEY:   May I approach to give this to the

3:41:54 23     witness?

3:41:56 24                  THE COURT:   You may.   Actually give it to the court

3:42:00 25     security officer, he'll give it to the witness.         It's easier.


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3:42:09   1         BY MS. WHEATLEY:

3:42:14   2    Q.   Mr. Rabenold, do you recognize what I've just handed you?

3:42:15   3    A.   Yes.

3:42:16   4    Q.   What is that?

3:42:20   5    A.   This is one of the radios that I purchased from Northeast

3:42:22   6    Two Way Radio Corp.

3:42:26   7    Q.   Okay.     Did you mark the outside of the box in any way?

3:42:28   8    A.   Yes, they have evidence tags.

3:42:39   9    Q.   Okay.     And do you mind unpacking the device?        Carl, can we

3:42:42 10     pull up -- we've got a picture of the device here so people can

3:42:49 11     see it on the screen.        So do you mind showing the jury where on

3:42:51 12     this device it says Nextel?

3:42:57 13     A.   Yes.     So on the front face, on this crooked yellow and black

3:42:59 14     sticker it says Nextel.

3:43:03 15                  MR. SCHWARTZ:     Objection, Your Honor.     Describing it as

3:43:03 16     crooked.

3:43:06 17                  THE COURT:     I don't think he meant like it's crook, I

3:43:09 18     think he meant that it's not straight.

3:43:11 19                  MR. SCHWARTZ:     I looked at the picture.

3:43:13 20                  THE COURT:     The picture looks straight.     Is it?

3:43:16 21                  MR. SCHWARTZ:     If the witness could just stick to the

3:43:16 22     --

3:43:18 23                  THE WITNESS:     Looks crooked to me.

3:43:21 24                  THE COURT:     He's describing it.   You can cross-examine

3:43:25 25     him on whether it really is crooked.         You can impeach him.    He


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3:43:29   1    thinks it's crooked.         I didn't think he meant anything

3:43:31   2    pejorative.

3:43:34   3                 THE WITNESS:     And then when you remove the battery

3:43:39   4    pack, there's this rectangular white and black sticker that says

3:43:41   5    Nextel.

3:43:41   6         BY MS. WHEATLEY:

3:43:48   7    Q.   Okay.     And you can set that one aside.     Give me a second.

3:43:51   8                 You mentioned earlier that Jason said that Northeast

3:43:57   9    was working on adding the chirp.         Have you located any other

3:43:58 10     information on that?

3:44:02 11     A.   Yes.     There's a recent video, I believe it's from February

3:44:07 12     2022, that's been uploaded to You Tube by Northeast Two Way

3:44:16 13     Radio Corp, and it's a demonstrative video.

3:44:19 14     Q.   How do you know the video is from Northeast?

3:44:24 15     A.   So I notice the company name and logo in the video which are

3:44:28 16     on the invoice from this purchase.         The telephone number that's

3:44:31 17     on the screen during the video is the same telephone number on

3:44:36 18     my invoice from this purchase.         The caption of the video says

3:44:42 19     "Nextel Boston" which is their website, and then in the

3:44:45 20     beginning of the video, the male who is narrating the video,

3:44:50 21     says "I'm Jason from Northeast Two Way Radio Corp in Woburn,

3:44:56 22     Massachusetts".     And I recognize that voice and accent, that

3:45:03 23     name and, you know, Northeast Two Way Radio Corp is in Woburn,

3:45:04 24     Massachusetts.

3:45:08 25                  MS. WHEATLEY:     Before we put on the video, I'd like to


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3:45:15   1    play for you Exhibit 8 which is the Nextel chirp.

3:45:21   2                  (Chirp)

3:45:25   3                  MS. WHEATLEY:    Now, I'd like to introduce Exhibit 158

3:45:28   4    and there were no objections on this one.

3:45:31   5                  THE COURT:    158 admitted in evidence.

3:45:32   6                  (Plaintiff's Exhibit 158 in evidence)

3:45:36   7                  MS. WHEATLEY:    So Carl, if you can go ahead and play

3:45:38   8    it.

3:45:55   9                  (Plaintiff's Exhibit 158 video Exhibit playing)

3:48:25 10           BY MS. WHEATLEY:

3:48:29 11     Q.    Now Mr. Rabenold, before that video I played for you the

3:48:32 12     Nextel chirp.       Did you hear the Nextel chirp in the video that

3:48:33 13     was just played?

3:48:34 14     A.    Yes.

3:48:36 15     Q.    Where did you hear it?

3:48:42 16     A.    The very first device that Jason picks up to demonstrate, I

3:48:47 17     believe it's the one minute eight second mark, I heard the

3:48:48 18     Nextel chirp.

3:48:53 19     Q.    All right.        And Mr. Rabenold, did you do any other

3:48:56 20     investigation related to Nextel website?

3:48:57 21     A.    Yes.

3:49:01 22     Q.    Which other Nextel website did you visit?

3:49:04 23     A.    Well, there were a few, but I guess we could start with

3:49:08 24     nextelmobileworldwide.com.

3:49:13 25     Q.    Okay.     Exhibit 67 was previously admitted, so if we could


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3:49:18   1    put that on the screen?      Is this the nextelmobileworldwide.com

3:49:21   2    website you visited?

3:49:21   3    A.   Yes.

3:49:26   4    Q.   Okay.     Now, were you able to determine if there is any link

3:49:32   5    between this website and the Calabrese Nextel, Inc.

3:49:35   6    nextelworldwide.com website?

3:49:36   7    A.   Yes, there is.

3:49:41   8    Q.   Okay.     Where did you see that link?

3:49:43   9    A.   If you --

3:49:49 10     Q.   I realize this can't scroll.         Carl, can you go to Page 6?

3:49:54 11     A.   Right here.     So you'll see under this little animated guy

3:49:58 12     here, "visit our new Nextel devices and telecommunications

3:50:02 13     services, please visit nextelworldwide.com".

3:50:08 14     Q.   All right.     And now did you visit any other Nextel websites?

3:50:14 15     A.   Nextelisback.com and getnextel.com.

3:50:17 16     Q.   And what did you learn about those websites?

3:50:23 17     A.   Both redirect to the current website on the screen here,

3:50:29 18     Nextelmobileworldwide.com, which is Kaplan's website.

3:50:31 19                  MS. WHEATLEY:   Thank you.    No further questions.

3:50:41 20                                   CROSS-EXAMINATION

3:50:41 21          BY MR. SCHWARTZ:

3:50:45 22     Q.   Good afternoon, Mr. Rabenold, my name is Wayne Schwartz, I

3:50:48 23     represent the Defendants.

3:51:10 24                  Can we switch over to my side?

3:51:18 25                  You indicated you were hired by McGuireWoods in


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3:51:20   1    connection with this lawsuit?

3:51:20   2    A.   Yes, sir.

3:51:24   3    Q.   And McGuireWoods is the Plaintiff's counsel, correct?

3:51:25   4    A.   Yes, sir.

3:51:28   5    Q.   Did you deal with an attorney at McGuireWoods specifically?

3:51:28   6    A.   Yes, sir.

3:51:30   7    Q.   Was it Lucy Wheatley?

3:51:31   8    A.   Yes, sir.

3:51:33   9    Q.   Was it the attorney that just asked you the questions?

3:51:34 10     A.   Yes, sir.

3:51:37 11     Q.   Did Ms. Wheatley provide you specific information about the

3:51:40 12     Defendants in connection with your investigation?

3:51:45 13     A.   No, sir.    She provided me with a website and asked me if I

3:51:49 14     could see if I could purchase Nextel products from the website.

3:51:53 15     Q.   Isn't that Ms. Wheatley providing you information, how else

3:51:56 16     would you start your investigation, isn't that correct?

3:51:58 17     A.   Well yeah, how else would I start the investigation, yeah,

3:51:59 18     correct.

3:52:02 19     Q.   Ms. Wheatley provided you the information, right?

3:52:03 20     A.   Yes.

3:52:10 21     Q.   And on the screen is marked as 93.       This is your particular

3:52:12 22     report after you did your investigation, correct?

3:52:14 23     A.   Correct.

3:52:19 24     Q.   And that's your company that you work for, Vaudra

3:52:19 25     International?


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3:52:21   1    A.   Correct.

3:52:22   2                THE COURT:   It's not in evidence, is it?

3:52:24   3                MR. SCHWARTZ:   This is in evidence, Your Honor.

3:52:27   4                THE COURT:   How come I don't know that it's in

3:52:30   5    evidence?

3:52:32   6                MS. WHEATLEY:   It has not been admitted, but we have no

3:52:33   7    objection.

3:52:35   8                THE COURT:   The problem is if you show it to the jury,

3:52:36   9    it's got to be in evidence.

3:52:38 10                 MR. SCHWARTZ:   I apologize, Your Honor.     I thought this

3:52:39 11     was in.

3:52:41 12                 THE COURT:   93 is admitted in evidence without

3:52:45 13     objection, offered by the Defendant.       Go ahead.

3:52:45 14                 (Plaintiff's Exhibit 93 in evidence)

3:52:45 15          BY MR. SCHWARTZ:

3:52:52 16     Q.   Do you see there on the very first paragraph on November 19,

3:52:57 17     2018, Lucy Wheatley requested a trademark counterfeiting

3:52:59 18     investigation.    Do you see that?

3:52:59 19     A.   Yes, sir.

3:53:03 20     Q.   And then in the second paragraph it identifies you, this is

3:53:05 21     you -- prepared this report, correct?

3:53:06 22     A.   Yes, sir.

3:53:10 23     Q.   And in the second paragraph it says "Lucy Wheatley provided

3:53:14 24     the following information".      Would you read those two sentences?

3:53:19 25     A.   "Lucy Wheatley provided the following information,


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3:53:24   1    RetroBrands, Inc. who calls itself Nextel, appears to be selling

3:53:24   2    counterfeiting Nextel-branded phones, radios or walkie-talkies,

3:53:27   3    to distributors that are listed on their website

3:53:30   4    nextelworldwide.com".

3:53:32   5    Q.   Please, the second sentence.

3:53:36   6    A.   "The company is run by Stephen Calabrese, Jeffrey Kaplan and

3:53:37   7    Jose Rivera".

3:53:40   8    Q.   You said that you looked up the Florida Secretary of State,

3:53:41   9    correct?

3:53:42 10     A.   Correct.

3:53:45 11     Q.   Did you determine that Jose Rivera was the vice president of

3:53:49 12     Nextel, Inc.?

3:53:55 13     A.   I don't recall 100%, but I do remember seeing his name tied

3:53:59 14     to some sort of Nextel entity.

3:54:02 15     Q.   And Ms. Wheatley was the one who provided you that

3:54:05 16     information concerning Mr. Rivera, correct?

3:54:12 17     A.   She just provided his name.      She did not provide a company

3:54:13 18     name.

3:54:16 19     Q.   Did you look up or do any investigation concerning

3:54:19 20     RetroBrands on the Secretary of State website?

3:54:21 21     A.   No, sir.

3:54:25 22     Q.   But you're tasked with investigating that particular company

3:54:28 23     it says it right there, RetroBrands, Inc., right?

3:54:32 24     A.   Our focus was on nextelworldwide.com and completing a

3:54:33 25     purchase.


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3:54:36   1    Q.   So was it an incomplete investigation, you only decided to

3:54:38   2    do part of the investigation?

3:54:41   3               MS. WHEATLEY:   Objection, foundation.

3:54:42   4               THE COURT:   Sustained.

3:54:42   5         BY MR. SCHWARTZ:

3:54:44   6    Q.   You didn't do any investigation concerning RetroBrands,

3:54:45   7    Incorporated?

3:54:53   8    A.   No, that wasn't my task.     It's not what I was asked to do.

3:54:59   9    Q.   Were you told that RetroBrands USA, Incorporated doesn't

3:55:02 10     have anything to do with selling radios?

3:55:08 11     A.   Again, I never got into any investigation into RetroBrands,

3:55:12 12     Incorporated.    If you look at the first paragraph you'll see

3:55:15 13     what I was instructed to do.

3:55:19 14     Q.   So you were simply tasked with acquiring -- let me finish,

3:55:21 15     please.    You were just simply asked to acquire phones from

3:55:25 16     distributors and then test them, right?

3:55:30 17     A.   Not test them, no.    I was instructed to complete a purchase

3:55:33 18     to see if they are selling counterfeit Nextel phones, radios or

3:55:38 19     walkie-talkies, and if they use the Nextel chirp sound.

3:55:41 20     Q.   So was it just determining if they made the sound?

3:55:42 21     A.   No.

3:55:44 22     Q.   What was the second part?

3:55:48 23     A.   Determining if they're counterfeit Nextel devices and then

3:55:51 24     seeing if they play the Nextel chirp sound.

3:55:55 25     Q.   What did you use to determine if they were going to be a


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3:55:58   1    counterfeit device, and what do you mean by counterfeit device?

3:56:02   2    A.   I was not asked to authenticate the product.        I was asked to

3:56:09   3    get the product in, make the purchase.        Counsel, and -- I assume

3:56:12   4    Sprint and counsel together, made the determination that these

3:56:15   5    are counterfeit.     I don't make those determinations.

3:56:20   6    Q.   Why did you just call it a counterfeit product when that's

3:56:25   7    not what you were tasked to do, correct?

3:56:26   8              MS. WHEATLEY:     Objection, foundation.

3:56:28   9              MR. SCHWARTZ:     The witness testified that he was asked

3:56:32 10     to find out if these were counterfeit, then he just testified

3:56:35 11     that that's not what he was tasked to do.

3:56:35 12               THE WITNESS:     What I meant was --

3:56:38 13               THE COURT:     Wait a second.    What's your point?     Do you

3:56:39 14     want to --

3:56:41 15               MR. SCHWARTZ:     I was just responding to the particular

3:56:43 16     objection, Your Honor.     This is what he testified.

3:56:46 17               THE COURT:     The objection was the foundation.      I don't

3:56:48 18     know -- you know, I know that you want to say it and you're

3:56:51 19     allowed to say it, and there's plenty of times that you'll be

3:56:53 20     able to argue to the jury that he lied to you because he said

3:56:57 21     this and that.     But asking the question isn't the way of doing

3:57:03 22     it, so I'll sustain the objection.        Ask another question.

3:57:06 23               MR. SCHWARTZ:     I will, Your Honor.    Thank you.

3:57:06 24          BY MR. SCHWARTZ:

3:57:15 25     Q.   After you bought the two radios from Northeast Two Way Radio


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3:57:23   1    Corp, they arrived at the location where you had them sent,

3:57:24   2    right?

3:57:24   3    A.   Correct.

3:57:28   4    Q.   And then you powered them up?

3:57:33   5    A.   I believe so, if I remember correctly.       That was in 2018.

3:57:43   6    Q.   And if you could just scroll up just a little bit, stop.

3:57:58   7                Do you see at the bottom of your report, the third

3:58:00   8    sentence from the bottom, would you read that to the jury

3:58:01   9    please?

3:58:03 10     A.   Where it says "the radios had"?

3:58:04 11     Q.   Yes.

3:58:04 12     A.   Right there?

3:58:05 13     Q.   Yes, please.

3:58:08 14     A.   "The radios have a push-to-talk sound but do not have the

3:58:10 15     Nextel chirp sound".

3:58:14 16     Q.   So you determine after powering up the phones that they

3:58:15 17     actually didn't have the chirp sound, right?

3:58:20 18     A.   No, that paragraph is what Jason at Northeast Two Way Radio

3:58:23 19     Corp told me.

3:58:26 20     Q.   Did you power up the phones?

3:58:30 21     A.   I don't recall.    I'd have to look through this report

3:58:34 22     further.    This is in 2018.    If you go -- if you scroll through

3:58:39 23     the report, I'm sure you'll find something where I process them

3:58:43 24     as evidence and all that.

3:58:47 25     Q.   Why would you tell Ms. Wheatley that they don't have the


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3:58:52   1    chirp sound if you didn't even listen to the radio?

3:58:54   2               MS. WHEATLEY:     Objection.

3:58:55   3               THE WITNESS:     When did I say that?

3:58:59   4               MR. SCHWARTZ:     Right here in your investigative report.

3:59:00   5               THE COURT:     If you read it, what it says that "Jason

3:59:04   6    told him that it had no chirp sound."       That's what it says in

3:59:09   7    that paragraph.    Are you talking about somewhere else?

3:59:12   8               THE WITNESS:     It says "Jason informed me of the

3:59:16   9    following", and then you continue reading and that's where that

3:59:19 10     part comes in to play.

3:59:34 11                (Counsel conferring)

3:59:34 12          BY MR. SCHWARTZ:

3:59:39 13     Q.   You bought phones also from Seacoast Communications,

3:59:39 14     correct?

3:59:42 15     A.   No.

3:59:59 16     Q.   So you spoke to someone at Seacoast, they told you they sold

4:00:01 17     the particular phone but then you didn't purchase the phones

4:00:02 18     from them?

4:00:02 19     A.   Correct.

4:00:06 20     Q.   What was the reason for not purchasing the phone from them?

4:00:10 21     A.   I just chose to go with Northeast Two Way Radio.

4:00:16 22     Q.   If you scroll down please,

4:00:23 23     A.   So I did turn the radios on.

4:00:30 24     Q.   So Mr. Rabenold, you're tasked with doing this

4:00:32 25     investigation, you buy just the one phone, I guess, from


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4:00:37   1    Northeast Two Way, and then now you did power up the radio

4:00:39   2    radios, right?

4:00:42   3    A.   I bought two radios and according to my report, it's coming

4:00:46   4    back to me, yes, I turned the radios on.

4:00:50   5    Q.   When you say it's coming back to you, is that because your

4:00:55   6    memory from 2018 is not as good today?

4:01:00   7    A.   It was quite a while ago.

4:01:08   8    Q.   On Page 4 you see what you wrote in the summary to Ms.

4:01:14   9    Wheatley, the first bullet point?       Would you read that to the

4:01:14 10     jury?

4:01:19 11     A.   "When you turn the radios on, a noise is emitted but it does

4:01:22 12     not appear to be the Nextel chirp".

4:01:37 13     Q.   When you spoke to this gentleman at Seacoast Communications

4:01:43 14     as indicated in your report, he told you the devices do not have

4:01:45 15     the Nextel chirp sound, correct?

4:01:49 16     A.   If that's what my report says then correct, but I do not

4:01:52 17     recall.

4:02:10 18     Q.   See the first paragraph on Page 2, last sentence?

4:02:12 19     A.   Yep.    I do see that.

4:02:15 20     Q.   Does that refresh your recollection as to what he told you

4:02:17 21     about the phones being offered for sale?

4:02:18 22     A.   Yes, sir.

4:02:21 23     Q.   And he told you that the devices do not have the Nextel

4:02:23 24     chirp sound, right?

4:02:24 25     A.   Yes, sir.


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4:02:27   1    Q.   They have some sort of sound is what you wrote.

4:02:29   2    A.   Yes, sir.

4:02:45   3    Q.   Do you have any background, sir, in audio engineering?

4:02:46   4    A.   No, sir.

4:02:51   5    Q.   Do you know what a radio frequency megahertz is?

4:02:52   6    A.   I don't have a background in that, no.

4:02:56   7    Q.   Do you even know what the actual Nextel as you describe it,

4:03:00   8    chirp, the specific sound specifications are?

4:03:02   9    A.   I know what it sounds like.

4:03:05 10     Q.   No, I didn't ask you that.     I asked you do you know what the

4:03:10 11     specific radio frequency specs are for that sound?

4:03:11 12     A.   No.

4:03:14 13     Q.   You're just going by what you're hearing when you --

4:03:16 14     A.   It's a pretty distinct sound.

4:03:19 15     Q.   I'm asking you, you're just going by your hearing, correct?

4:03:21 16     A.   Correct.

4:03:28 17     Q.   And when you testified earlier about watching some You Tube

4:03:31 18     video and then you were listening to the gentleman talk about

4:03:38 19     the radios, you're going again by hearing over a You Tube video?

4:03:39 20     A.   Yes.

4:03:43 21     Q.   That's what you're basing your opinion that it sounds like

4:03:45 22     the Nextel chirp, correct?

4:03:47 23     A.   I mean, it's a very distinct sound.

4:03:50 24     Q.   Is there a reason, sir, why you didn't actually purchase a

4:03:56 25     phone, this new i615 that they were describing in the You Tube


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4:03:57   1    video?

4:04:00   2    A.   I just became aware of that video.

4:04:03   3    Q.   That was almost two months ago.       Is there a reason why you

4:04:07   4    couldn't have just called up and expedited the purchase of that

4:04:08   5    particular phone?

4:04:10   6    A.   Like I said, I just learned of the video recently.

4:04:12   7    Q.   How did you learn of the video?

4:04:14   8    A.   I was told about it by counsel.

4:04:18   9    Q.   So three years later, they were the ones who told you about

4:04:22 10     the, this Boston --

4:04:23 11                 MS. WHEATLEY:     Objection, foundation and outside the

4:04:25 12     scope.

4:04:27 13                 THE COURT:     I'll permit him to ask it.   I'm not sure

4:04:33 14     about the relevance of it, but I'll permit him to ask that

4:04:35 15     question.     You may answer that question.

4:04:37 16                 THE WITNESS:     Can you repeat the question please?

4:04:39 17                 THE COURT:     Three years later they were the ones that

4:04:40 18     told you about it?

4:04:43 19                 THE WITNESS:     The video was posted in February 2022.

4:04:43 20          BY MR. SCHWARTZ:

4:04:45 21     Q.   Right.    They were the ones that told you about the video?

4:04:46 22     A.   Yes.

4:04:49 23     Q.   Why did they need to tell you about the video?

4:04:50 24                 MS. WHEATLEY:     Objection, foundation.

4:04:52 25                 THE COURT:     No, I'll permit him to answer the question.


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4:04:56   1    Were you still doing an investigation in February of 2022?

4:05:00   2              THE WITNESS:     I was asked to see if this is the same

4:05:05   3    Northeast Two Way Radio Corp that I purchased from, because back

4:05:11   4    in 2018, Northeast Two Way Radio Corp told me there's no Nextel

4:05:14   5    chirp.   But according to this video it sure sounds like they're

4:05:16   6    using the Nextel chirp now.

4:05:16   7         BY MR. SCHWARTZ:

4:05:21   8    Q.   So you want this jury to make decisions based upon just your

4:05:25   9    audio sound of a You Tube video for maybe three or four seconds.

4:05:28 10     Is that what you're saying?

4:05:31 11     A.   It appears it's the Nextel chirp.

4:05:33 12     Q.   Based upon you, right?

4:05:36 13     A.   I mean, they can make their own judgment.

4:05:41 14     Q.   But you didn't -- were you told not to purchase the i615 as

4:05:43 15     part of your investigation?

4:05:47 16     A.   Honestly, I didn't even know that product was available.

4:05:53 17     Q.   My question was were you asked to purchase the i615 as part

4:05:54 18     of your investigation?

4:05:56 19               THE COURT:     That wasn't your question.     Your question

4:06:02 20     was were you told not to purchase the i615 as part of your

4:06:02 21     investigation.

4:06:05 22               THE WITNESS:     After I purchased these two radios, I was

4:06:08 23     never asked to make another purchase.

4:06:08 24          BY MR. SCHWARTZ:

4:06:12 25     Q.   And that includes being told about this particular video in


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4:06:14   1    February of 2022.

4:06:18   2    A.   I was not told about the video in February of 2022.

4:06:19   3    Q.   When were you told about it?

4:06:20   4    A.   This month.

4:06:23   5    Q.   When this month?

4:06:25   6    A.   A couple days ago.

4:06:26   7    Q.   A couple of days ago?

4:06:27   8    A.   Yes.

4:06:29   9    Q.   Can you be more specific?

4:06:32 10     A.   I honestly do not recall what day.

4:06:35 11     Q.   And who spoke to you about it a couple of days ago?

4:06:40 12     A.   Ms. Wheatley.    We had just learned about it.

4:06:43 13     Q.   But she obviously didn't just learn about it, correct?

4:06:47 14     A.   I don't know.    I'm not her.

4:07:00 15     Q.   Between the purchase of the two radios in or around

4:07:05 16     November, December of 2018 and you sitting here today, did you

4:07:06 17     purchase any other radios?

4:07:07 18     A.   No, sir.

4:07:10 19     Q.   Did you listen to any other of the Defendants' radios that

4:07:13 20     they may have in their possession?

4:07:15 21     A.   No, sir.

4:08:01 22     Q.   Were you told by Ms. Wheatley that the Nextel network was

4:08:01 23     shut down?

4:08:03 24     A.   No, sir.

4:08:09 25     Q.   Were you told by Ms. Wheatley that the iconic yellow and


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4:08:15   1    black Nextel logo was abandoned by Sprint at the time of your

4:08:16   2    investigation?

4:08:19   3              MS. WHEATLEY:     Objection, outside the scope and

4:08:21   4    misleads the jury.

4:08:22   5              MR. SCHWARTZ:     This is cross, Your Honor.

4:08:24   6              THE COURT:     Yes, it is, but you can't go outside the

4:08:29   7    scope of direct.     I don't think he's testified anything about --

4:08:36   8    well, I don't know.      I'll permit it.   Very limited though.     Did

4:08:46   9    she tell you that the yellow and black Nextel logo was abandoned

4:08:48 10     by Sprint?

4:08:50 11               THE WITNESS:     There was no talk about that, but I know

4:08:52 12     Nextel is still used on packaging.

4:08:52 13          BY MR. SCHWARTZ:

4:08:54 14     Q.   Excuse me?

4:08:57 15     A.   I said I know Nextel is still used on packaging for phones.

4:09:01 16     Q.   What are you talking about?

4:09:03 17     A.   Exactly what I said.     Nextel is still used on packaging.

4:09:06 18     Q.   Please elaborate.     Tell me what you're talking about.

4:09:08 19     A.   That's all I know.

4:09:12 20     Q.   Well, what's the foundation for that statement?

4:09:15 21     A.   Well, you asked me about Nextel being abandoned.

4:09:18 22     Q.   I'm specifically asking you what specific products are you

4:09:23 23     seeing that are still bearing the besides the Defendants'

4:09:27 24     phones, the yellow and black banded Nextel?

4:09:30 25     A.   I don't recall the exact product line names.


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4:09:33   1    Q.   And where did you see these product lines?

4:09:35   2    A.   During the course of this investigation.

4:09:39   3    Q.   Well, your investigation ended three years ago, correct?

4:09:41   4    A.   No, we did a little bit more.

4:09:42   5    Q.   What more did you do?

4:09:46   6    A.   We looked into some more websites that kept popping up.

4:09:49   7    Q.   Did you provide any reports?

4:09:50   8    A.   Yes.

4:09:52   9    Q.   Do you know why they haven't been produced to us?

4:09:54 10     A.   Couldn't tell you.

4:09:57 11     Q.   So besides this particular report, there's been more

4:09:57 12     reports?

4:09:58 13     A.   Yes.

4:09:59 14     Q.   Did you do them?

4:10:02 15     A.   Yes.

4:10:11 16     Q.   Were those also done at the direction of Ms. Wheatley?

4:10:13 17     A.   Yes.

4:10:43 18     Q.   Are you just generally aware that the Nextel network is shut

4:10:43 19     down?

4:10:48 20     A.   I don't know that information.

4:10:50 21     Q.   Do you think it would have been wise to determine whether or

4:10:53 22     not you could have powered those phones up on to the -- if there

4:10:54 23     was a network?

4:10:58 24     A.   Well, when I bought them I never activated them so there's

4:11:00 25     no possible way.


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4:11:01   1    Q.   No possible way?

4:11:05   2    A.   They're not activated.     They don't have active SIM cards.

4:11:08   3    Q.   You couldn't have bought a SIM card at a Radio Shack.

4:11:09   4                MS. WHEATLEY:   Objection, relevance.

4:11:12   5                THE COURT:   I'll sustain the objection.

4:11:12   6         BY MR. SCHWARTZ:

4:11:37   7    Q.   With regard to the radio that you received, did you have

4:11:42   8    anyone besides yourself analyze the sound that it emits?

4:11:46   9    A.   No.

4:12:07 10     Q.   With regard to this You Tube video you talked about that you

4:12:12 11     believe you heard, did you have anyone analyze the sound like an

4:12:15 12     audio engineer to determine whether or not it was the chirp

4:12:16 13     sound?

4:12:18 14     A.   No.

4:12:19 15                 MR. SCHWARTZ:   No further questions.

4:12:23 16                 THE COURT:   Redirect?

4:12:23 17                                 REDIRECT EXAMINATION

4:12:30 18          BY MS. WHEATLEY:

4:12:36 19     Q.   Mr. Rabenold, earlier I believe Mr. Schwartz asked you how

4:12:43 20     you knew the Nextel phone was counterfeit.        As a general matter,

4:12:45 21     do you understand what a counterfeit product is from a trademark

4:12:45 22     perspective?

4:12:50 23     A.   Yes.    It's the unauthorized use of a registered trademark on

4:12:59 24     a product and only that, you know, trademark owner, brand owner

4:13:00 25     can use that trademark on a product.


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4:13:02   1                 MR. SCHWARTZ:   I'm going to object, Your Honor, to this

4:13:09   2    witness testifying about trademark law and legal issues.

4:13:12   3                 THE COURT:   What's your legal objection?     I know that

4:13:14   4    you don't want him saying that, but what's your legal objection.

4:13:16   5                 MR. SCHWARTZ:   It's unduly prejudicial, misleads the

4:13:19   6    jury and foundation, Your Honor.

4:13:20   7                 THE COURT:   Overruled.

4:13:20   8         BY MS. DeFORD:

4:13:26   9    Q.   And Mr. Rabenold, Mr. Schwartz brought up that you had not

4:13:31 10     recently purchased a new Nextel phone from Defendants'

4:13:36 11     distributors.     As a general matter in your job, do you ever

4:13:41 12     purchase counterfeit products without being instructed to by a

4:13:41 13     client?

4:13:42 14     A.   No.

4:13:49 15     Q.   Okay.     And he mentioned you discussed other investigation

4:13:53 16     you performed in this case.       Did that involve the websites we

4:13:55 17     spoke about in your direct?

4:13:57 18     A.   Correct.

4:13:58 19                  MS. WHEATLEY:   Thank you.     No further questions.

4:14:00 20                  THE COURT:   Thank you, sir.     You are excused.

4:14:04 21                  Please call another witness.

4:14:08 22                  MS. WHEATLEY:   We will call Tom Shaughnessy.

4:14:36 23                  THE COURT:   Very well.   Watch your step on the ramp.

4:14:46 24                  Please remain standing raise your right hand.

4:14:46 25                  THOMAS SHAUGHNESSY, PLAINTIFF WITNESS, SWORN.


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4:14:48   1                 THE COURT:     Please be seated.     Get as close to the

4:14:51   2    microphone as you can, you may remove your mask while you're

4:14:55   3    behind the plastic, tell us your name and spell it please.

4:14:57   4                 THE WITNESS:     Hi.   My name is Thomas Shaughnessy.

4:15:00   5    T-H-O-M-A-S.

4:15:04   6                 THE COURT:     I'm a good speller.     I won 50 pieces of

4:15:08   7    bubble gum in third grade in the spelling bee contest.           I know

4:15:11   8    how to spell Thomas.         It's the other one.

4:15:15   9                 THE WITNESS:     Yes, sir.   S-H-A-U-G-H-N-E-S-S-Y.

4:15:18 10                  THE COURT:     You may proceed.

4:15:18 11                               DIRECT EXAMINATION

4:15:18 12          BY MS. WHEATLEY:

4:15:21 13     Q.   Mr. Shaughnessy, where are you employed?

4:15:23 14     A.   I'm employed by T-Mobile USA.

4:15:26 15     Q.   Okay.     And what is your job title at T-Mobile?

4:15:28 16     A.   Director of marketing.

4:15:30 17     Q.   And how long have you worked for T-Mobile?

4:15:34 18     A.   I've been a T-Mobile employee since the merger closed April

4:15:36 19     1, 2020.

4:15:38 20     Q.   Okay.     Before that, where did you work?

4:15:42 21     A.   I worked for 23 years for Sprint Corporation.

4:15:45 22     Q.   And at the time of the merger with T-Mobile, what was your

4:15:46 23     title at Sprint?

4:15:48 24     A.   Director of marketing.

4:15:53 25     Q.   Okay.     And prior to working for Sprint, did you have any


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4:15:57   1    experience in the telecommunications industry?

4:16:04   2    A.   Yes.     I worked in wireless communications since 1990.      So I

4:16:08   3    worked for a local cellular carrier called Cybertel Cellular,

4:16:13   4    and they were acquired by Ameritech.       So I worked at Ameritech

4:16:15   5    Cellular and Paging as well.

4:16:18   6    Q.   Have you held any positions at Sprint other than director of

4:16:19   7    marketing?

4:16:22   8    A.   Yes.     Quite a few.

4:16:24   9    Q.   Can you generally describe what other positions you've held?

4:16:28 10     A.   Sure.     Director of regional sales for business, director of

4:16:32 11     area sales for business, director of sales operations, market

4:16:38 12     manager for national accounts.      Those are primarily the main

4:16:40 13     areas that I focused on.

4:16:48 14     Q.   Okay.     And currently what your are your responsibilities as

4:16:50 15     the director of marketing?

4:16:54 16     A.   Currently I'm in the business markets group.        Most of my

4:16:54 17     career has been in the business markets group.

4:16:57 18                  My current area of responsibility is customer life

4:17:01 19     cycle management, which includes post-sales life cycle

4:17:04 20     management of our customers; cross-sell, upsell, communications,

4:17:10 21     retention, retention strategy, offers, upgrades, technology

4:17:17 22     changes.     What I'm mostly focused on right now is in the

4:17:19 23     integration of the Sprint base into the T-Mobile base.

4:17:22 24     Q.   Do your responsibilities include any push-to-talk services?

4:17:23 25     A.   They do.


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4:17:27   1    Q.   Okay.   Now, are you familiar with the Nextel brand?

4:17:29   2    A.   Very familiar with the Nextel brand.

4:17:33   3    Q.   In your own words, what is the Nextel brand?

4:17:37   4    A.   In my own words, the Nextel brand is the premiere

4:17:42   5    push-to-talk product.     We do refer to it as the gold standard of

4:17:48   6    push-to-talk services.     It's the original, it's the company that

4:17:53   7    brought the product forward and -- invented is kind of a harsh

4:17:56   8    word, but invented that nationwide push-to-talk product and

4:17:57   9    service.

4:18:00 10     Q.   Okay.   And today do you work with the Nextel brand as part

4:18:01 11     of your job?

4:18:02 12     A.   I do.

4:18:05 13     Q.   Okay.   And are you familiar with what we've been referring

4:18:06 14     to as the Nextel chirp?

4:18:10 15     A.   Very familiar with the chirp.

4:18:11 16     Q.   Can you describe what is the chirp?

4:18:15 17     A.   Well, the Nextel chirp is the sound, you've heard it a

4:18:19 18     couple times today, it's the distinct high-pitched chirp that

4:18:23 19     means a call has been initiated and someone on the other end is

4:18:28 20     ready to receive the communication.

4:18:31 21     Q.   And do you work with the chirp as part of your job?

4:18:32 22     A.   I do.

4:18:37 23     Q.   And when did the Nextel brand and chirp first become part of

4:18:38 24     your job responsibilities?

4:18:43 25     A.   I was part of the integration team when the Sprint Nextel


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4:18:48   1    merger took place from 2003 to about 2005 when it closed.          So I

4:18:52   2    work very closely in the planning of bringing the two companies

4:18:57   3    together on the business side.      And then after that, integrating

4:19:02   4    the Nextel subscriber base into the Sprint base.

4:19:06   5    Q.   And from your perspective as a marketing professional, do

4:19:10   6    you consider the Nextel brand and chirp to be valuable brands?

4:19:11   7    A.   Extremely valuable.

4:19:15   8    Q.   And why is that from your perspective, as a marketing

4:19:16   9    director?

4:19:19 10     A.   Well, from a marketing perspective, as we've heard and

4:19:23 11     certainly my experience with the brand is the value that it

4:19:29 12     brings, the resonation, the recall, the familiarization, the

4:19:33 13     reliability that it brings to market.       Provides, you know, our

4:19:37 14     customers with a certain level of comfort in that reliability,

4:19:42 15     certain level of -- what's the word I'm looking for, reliability

4:19:45 16     in that brand.

4:19:51 17     Q.   And after the merger, what was Sprint called?

4:19:51 18     A.   Sprint Nextel.

4:19:55 19     Q.   Okay.    And how long was Sprint Nextel used as the name of

4:19:56 20     the entire company?

4:20:01 21     A.   I believe it was until 2013, right around that time we were

4:20:06 22     being purchased by a company called SoftBank out of Japan, and I

4:20:09 23     believe during that transaction the name of the company was

4:20:13 24     moved back to Sprint.

4:20:16 25     Q.   In your experience, do your customers associate Sprint and


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4:20:18   1    Nextel together?

4:20:21   2                  MR. KERNELL:     Your Honor, objection leading.

4:20:29   3                  THE COURT:     Please repeat your question so I can get

4:20:30   4    it.

4:20:30   5          BY MS. WHEATLEY:

4:20:34   6    Q.    In your experience, do your customers associate Sprint and

4:20:36   7    Nextel together.

4:20:38   8                  THE COURT:     I'll permit it.   Doesn't suggest the

4:20:40   9    answer.   I'll permit it.

4:20:45 10                   THE WITNESS:     Yes.   In my experience, in my almost 30

4:20:49 11     years now, 25 years with Sprint and T-Mobile, yeah, customers

4:20:52 12     associate Sprint and Nextel together.

4:20:52 13           BY MS. WHEATLEY:

4:20:57 14     Q.    Okay.     Now, so you've been in the industry a long time.        Had

4:21:01 15     you heard of the Nextel brand and the Nextel chirp before the

4:21:02 16     merger with Sprint?

4:21:06 17     A.    Yes, they're a competitor of ours.

4:21:09 18     Q.    And what type of services was Nextel known for prior to the

4:21:09 19     merger?

4:21:14 20     A.    Primarily in the space that I mentioned earlier, I've been

4:21:16 21     in business for most of the time.          So primarily where I was

4:21:19 22     focused was in the business markets.           So the two-way direct

4:21:22 23     connect was a product that we were competing against, so that's

4:21:27 24     my main area of work with Nextel as a competitor was in the

4:21:28 25     business space.


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4:21:34   1    Q.   And has Nextel's reputation changed or is it still that

4:21:35   2    space?

4:21:38   3    A.   Well, it's still the gold standard.       It is still recognized,

4:21:43   4    it's still a warm, you know, smile on many people's face when

4:21:47   5    they hear the chirp and, you know, certainly a comfort level

4:21:50   6    knowing that the engineering, the design work, the reliability

4:21:55   7    is carried through through the different technology evolutions

4:21:59   8    which is why we continue to do, I call it a single thread use of

4:22:04   9    the chirp, is to connect all of that together to deliver that

4:22:09 10     value, deliver that emotion that goes along with, you know,

4:22:12 11     knowing they've purchased a quality product.

4:22:15 12     Q.   So are you familiar with any of the television advertising

4:22:17 13     that Nextel did prior to the merger?

4:22:18 14     A.   I am.

4:22:22 15     Q.   How would you characterize that advertising generally?

4:22:25 16     A.   It was really good advertising from a marketing perspective.

4:22:29 17     It was -- it was somewhat frustrating because they really broke

4:22:32 18     through and could cut through, and memorable commercials.

4:22:35 19                  So when you're in marketing, you have a 30-second spot,

4:22:38 20     you really want to hit your message home, and also remember and

4:22:41 21     recall.   And they did a really good job of breaking through some

4:22:45 22     pretty boring or harsh environments.       Those are two different

4:22:49 23     things, boring and harsh.      But things that were out of the

4:22:54 24     ordinary, contrasting them with some humor.

4:22:55 25                  MS. WHEATLEY:   So I would like to introduce what has


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4:22:59   1    been marked Exhibit 64.       This is a Joint Exhibit with no

4:23:02   2    objection.    So I'd ask that it be moved into evidence.        And if

4:23:07   3    you could just show him the still first so he can identify it.

4:23:07   4           BY MS. WHEATLEY:

4:23:13   5    Q.     Do you recognize the image that I've put on your screen,

4:23:14   6    Tom?

4:23:15   7    A.     I recognize it.     Thank you.

4:23:18   8    Q.     And is what is that?

4:23:22   9    A.     This is the intro to the commercial we saw it yesterday,

4:23:25 10     it's a Super Bowl ad that ran prior to the merger.

4:23:27 11                 MS. WHEATLEY:    Okay.   So I'd like to play Exhibit 64

4:23:30 12     now.

4:23:32 13                 MR. KERNELL:     Your Honor, objection.   Relevance on

4:23:33 14     this?

4:23:34 15                 THE COURT:     What is the relevance?

4:23:36 16                 MR. KERNELL:     What is the relevance of a --

4:23:38 17                 THE COURT:     I'm asking her to tell us what the

4:23:38 18     relevance.

4:23:41 19                 MS. WHEATLEY:     It goes to the strength of the mark

4:23:46 20     which is one of the factors for likelihood of confusion.          Goes

4:23:46 21     to --

4:23:49 22                 THE COURT:     How does playing it again do that?    We've

4:23:52 23     heard it.    We've seen it.     You can play it again to the jury

4:23:55 24     during your final argument if you want to give up 90 seconds of

4:23:58 25     your final argument.


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4:24:00   1              MS. WHEATLEY:     Understood, Your Honor.     I like the

4:24:03   2    commercial, but I don't want to waste everyone's time.

4:24:06   3              So if it's moved into evidence, then we don't have to

4:24:07   4    play it again.

4:24:11   5              THE COURT:     It's in evidence as Number 64, correct?

4:24:13   6              MS. WHEATLEY:     Yeah, we should call this one 64A

4:24:18   7    because there are several commercials that were in that one.

4:24:18   8              (Plaintiff's Exhibit 64A in evidence)

4:24:18   9         BY MS. WHEATLEY:

4:24:26 10     Q.   Mr. Shaughnessy, from memory, do you know if that commercial

4:24:27 11     plays the Nextel chirp?

4:24:29 12     A.   It does.

4:24:32 13     Q.   And is it the same chirp that Sprint uses today?

4:24:33 14     A.   It is.

4:24:40 15     Q.   And you mentioned that it's a Super Bowl commercial.         What

4:24:43 16     would creating a commercial like this cost?

4:24:47 17     A.   Super Bowl specifically?     Is that your question?

4:24:48 18     Q.   Just a commercial --

4:24:50 19               MR. KERNELL:     I'm going to object again to this line of

4:24:53 20     questioning.     This is with Nextel, this wasn't Sprint, and this

4:25:00 21     is from 2004.     What does that have to do with any issues in this

4:25:01 22     today?

4:25:02 23               THE COURT:     Same mark, isn't it?

4:25:05 24               MR. KERNELL:     But how much they spent on a commercial

4:25:10 25     15 years ago is irrelevant to any issue in this case today.


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4:25:12   1              THE COURT:    I don't think so.     Overruled.

4:25:12   2         BY MS. WHEATLEY:

4:25:16   3    Q.   A commercial, a full-scale television commercial like the

4:25:21   4    one we saw in opening, can you give us an idea of what that

4:25:21   5    would cost?

4:25:26   6    A.   I can.    I'll break it down into two areas.      One is the

4:25:29   7    actual production cost and then we've got the air time cost.

4:25:35   8              So the production cost builds into that, and it can be

4:25:38   9    upwards of a million dollars to create and build an actual

4:25:41 10     commercial.     Even though it's 30 seconds, you have to hire a

4:25:45 11     producer, director, script writers, actors, locations, permits,

4:25:49 12     lots of work that goes into creating what is a mini movie, if

4:25:53 13     you will, down to a 30-second spot, all the editing that goes

4:25:55 14     into that.     So that's on the production side.

4:25:58 15               Then you would schedule with a media purchasing agency

4:26:02 16     how you want that media to run.       And if you want it broken-down

4:26:09 17     into TV or radio or both, or cable network.        So those are run

4:26:12 18     millions and millions and millions of dollars depending on how

4:26:16 19     many frequencies you want it to go every week and what programs

4:26:19 20     you're aligning to based on their popularity as well.         So tens

4:26:23 21     of millions of dollars from a campaign perspective.

4:26:27 22     Q.   Does Sprint currently known the pre-merger Nextel

4:26:28 23     commercials?

4:26:29 24     A.   We do.

4:26:33 25     Q.   And have you seen that dance party commercial we just


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4:26:37   1    watched used by anyone other than Sprint?

4:26:40   2    A.   Yes, I've seen it used on the Defendants' website.

4:26:49   3    Q.   Okay.     Now, the Defendants, the Nextel, Inc. and Nextel

4:26:53   4    Mobile Worldwide, are they competitors to Sprint?

4:26:55   5    A.   They are competitors to Sprint.

4:26:57   6    Q.   In what ways are they competitors?

4:27:03   7    A.   They're selling products and services that are labeled in

4:27:08   8    the same kind of capacity that I'm selling or we're selling

4:27:12   9    products and services.       Same market, same opportunity from a

4:27:14 10     wireless perspective.

4:27:16 11                  THE COURT:   I've changed my mind.   I'll let you play

4:27:20 12     the commercials.      30 seconds?

4:27:21 13                  MS. WHEATLEY:   Yes, it's only 30 seconds.

4:27:24 14                  THE COURT:   I'll let you play it because I've forgotten

4:27:28 15     the chirp was in it, and I think that the jury is the one that's

4:27:32 16     got to decide whether that chirp is the chirp or a chirp.

4:27:35 17                  MS. WHEATLEY:   Okay.   Carl, would you mind playing the

4:27:37 18     commercial?

4:27:39 19                  THE COURT:   Of course not.   He's getting paid.

4:27:45 20                  (Plaintiff's Exhibit 64A playing)

4:27:45 21          BY MS. WHEATLEY:

4:28:15 22     Q.   Now, I'll ask again Mr. Shaughnessy, was that the Nextel

4:28:16 23     chirp?

4:28:17 24     A.   Yes.

4:28:23 25     Q.   Okay.     Now, to your knowledge, has Sprint ever given


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4:28:26   1    Defendants permission to put any Nextel commercials on their

4:28:26   2    website?

4:28:28   3    A.    No.

4:28:31   4    Q.    Has Sprint ever given any of the Defendants in this case any

4:28:33   5    permission to use Nextel at all?

4:28:34   6    A.    No.

4:28:39   7    Q.    Okay.   Did Sprint give Defendants permission to use the

4:28:40   8    chirp?

4:28:41   9    A.    No.

4:28:46 10     Q.    Okay.   Is there any harm to Sprint from Defendants using the

4:28:50 11     Sprint's Nextel commercial?

4:28:52 12     A.    There is harm, yes.

4:28:55 13     Q.    Can you describe it?

4:29:00 14     A.    I think it's -- well, it's obvious, but again I'll answer

4:29:04 15     it.   The harm is really in confusion that it creates.        It's

4:29:08 16     creating linkage to a brand that is our brand that has a very

4:29:12 17     specific reputation in market, specific value and a specific

4:29:15 18     outcome you expect when you purchase our products.         And by

4:29:19 19     creating that linkage, and that video on a site that's not ours

4:29:23 20     and a product that's not ours, it's creating confusion within

4:29:27 21     the market, specifically the markets that we are -- you know, we

4:29:31 22     want to promote that product and service within.

4:29:35 23     Q.    Now, moving ahead, we've talked about before the merger.

4:29:39 24     After the merger, did Sprint get rid of the Nextel brand?

4:29:39 25     A.    No.


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4:29:43   1    Q.   Okay.     Did Sprint get rid of the Nextel chirp?

4:29:43   2    A.   No.

4:29:47   3    Q.   Did Sprint stop advertising the Nextel brand and chirp after

4:29:47   4    the merger?

4:29:52   5    A.   Immediately after the merger, no.

4:30:00   6    Q.   And what sort of consumer advertising did Sprint do for the

4:30:01   7    Nextel brand after the merger?

4:30:09   8    A.   Well, the consumer media for Nextel post-merger was

4:30:14   9    primarily driven by the business team.       There was some things

4:30:19 10     that were visible.     We continued to do the NASCAR series, the

4:30:22 11     Nextel Cup, certainly that's a very big and expensive

4:30:26 12     sponsorship, so we continued on with that, a really good

4:30:28 13     sponsorship to be part of.

4:30:30 14                  Then there was, you know, I guess a general

4:30:33 15     communications that you'd see like in retail, posters and things

4:30:36 16     like that.     But for the most part from a media perspective, we

4:30:40 17     tied a lot of business advertising, although it wasn't as much

4:30:44 18     advertising, right, from that perspective.

4:30:46 19     Q.   Did Sprint continue to do any television advertising after

4:30:47 20     the merger?

4:30:49 21     A.   Oh, yes.

4:31:00 22     Q.   Okay.     And did Sprint continue to use any Nextel slogans

4:31:01 23     after the merger?

4:31:05 24     A.   We did.     Sprint Together with Nextel was probably the most

4:31:08 25     visible one, and then Sprint Nextel, which was our company name,


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4:31:13   1    I believe was in some of our tag lines and things like that.          So

4:31:16   2    yeah, we continued to integrate the brands together.

4:31:23   3    Q.   Okay.   And so the Sprint part of T-Mobile's business now,

4:31:26   4    what colors does it use for its branding?

4:31:27   5    A.   Yellow and black.

4:31:32   6    Q.   Okay.   And when did Sprint start using yellow and black?

4:31:36   7    A.   Right after the Nextel Sprint merger.       Prior to the merger,

4:31:40   8    Sprint was -- you would see it in either red and white or red

4:31:46   9    and black and Nextel was in yellow and black, and so we adopted

4:31:49 10     the Nextel color.

4:31:52 11     Q.   So the yellow and black is Sprint's color scheme?

4:31:56 12     A.   It is now, yeah, post the Nextel merger, yes.

4:32:04 13     Q.   Okay.   And how is color used in branding by the major

4:32:05 14     telecommunications companies?

4:32:09 15     A.   It's definitely evolved over time.       For a while Sprint and

4:32:14 16     Verizon both had red, AT&T had blue and T-Mobile, which was kind

4:32:16 17     of a start-up at that point, wasn't even magenta at that point.

4:32:21 18     But now it's evolved to, you know, very distinct colors within

4:32:25 19     the telecommunications industry.       Verizon is red, T-Mobile is

4:32:30 20     magenta, AT&T is blue, Sprint is yellow.

4:32:32 21     Q.   So I'd like to look -- you mentioned that there was

4:32:37 22     post-merger television advertising.       I'd like to look at an

4:32:40 23     example of one of those.      So I'll introduce what we can mark

4:32:45 24     Exhibit 64B, and there are no objections to 64, so I would ask

4:32:46 25     that it be admitted.


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4:32:50   1                 Mr. Shaughnessy, do you recognize the still that you

4:32:51   2    see on your screen?

4:32:53   3    A.   I do.

4:32:56   4    Q.   Is that a Sprint Nextel commercial?

4:32:56   5    A.   It is.

4:32:58   6    Q.   Okay.

4:33:00   7                 MS. WHEATLEY:   Can we go ahead and play that for the

4:33:01   8    jury?

4:33:02   9                 THE COURT:   You may.

4:33:08 10                  (Plaintiff's Exhibit 64B playing in open court)

4:33:08 11          BY MS. WHEATLEY:

4:33:38 12     Q.   Now, Mr. Shaughnessy, did you see the logo at the end of

4:33:41 13     that commercial, and it's up on your screen now, Sprint Together

4:33:43 14     with Nextel?

4:33:45 15     A.   Yes.

4:33:49 16     Q.   Why is Nextel presented that way in this logo?

4:33:55 17     A.   Well after the merger, you know, we have two major carrier

4:34:01 18     brands we have to work with and integrate into one company.          And

4:34:06 19     Sprint acquired Nextel, we called it a merger of equals, but it

4:34:11 20     was an acquisition of Sprint acquiring Nextel and Sprint had a

4:34:14 21     better overall consumer brand in market at that point.          And so

4:34:19 22     again, we've heard, and I confirmed Nextel had a very strong

4:34:23 23     business following, so as we started to integrate Nextel into

4:34:26 24     the Sprint family, as we started to move the Nextel subscribers

4:34:31 25     from one network to another, you know, the Nextel brand became a


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4:34:35   1    little bit smaller part of our story as we started to focus it

4:34:36   2    in on the business markets.

4:34:49   3    Q.   And the commercial we just saw, did that include the Nextel

4:34:49   4    chirp?

4:34:51   5    A.   It did.

4:34:58   6    Q.   Okay.     And I'd like to play we'll call this 64C.        I'd like

4:35:03   7    to do one more example of Sprint's advertising, television

4:35:07   8    advertising that incorporated Nextel.

4:35:09   9                 MS. WHEATLEY:     So Your Honor, may I play that one for

4:35:09 10     the jury?

4:35:12 11                  THE COURT:     What is the number on it?

4:35:13 12                  MS. WHEATLEY:     64C.

4:35:15 13                  THE COURT:     64C is admitted in evidence.

4:35:16 14                  (Plaintiff's Exhibit 64C in evidence)

4:35:16 15          BY MS. WHEATLEY:

4:35:20 16     Q.   And I'll ask on the still, Mr. Shaughnessy, do you recognize

4:35:22 17     this image from a commercial?

4:35:30 18     A.   I do.     It's one of our spots.     We ran a campaign series

4:35:35 19     called What if Firefighters and What if First Responders Ran

4:35:36 20     Things.

4:35:39 21                  MS. WHEATLEY:     Can we play that for the jury?

4:35:47 22                  (Plaintiff's Exhibit 64C playing in open court)

4:35:47 23          BY MS. WHEATLEY:

4:36:18 24     Q.   And now, Mr. Shaughnessy, you spoke about the transition to

4:36:22 25     a business brand.         Is this commercial part of that?


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4:36:23   1    A.   It is.

4:36:28   2    Q.   And why choose to have firefighters in the commercial?

4:36:34   3    A.   Again, the Direct Connect product, the rugged device

4:36:37   4    portfolio was really well-received and well-known in the public

4:36:41   5    safety environment.     So this particular campaign we chose

4:36:45   6    firefighters, they use our products, they rely on our products.

4:36:50   7    They are kind of the original Nextel users and, you know, really

4:36:54   8    provide that testimony that the product is of really good

4:37:00   9    quality and delivers that instant communication, and no better

4:37:03 10     than a first responder to know about instant communication

4:37:06 11     needs.    So it tied really well into the target market.

4:37:11 12     Q.   You mentioned earlier that at some point after the merger,

4:37:15 13     Sprint started, you know, using it more exclusively as a

4:37:22 14     business brand.    What is the marketing you do for a business

4:37:23 15     brand like Nextel?

4:37:26 16     A.   So we heard a little bit -- we heard a lot about that.

4:37:32 17     Trade shows is a good place to market B-to-B type groups,

4:37:35 18     especially if you pick trade shows where other businesses are

4:37:37 19     the businesses that you want to do business with attend.          But

4:37:41 20     beyond that, we do one-to-one marketing, right, so that would be

4:37:45 21     on-site business presentations.       So we come to your business

4:37:49 22     location or your manufacturing plant or wherever we want to

4:37:53 23     meet.    We have -- and host business clients, we have several

4:37:57 24     what we call executive briefing centers throughout the country,

4:38:00 25     we bring folks in and again, do product demonstrations and


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4:38:04   1    really show those products and solutions basically tailored to

4:38:10   2    the customer need in those meetings.       So you know, from a

4:38:15   3    business-to-business perspective, we do a little solutions, you

4:38:17   4    know, investigation if you will with our clients beforehand.          We

4:38:20   5    kind of know what we're going to show them based on what they've

4:38:23   6    told us they're looking for or what the needs of their

4:38:26   7    businesses are.    Makes a lot of sense, very effective way to use

4:38:31   8    time and then when you have a portfolio as broad as the Sprint

4:38:36   9    portfolio, you want those meetings to be tailored.

4:38:45 10     Q.   And so Nextel is used with businesses.       So is it really a

4:38:47 11     consumer-facing brand today?

4:38:48 12     A.   No, it's not.

4:38:53 13     Q.   Now, to your knowledge, has Sprint done anything to protect

4:38:55 14     the Nextel brand legally?

4:39:01 15     A.   We've renewed the trademarks on the Nextel brand, and the

4:39:02 16     chirp.

4:39:06 17               MS. WHEATLEY:    Okay.   I'd like to introduce Exhibit 165

4:39:10 18     which I believe was previously admitted into evidence.

4:39:18 19               THE COURT:     I think so.   165 sounds like it's in.     165

4:39:23 20     is in evidence.

4:39:25 21               MS. WHEATLEY:     Just briefly talk about it with

4:39:35 22     Mr. Shaughnessy.       Do we have the physical copies?

4:39:52 23               Your Honor, may I hand -- it's actually 165 and 166.

4:39:55 24     May I hand those to the witness?

4:39:56 25               THE COURT:     Both are in evidence.


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4:39:59   1                 MS. WHEATLEY:     May I hand them to the witness?

4:40:01   2                 THE COURT:     Yes, you may.   Give them to the court

4:40:05   3    security officer, he'll give it over.

4:40:05   4         BY MS. WHEATLEY:

4:40:17   5    Q.   So Mr. Shaughnessy, if you could look at Exhibit 165 and the

4:40:23   6    first page of it is up on your screen.         And actually, I would

4:40:27   7    like it if you could read for the jury from where it says "the

4:40:31   8    attached" and down through "a corporation of Kansas".         Do you

4:40:33   9    see that section for me?

4:40:35 10     A.   The first two paragraphs basically?

4:40:36 11     Q.   Yes, please.

4:40:40 12     A.   Sure.     It's probably easier for me to read it to on this big

4:40:44 13     screen here.     "The attached US trademark registration 1,884,244

4:40:53 14     is certified to be a true copy which is in full force and effect

4:40:59 15     with notations of all statutory actions taken thereon as

4:41:01 16     disclosed by the records of the United States Patent and

4:41:06 17     Trademark Office.         Registered for a term of ten years from March

4:41:11 18     14, 1995, second renewal for a term of ten years from March 14,

4:41:17 19     2015.   Section 8 and 15.        Said records show title to be in

4:41:22 20     Sprint Communications Inc., a corporation of Kansas".

4:41:28 21     Q.   Thank you, Mr. Shaughnessy.        So this document with the gold

4:41:32 22     seal I've just handed you, what do you understand this to be?

4:41:39 23     A.   I understand it to be a certified copy of the registration.

4:41:46 24     Q.   And can you turn to the second page?         And do you know what

4:41:47 25     this part is called?


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4:41:51   1    A.   I believe this is the trademark itself.

4:41:58   2    Q.   And do you see where it lists "for" and it lists items?

4:42:00   3    A.   Yes.

4:42:02   4    Q.   Could you read that list of goods?

4:42:06   5    A.   "For equipment used in providing telecommunications

4:42:11   6    services, namely mobile radios, namely two-way radios, mobile

4:42:18   7    telephones, dispatch radios, pagers and mobile data transceivers

4:42:19   8    in class nine".

4:42:24   9    Q.   Now, does Sprint currently use the Nextel brand with these

4:42:25 10     types of telecommunication equipment?

4:42:26 11     A.   We do.

4:42:31 12     Q.   Can you tell me what type of devices meet this definition?

4:42:36 13     A.   Well, our phones that we have labeled the Nextel brand on

4:42:40 14     the packaging provide these services.       Our phones and our

4:42:47 15     services can be configured to provide a full suite of mobile

4:42:50 16     communications or tailored to deliver specific functions that a

4:42:55 17     customer may want their users to have.       So they don't always

4:42:58 18     have to be cellular phones.      Even though they're packaged as

4:43:02 19     cellular phones, we can turn of those features either through

4:43:06 20     SoT codes, or feature codes that we put when you sign up for

4:43:10 21     service.     So we can limit to make them direct connect only.

4:43:17 22     Q.   Why does Sprint maintain its registration for the Nextel

4:43:17 23     trademark?

4:43:20 24     A.   Because we continued to use and develop and look for ways to

4:43:25 25     market or push-to-talk services and our Nextel services.


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4:43:28   1    Q.   And to your knowledge, has Sprint let any trademark

4:43:31   2    registrations for Nextel lapse?

4:43:33   3    A.   Yes.

4:43:37   4    Q.   And why would any trademark registrations for Nextel lapse?

4:43:41   5    A.   Well again, going back to having two separate carriers as we

4:43:44   6    integrate and brought the carriers together, there's lots of

4:43:48   7    products and services and rate plans and just different product

4:43:52   8    names that weren't going to be used.       So there's no real reason

4:43:56   9    to carry them forward.     It's not uncommon for any carrier to do

4:44:01 10     that.   Sprint's let trademarks lapse, Verizon probably has as

4:44:04 11     well.   I think if you go out and searched it, you'd see that

4:44:07 12     most companies do have trademarks that have lapsed because

4:44:11 13     they're not using them anymore.       Campaigns run their course,

4:44:12 14     natural course.

4:44:15 15     Q.   Has this registration for Nextel ever lapsed?

4:44:16 16     A.   No, it's not.

4:44:20 17     Q.   I'd like to turn to the second document I gave you that's

4:44:27 18     Exhibit 166.     And do you recognize this document?

4:44:31 19     A.   This is the chirp registration.

4:44:35 20     Q.   Okay.     And is this a certified copy?

4:44:36 21     A.   It is.

4:44:42 22     Q.   And if we could play Exhibit 8 which is the chirp?

4:44:53 23                  (Plaintiff's Exhibit 8 played in open court)

4:44:53 24          BY MS. WHEATLEY:

4:45:00 25     Q.   And if we could go back to the registration, if we could go


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4:45:06   1    to the second page.     To your knowledge, Mr. Shaughnessy, is this

4:45:09   2    registration for the sound we just heard?

4:45:10   3    A.   Yes, that's what this is.

4:45:14   4    Q.   Okay.    And is this registration current?

4:45:15   5    A.   It is.

4:45:21   6    Q.   Okay.    And can you explain to the jury how Sprint uses the

4:45:23   7    Nextel chirp as a brand?

4:45:26   8    A.   Well, we use it in conjunction with our direct connect

4:45:30   9    service.     It really ties, like I said before, kind of the single

4:45:35 10     thread of evolution of technology over time to, again, deliver

4:45:38 11     that comfort that when you hear that chirp, you know it's a

4:45:41 12     two-way, direct connect product that you've kind of come to rely

4:45:47 13     on from an instant communication and delivery perspective.

4:45:52 14     Q.   Does Sprint use the chirp with telecommunication services

4:45:52 15     today?

4:45:53 16     A.   We do.

4:45:59 17     Q.   And I believe you heard earlier Mr. Wiley testify that to

4:46:04 18     his knowledge you know the PTT and rugged devices had used the

4:46:07 19     chirp continuously for many years.       Do you agree with that?

4:46:09 20     A.   100%.

4:46:15 21     Q.   And do you have any idea of what the revenue or sales volume

4:46:21 22     would be for devices and services selling the chirp or if it's

4:46:22 23     in the millions or tens of millions?

4:46:27 24     A.   I do know.    It is in the millions, and it's more in the

4:46:32 25     hundreds of millions when you factor in business customers not


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4:46:34   1    only buy the Nextel products from a direct connect perspective,

4:46:36   2    but many of our customers also buy other products and services

4:46:40   3    from Sprint.     So if you look at the collective revenue streams,

4:46:43   4    you're really, over that time period I think you just mentioned,

4:46:47   5    it's hundreds of millions of dollars in revenue associated with

4:46:50   6    these customers.

4:46:58   7    Q.   Okay.    Now, turning back to the Nextel brand, you've already

4:47:03   8    stated that Sprint currently uses the Nextel brand.         Does the

4:47:08   9    Nextel brand appear on any -- with any particular devices today?

4:47:15 10     A.   It does.    I think we just reviewed the two that are the most

4:47:20 11     recent devices.     I don't know that the inventory is completely

4:47:25 12     out of some of those Kyoceras and the other devices out there as

4:47:29 13     well, but on the CAT, is it the S22 and the S62?         Yes.   We've

4:47:32 14     got the Nextel mark on those.

4:47:40 15     Q.   And can you describe for the jury what a rugged device is?

4:47:45 16     A.   Yes.    You heard a little bit about that from Mr. Kohman.         A

4:47:47 17     rugged device is kind of what it says it is.        It's a device

4:47:51 18     that's engineered and designed so that it will work in a very

4:47:55 19     tough environment.     You can drop it, kick it, bump it up against

4:47:58 20     the wall if it's on your belt, the screen will not crack, it

4:48:03 21     won't break.     It may come apart, but it's not going to not work

4:48:08 22     anymore.     You may have to put it back together, the battery may

4:48:11 23     separate from it.     In fact, many times they're designed to break

4:48:15 24     apart and take those shocks so that they don't stop working.            So

4:48:18 25     they're designed specifically for very tough environments or


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4:48:19   1    tough users.

4:48:25   2    Q.   Okay.     And do ordinary consumers like someone who is looking

4:48:29   3    for a cellphone, are they typically in the market for rugged

4:48:29   4    devices?

4:48:34   5    A.   Typically not.       We do sell the rugged devices themselves in

4:48:38   6    a few of our stores.         In fact, quite a few of our stores have

4:48:41   7    them on display.      But for the most part, they're not a flagship

4:48:44   8    product that you would have in a retail environment.

4:48:48   9                 MS. WHEATLEY:    Okay.    Your Honor, I've just been

4:48:50 10     notified that it's 4:45.

4:48:51 11                  THE COURT:   It is.

4:48:54 12                  MS. WHEATLEY:     Would you like me to stop for the day?

4:48:58 13                  THE COURT:   I'd like to stop for good, but I don't know

4:49:02 14     that I can get you to do that.          How much longer do you have?

4:49:03 15                  MS. WHEATLEY:     Quite a bit, Your Honor.

4:49:05 16                  THE COURT:   All right.     We'll recess for the day.     Come

4:49:08 17     back tomorrow morning, 9:30.

4:49:11 18                  You're reminded you're not to discuss the case with

4:49:14 19     anyone.    Also remember you're not to read or listen to anything

4:49:17 20     touching on the case.         Don't do any research or make any

4:49:20 21     investigation on your own.         Don't have any contact with the

4:49:24 22     attorneys, parties or witnesses.          Don't form any opinion.

4:49:27 23                  Remember, I told you at the beginning, and I've been

4:49:31 24     neglectful because I had -- I've never done it before in a case,

4:49:34 25     if you have questions for a witness, when the witness is


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4:49:37    1   finished, raise your hand and we'll let you ask -- write it down

4:49:41    2   and ask a question.      I don't know how that's going to work and

4:49:46    3   I'll try it until I see that it's driving me crazy, but we'll

4:49:50    4   try it and see.     As I told you at the beginning that we'll have

4:49:53    5   -- you'll have an opportunity to do so.        I apologize for not

4:49:56    6   having done it earlier.      But honestly, as I said, I've never

4:49:59    7   done it before.     The Eleventh Circuit just passed the rules on

4:50:03    8   how to do it, so that's why it hasn't been done.         All right?

4:50:06    9               We'll see you tomorrow morning at 9:30.      I hope you

4:50:09 10     drive carefully and we'll see you then.        Tomorrow we're going to

4:50:12 11     break a little -- no, we'll probably break at the same time

4:50:16 12     because I'm going to do it from here.       It will only take me a

4:50:20 13     few minutes to set up, so we'll go until about quarter to 5

4:50:22 14     again.   Thank you very much.

4:50:26 15                 (Jury out at 4:50 p.m.)

4:50:47 16                 THE COURT:   We'll be in recess until 9:30.

4:50:48 17                 (See Volume 3 for continuation)

4:50:48 18                           C E R T I F I C A T E
               I certify that the foregoing is a correct transcript from the
4:50:48 19     record of proceedings in the above-entitled matter.

4:50:48 20     4/12/2022                 /s/ Dawn M. Savino, R.P.R., C.R.R.
               Date                          DAWN M. SAVINO, R.P.R., C.R.R.
4:50:48 21

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